Joint Exhibit List
                                                                  Case 3:18-cv-04865-EMC Document 509-1 Filed 12/13/22 Page 1 of 76                                                                                                                                                     Page 1

                                                                                                                           In Re: Tesla Inc. Securities Litigation
                                                                                                                                                    Defendants Sponsoring Plaintiffs Sponsoring                                                                    Defendants'
                     Document                                                                                                                                                                    Objections by Plaintiffs' Response to           Objections by                      Court
   Trial Ex. No.                        Bates Number                             Description                              Email Subject                Witness(es) and   Witness(es) and Purpose                                                                   Response to
                       Date                                                                                                                                                                       Defendants         Objections                    Plaintiffs                     Comments
                                                                                                                                                       Purpose at Trial           at Trial                                                                          Objections
                                                       Expert Report of Michael L. Hartzmark                                                        N/A                       Michael L.                F, H       F.R.E. 702, 703           N/A                 N/A
                                                                                                                                                                              Hartzmark/Materiality,
                                                                                                                                                                              Reliance, Loss Causation,
         1           9/22/2020
                                                                                                                                                                              Damages, Market
                                                                                                                                                                              Efficiency

                                  N/A                  Consolidated Complaint for Violations of the Federal Securities                              Plaintiff / Foundation                                                                   F                   Party opponent
                                                       Laws                                                                                                                                                                                                      statement
         2           1/16/2019



                                  N/A                  Notice of Lodging of Addendum to the Consolidated Class                                      Plaintiff / Foundation                                                                   F                   Party opponent
                                                       Action Complaint                                                                                                                                                                                          statement
         3           11/11/2019



                                  N/A                  Document 292-2 / Exhibit B (filed 9/22/20); Exhibit B, attached                              Plaintiff / Foundation,   Glen                      F          Waiver. Defendants
                                                       to Plaintiff Glen Littleton's Declaration, representing his                                  Materiality, Causation,   Littleton/Materiality,               include this exhibit on
                                                       transactions in Tesla securities during the period August 7th to                             Damages                   Reliance, Loss Causation,            their exhibit list.
         4           9/22/2020
                                                       August 17th of 2018.                                                                                                   Damages


                                  N/A                  Tweet from Elon Musk dated August 7, 2018 at 9:48 a.m. , "Am                                 All witnesses /           Elon Musk/Falsity,         F         Waiver. Defendants
                                                       considering taking Tesla private at $420. Funding secured."                                  Foundation                Scienter                             include this exhibit on
                                                                                                                                                                                                                   their exhibit list.
         8            8/7/2018



                                  N/A                  Tweet from Elon Musk dated August 7, 2018 at 10:40 a.m. , "I                                 All witnesses /           Elon Musk/Falsity,         F         Waiver. Defendants
                                                       don't have a controlling vote now & wouldn't expect any                                      Foundation                Scienter                             include this exhibit on
                                                       shareholder to…"                                                                                                                                            their exhibit list.
         9            8/7/2018



                                  N/A                  Tweet from Elon Musk dated August 7, 2018 at 11:00 a.m. , "                                  All witnesses /           Elon Musk/Falsity,         F         Waiver. Defendants
                                                       My hope is *all* current investors remain with Tesla even if                                 Foundation                Scienter                             include this exhibit on
                                                       we're private..."                                                                                                                                           their exhibit list.
        10            8/7/2018



                                  N/A                  Tweet from Elon Musk dated August 7, 2018 at 11:13 a.m. ,"                                   All witnesses /           Elon Musk/Falsity,         F         Waiver. Defendants
                                                       Shareholders could either to sell at 420 or hold shares & go                                 Foundation                Scienter                             include this exhibit on
                                                       private."                                                                                                                                                   their exhibit list.
        11            8/7/2018



                                  N/A                  Blog post dated August 7, 2018 entitled "Taking Tesla Private.                               All witnesses /           Elon Musk, Deepak          F         Waiver. Defendants
                                                                                                                                                    Foundation                Ahuja, Dave                          include this exhibit on
                                                                                                                                                                              Arnold/Falsity, Scienter             their exhibit list.
        12            8/7/2018



                                  N/A                  Tweet from Elon Musk dated August 7, 2018 at 12:36 p.m. ,                                    All witnesses /           Elon Musk/Falsity,         F         Waiver. Defendants
                                                       "Investor support is confirmed. Only reason why this is not                                  Foundation                Scienter                             include this exhibit on
                                                       certain is that it's contingent on a shareholder vote."                                                                                                     their exhibit list.
        13            8/7/2018



                                  JPMS_000016045-      Email from Ryan Brinkman to EQR - Aprroval Request, Re:                                                                Ryna Brinkman/Falsity,     H, F, P   Witness authenticates;
                                  16047                Request approval to raise Tesla (TSLA) price target by +58%                                                            Scienter                             Business records
                                                                                                                                                                                                                   exception
        14            8/8/2018




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                                                                                                                                            Defendants Sponsoring Plaintiffs Sponsoring                                                               Defendants'
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                       Date                                                                                                                                                               Defendants         Objections                 Plaintiffs                  Comments
                                                                                                                                               Purpose at Trial           at Trial                                                                     Objections
                                 JPMS_00000047-00061 J.P. Morgan/Ryan Brinkman Analist Report: "Tesla Inc: Raise PT                                                   Ryan Brinkman/Falsity,   H, F, P      Waiver. Defendants
                                                     to Reflect Possible Go-Private Offer, But Remain Underweight                                                     Scienter, Materiality                 include this exhibit on
                                                     on Chance Shares Could Again Trade on Fundamentals".                                                                                                   their exhibit list.
        15           8/8/2018



                                 N/A                    Blog post tled, "Update on Taking Tesla Private,"dated                              All witnesses /                                    B
                                                        August 13, 2018 Duplicate of Ex. 53                                                 Foundation, Falsity,
                                                                                                                                            Scienter, Materiality,
        16           8/13/2018
                                                                                                                                            Reliance, Causation


                               JPMS_00002934-02971 J.P. Morgan Presentation by Ryan Brinkman: "US Autos, Auto                                                         Ryan Brinkman/Falsity,   H, F, P      Witness authenticates;
                                                   Parts, Tires, & Auto Auction". Updated Thoughts on Tesla: Is                                                       Scienter, Materiality                 Business records
                                                   Funding Secured or Not Secured? Pages 27-28                                                                                                              exception
        17           8/14/2018



                                 JPMS_00021193-21203 Email from J.P Morgan Market Intelligence to Ryan Brinkman,                                                      Ryan Brinkman/Falsity,   H, F, P      Witness authenticates;
                                                     Re: J.P. Morgan Early Look at the Market - Fri. 8.17.18"                                                         Scienter, Materiality                 Business records
                                                                                                                                                                                                            exception
        18           8/17/2018



                                 JPMS_00004543          Email from Ryan Brinkman (JPM) to David Kelley (JPM) cc: Auto                                                 Ryan Brinkman/Falsity,   H, F, P      Witness authenticates;
                                                        Guys, Re: Please set up a Tesla note.                                                                         Scienter, Materiality                 Business records
                                                                                                                                                                                                            exception
        21           8/17/2018



                               JPMS_00004047-04048 Email from Ryan Brinkman to EQR-Approval Request cc: EQR-                                                          Ryan Brinkman/Falsity,   H, F, P      Witness authenticates;
                                                   Brinkman, Re: Request to reduce Tesla (TSLA) price target by                                                       Scienter, Materiality                 Business records
                                                   more than -20% (i.e., by -37%)                                                                                                                           exception
        22           8/20/2018



                               JPMS_00000001-00015 JP Morgan Paper - "Reverting to Valuing TSLA Shares on                                   Brinkman, Fischel/        Ryan Brinkman/Falsity,   F            Waiver. Defendants
                                                   Fundamentals Alone Given Funding Appears to Not Have Been                                Falsity, Scienter         Scienter, Materiality                 include this exhibit on
                                                   Secured; PT Back to $195"                                                                                                                                their exhibit list.
        23           8/20/2018



                                 JPMS_00008604          Email from Aayush Gupta (JPMorgan) to Auto Guys, Re: Telsa                                                    Ryan Brinkman/Falsity,   H, F, P      Witness authenticates;
                                                        Keeps Sliding as JPMorgan Sees No Secured Funding for Deal                                                    Scienter, Materiality                 Business records
                                                                                                                                                                                                            exception
        24           8/20/2018



                                 JPMS_00003012-3093     JPMorgan Presentation - "State of the Auto Industry - 2018 JP                       Brinkman, Fischel/        Ryan Brinkman/Falsity,   F            Waiver. Defendants
                                                        Morgan Auto Conference Takeaways; Updated Thoughts on                               Falsity, Scienter         Scienter, Materiality                 include this exhibit on
                                                        Tesla Go Private Efforts.."                                                                                                                         their exhibit list.
        25           8/23/2018



                                 N/A                    Press Release - Statement from Board Members                                        All Defendants / Falsity, Antonio Gracias, Robyn   F            Waiver. Defendants
                                                                                                                                            Scienter, Materiality     Denholm/Falsity,                      include this exhibit on
                                                                                                                                                                      Scienter                              their exhibit list.
        26           8/8/2018



                                 N/A                    NYT Article - "Tesla Board Surprised by Elon Musk's Tweet on                        All Defendants / Falsity, Michael L.               H, F, P, K   Waiver. Defendants
                                                        Taking Car Maker Private"                                                           Scienter, Materiality     Hartzmark/Falsity,                    include this exhibit on
                                                                                                                                                                      Scienter, Materiality                 their exhibit list.
        27           8/13/2018




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                                                                                                                                                               Defendants Sponsoring Plaintiffs Sponsoring                                                                    Defendants'
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                       Date                                                                                                                                                                                  Defendants         Objections                    Plaintiffs                        Comments
                                                                                                                                                                  Purpose at Trial           at Trial                                                                          Objections
                                 Tesla Sec. Litig.-000279- Email from Chris McNally to Arndt Ellinghorst                  Re: [EXT] SA: TSLA ["Am             McNally / Foundation,                                                                        F, K, H          Not offered for
                                 80                                                                                       considering taking Tesla private at Falsity, Scienter                                                                                             truth; business
                                                                                                                          $420. Funding secured." - Tweet                                                                                                                   records exception
       28            8/7/2018
                                                                                                                          by @elonmusk]


                                 Tesla Sec. Litig.-000289- Email from George Galliers to EVRISI Autos                     Musk Tweets he is considering        McNally / Foundation,                                                                       F, K, H          Not offered for
                                 90                                                                                       taking Tesla private at $420 - Our   Falsity, Scienter                                                                                            truth; business
                                                                                                                          Thoughts                                                                                                                                          records exception
        30           8/7/2018



                                 Tesla Sec. Litig.-000477   Email from George Galliers to Chris McNally                   [No Subject]                         McNally / Foundation,                                                                       F, K, H          Not offered for
                                                                                                                                                               Falsity, Scienter                                                                                            truth; business
                                                                                                                                                                                                                                                                            records exception
        32           8/8/2018



                                 Tesla SEC. Litig -000484- Evercore Flash Note - "A Private Life is a Happy Life"                                              McNally / Foundation,     Michael L.                 F            Waiver. Defendants
                                 489                                                                                                                           Falsity, Scienter         Hartzmark/Falsity,                      include this exhibit on
                                                                                                                                                                                         Scienter, Materiality                   their exhibit list.
        33           8/8/2018



                                 Tesla Sec. Litig.-007088   Email from Chris McNally to Arndt Ellinghorst                 for mm - u guys ok with this?        McNally/ Foundation                                                                         F, K, H          Not offered for
                                                                                                                                                                                                                                                                            truth; business
                                                                                                                                                                                                                                                                            records exception
        36           8/20/2018



                                 TRP_000057                 Email from Joseph Fath to Aaron Chew                          Re: Quality                          Fath, Chew / Foundation                                                                     F, H             Not offered for
                                                                                                                                                                                                                                                                            truth; business
                                                                                                                                                                                                                                                                            records exception
        38           7/3/2018



                                 TRP_000192                 Email from Martin Viecha to Joseph Fath (TRowe), Re: Call                                                                    Joe Fath, Martin           R, F         Witness authenticates
                                                            [with Elon]                                                                                                                  Viecha/Falsity, Scienter
        39           7/19/2018



                                 TRP_000194                 Email from Joseph Fath (TRowe) to Elon Musk, Re: Thanks for                                                                  Joe Fath, Elon             F, P, H      Witness authenticates;
                                                            the call.                                                                                                                    Musk/Falsity, Scienter                  Business records
                                                                                                                                                                                                                                 exception
        40           7/19/2018



                                 TRP_000002                 Email from Joseph Fath to Robery Marcotte                     Re: TSLA (Tesla Update)              Fath / Foundation,        Joe Fath/Falsity, Scienter H, F, P, K   Witness authenticates;
                                                                                                                                                               Falsity, Scienter                                                 Business records
                                                                                                                                                                                                                                 exception
        41           8/7/2018



                                 TRP_000006-08              Email from Joel Grant to Robert Marcotte                      Re: TSLA (Tesla Update)              Fath / Foundation,        Joe Fath/Falsity, Scienter F            Waiver. Defendants
                                                                                                                                                               Falsity, Scienter                                                 include this exhibit on
                                                                                                                                                                                                                                 their exhibit list.
        42           8/7/2018



                                 TRP_001087-1088            Email from Joseph Fath (TRowe) to Rouven Wool-Lewis                                                                          Joe Fath/Falsity, Scienter F, R, P, H   Witness authenticates;
                                                            (TRowe), Re: WCG Order                                                                                                                                               Business records
                                                                                                                                                                                                                                 exception
        43           8/8/2018




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                                                                                                                                                      Defendants Sponsoring Plaintiffs Sponsoring                                                                     Defendants'
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                       Date                                                                                                                                                                         Defendants         Objections                       Plaintiffs                  Comments
                                                                                                                                                         Purpose at Trial           at Trial                                                                           Objections
                                 TRP_000012           Email from Joseph Fath to Taymour Tamaddon                       Tesla Go Private               Fath / Foundation,         Joe Fath/Falsity, Scienter F, P, H, K      Waiver. Defendants
                                                                                                                                                      Falsity, Scienter                                                     include this exhibit on
                                                                                                                                                                                                                            their exhibit list.
        44           8/8/2018



                                 TRP_000013           Email from Josh Spencer (TRowe) to Joseph Fath (TRowe), Re:                                                                Joe Fath/Falsity, Scienter F, P, H, K      Witness authenticates;
                                                      Tesla go private                                                                                                                                                      Business records
                                                                                                                                                                                                                            exception
        45           8/8/2018



                                 TRP_000016           Email from Scott Berg to Josh Spencer                            Tesla Go Private               Fath / Foundation          Joe Fath/Falsity, Scienter F, P, H, K      Waiver. Defendants
                                                                                                                                                                                                                            include this exhibit on
                                                                                                                                                                                                                            their exhibit list.
        46           8/8/2018



                                 TRP_000017           Email from Don Peters to Joseph Fath                             Tesla Go Private               Fath / Foundation          Joe Fath/Falsity, Scienter F, P, H, K      Waiver. Defendants
                                                                                                                                                                                                                            include this exhibit on
                                                                                                                                                                                                                            their exhibit list.
        47           8/8/2018



                                 TRP_000028-30        Email from Joseph Fath to David Eiswert                          Tesla Go Private               Fath / Foundation          Joe Fath/Falsity, Scienter F, P, H, K      Waiver. Defendants
                                                                                                                                                                                                                            include this exhibit on
                                                                                                                                                                                                                            their exhibit list.
        48           8/8/2018



                                 TRP_001103-1105      Email from Joseph Fath to Mark Nickley                           Re: DB TSLA STOCK LOAN ALERT   Fath, Foundation,          Joe Fath/Falsity, Scienter F, P, H, K      Waiver. Defendants
                                                                                                                                                      Falsity, Scienter                                                     include this exhibit on
                                                                                                                                                                                                                            their exhibit list.
        49           8/8/2018



                                 TRP_002004-2007      Email from Joseph Fath (TRowe) to Taymour Tamaddon                                                                         Joe Fath/Falsity, Scienter F, R, P, H, K   Witness authenticates;
                                                      (TRowe), Re: (no subject)                                                                                                                                             Business records
                                                                                                                                                                                                                            exception
        51           8/8/2018



                                 TRP_002031-2032      Email from Sam Teller to Joseph Fath                             Call w/ Elon                   Fath, Teller, E. Musk /    Joe Fath, Sam               F              Waiver. Defendants
                                                                                                                                                      Foundation, Falsity,       Teller/Falsity, Scienter                   include this exhibit on
                                                                                                                                                      Scienter                                                              their exhibit list.
        52           8/9/2018



                                 N/A                  Blog Post "Update on Taking Tesla Private"                                                      All witnesses / Falsity,   Elon Musk, Dave             F              Waiver. Defendants
                                                                                                                                                      Scienter, Materiality,     Arnold/Falsity, Scienter                   include this exhibit on
                                                                                                                                                      Reliance, Causation                                                   their exhibit list.
        53           8/13/2018



                                 JENN0000025          Email from Owuraka Koney (Jennison) to Michael Wilburn                                                                     Owuraka Koney/Falsity,      F, P, H        Witness authenticates;
                                                      (Jennison) and !Equities, Re: TSLA CEO Musk tweets:                                                                        Scienter                                   Business records
                                                      Considering taking Tesla private at $420/shr, funding secured-                                                                                                        exception
        55           8/7/2018



                                 JENN0000048          Email from Owuraka Koney (Jennison) to John Ziemba, Re:                                                                    Owuraka Koney/Falsity,      F, P, H        Witness authenticates;
                                                      TSLA (Tesla releases blog post on potential going private                                                                  Scienter                                   Business records
                                                      transaction)                                                                                                                                                          exception
        56           8/7/2018




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                                                                                                                                                             Defendants Sponsoring Plaintiffs Sponsoring                                                                Defendants'
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                       Date                                                                                                                                                                                Defendants         Objections                  Plaintiffs                  Comments
                                                                                                                                                                Purpose at Trial           at Trial                                                                      Objections
                                 JENN0000037-38        Email from Owuraka Koney (Jennison) to Mark Baribeau, Re:                                                                       Owuraka Koney/Falsity,    F, P, H      Witness authenticates;
                                                       TSLA (Tesla releases blog post on potential going private                                                                       Scienter                               Business records
                                                       transaction)                                                                                                                                                           exception
        57           8/7/2018



                                 JENN0000074-75        Emails from Martin Viecha to Owuraka Koney (Jennison) Re:                                                                       Owuraka Koney, Michael F, P, H, L, K   Witness authenticates;
                                                       call me back                                                                                                                    Viecha/Falsity, Scienter               Business records
                                                                                                                                                                                                                              exception
        58           8/7/2018



                                 JENN0000061-62        Email from Owuraka Koney to Mark Baribeau                        RE: TSLA [Tesla releases blog post   Koney / Falsity, Scienter Owuraka Koney/Falsity,    F            Waiver. Defendants
                                                                                                                        on potential going private                                     Scienter                               include this exhibit on
                                                                                                                        transaction]                                                                                          their exhibit list.
        59           8/7/2018



                                 JENN0000066-67        Email from Owuraka Koney to Ross Silverman                       RE: TSLA ["Investor support is      Koney/ Falsity, Scienter Owuraka Koney/Falsity,      F            Waiver. Defendants
                                                                                                                        confirmed. Only reason why this is                           Scienter                                 include this exhibit on
                                                                                                                        not certain is that it’s contingent                                                                   their exhibit list.
        60           8/7/2018
                                                                                                                        on a shareholder vote." - Tweet by
                                                                                                                        @elonmusk]

                                 JENN0000090           Email from Owuraka Koney to Mark Baribeau                        RE: TSLA                             Koney / Falsity, Scienter Owuraka Koney/Falsity,    F            Waiver. Defendants
                                                                                                                                                                                       Scienter                               include this exhibit on
                                                                                                                                                                                                                              their exhibit list.
        61           8/9/2018



                                 JENN0000098           Email from Owuraka Koney to LCG PMs                              TSLA update                          Koney / Falsity, Scienter Owuraka Koney/Falsity,    F            Waiver. Defendants
                                                                                                                                                                                       Scienter                               include this exhibit on
                                                                                                                                                                                                                              their exhibit list.
        62           8/9/2018



                                 JENN0000111-12        Email from Owuraka Koney to Sam Teller                           Re: Call with Elon Musk              Teller, Koney, E. Musk / Owuraka Koney, Sam         F            Waiver. Defendants
                                                                                                                                                             Falsity, Scienter        Teller/Falsity, Scienter                include this exhibit on
                                                                                                                                                                                                                              their exhibit list.
        63           8/10/2018



                                 JENN0000109           Email from Michael DelBalso (Jennison) to Spiros Segales cc:                                                                    Owuraka Koney/Falsity,    H, F, P      Witness authenticates;
                                                       Owuraka Koney (Jennison), Re: Call with Elon at 11am                                                                            Scienter                               Business records
                                                                                                                                                                                                                              exception
        64           8/10/2018



                                 JENN0000013           Email from Blair Boyer (Jennison) to Owuraka Koney (Jennison),                                                                  Owuraka Koney/Falsity,    H, F, P      Witness authenticates;
                                                       Re: TSLA (Certain Tesla board members issues statement)                                                                         Scienter                               Business records
                                                                                                                                                                                                                              exception
        65           8/10/2018



                                 JENN 0000001          Owuraka Koney (Jennison)'s notes from conference call with                                            Teller, Koney, E. Musk / Owuraka Koney/Falsity,     F            Waiver. Defendants
                                                       Elon Musk held on 8/10/2018.                                                                          Falsity, Scienter        Scienter                                include this exhibit on
                                                                                                                                                                                                                              their exhibit list.
        66           Undated



                                 SEC-EPROD-00016988-   SEC interview with Owuraka Koney                                                                                                Owuraka Koney/Falsity,    H, F, P      F.R.E. 803(5); F.R.E.
                                 17003                                                                                                                                                 Scienter                               803(3)
        67           9/11/2018




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                                                                                                                                                                 Purpose at Trial           at Trial                                                                           Objections
                                  JENN0000147-150        Email from Owuraka Koney to LCG PMs                            FW: TSLA [Tesla CEO Elon Musk        Koney / Falsity, Scienter Owuraka Koney/Falsity,       F            Waiver. Defendants
                                                                                                                        provides additional background on                              Scienter                                  include this exhibit on
                                                                                                                        going private discussions; notes                                                                         their exhibit list.
        68           8/13/2018                                                                                          Saudi SWF had expressed repeated
                                                                                                                        interest in taking company private -
                                                                                                                        - blog post]


                                  JENN0000219            Email from Owuraka Koney to Thomas Davis                       Re: call w/Tesla board               Koney, Foundation                                                                             F, H             Not offered for
                                                                                                                                                                                                                                                                            truth; business
                                                                                                                                                                                                                                                                            records exception
        71           8/21/2018



                                  JENN0000231            Email from Owuraka Koney (Jennison) to Owuraka Koney, Re:                                                                        Owuraka Koney/Falsity,    H, F, P, I   Business records
                                                         tsla call notes [Koney notes from call with Antonio Gracias]                                                                     Scienter                               exception
        72           8/23/2018



                                  JENN0000152-56         Email from Owuraka Koney to LCG PMs                            RE: TSLA [Tesla CEO Elon Musk        Koney / Falsity, Scienter,                                                                    F, H             Not offered for
                                                                                                                        provides additional background on Reliance, Causation                                                                                               truth; business
                                                                                                                        going private discussions; notes                                                                                                                    records exception
        73           8/13/2019                                                                                          Saudi SWF had expressed repeated
                                                                                                                        interest in taking company private -
                                                                                                                        - blog post]


                                  TESLA_LITTLETON_0000 Email from Diarmuid O'Connell to Deepak Ahuja                    Re: Saudi                            Ahuja, E. Musk /             Deepak Ahuja/Falsity,     F            Waiver. Defendants
                                  5316                                                                                                                       Foundation, Falsity,         Scienter                               include this exhibit on
                                                                                                                                                             Scienter                                                            their exhibit list.
        75           4/14/2017



                                  TESLA_LITTLETON_0000 Email from Sam Teller to Deepak Ahuja                            Re: Tesla Discussion                 Teller, Ahuja, E. Musk /                                                                      F, H, R          Business records
                                  5317-22                                                                                                                    Foundation, Falsity,                                                                                           exception;
                                                                                                                                                             Scienter                                                                                                       relevant to
        76           4/15/2017                                                                                                                                                                                                                                              material falsity
                                                                                                                                                                                                                                                                            and scienter


                                  TESLA_LITTLETON_0000 Email from Sam Teller to Todd Maron                              Re: Evercore                         Teller, Maron, E. Musk /                                                                      F, H, R          Business records
                                  6162                                                                                                                       Foundation, Falsity,                                                                                           exception;
                                                                                                                                                             Scienter                                                                                                       relevant to
        77           4/2/2018                                                                                                                                                                                                                                               material falsity
                                                                                                                                                                                                                                                                            and scienter


                                  BARON_00000055-        Email from Ron Baron (Baron Funds) to Elon Musk, Re: Jackie                                                                      Elon Musk, Deepak         H, F, R, P   Business records
                                  BARON_00000056         Robinson, Mandela, MLK, Ghandi, Reed Hastings.                                                                                   Ahuja/Falsity, Scienter                exception
        78           7/15/2018



                                  TSLS_AHUJA00004447     D. Ahuja Text Messages                                                                              Teller, Viecha, Buss,   Deepak Ahuja/Falsity,          F            Waiver. Defendants
                                                                                                                                                             Straubel, Dees, Murdoch Scienter                                    include this exhibit on
                     8/1/2018 -                                                                                                                              / Foundation, Falsity,                                              their exhibit list.
        79           8/14/2018                                                                                                                               Scienter


                                  SEC-EPROD-000009477 Minutes of meeting between PIF and Elon Musk                                                                                        Elon Musk, Sam Teller,    A, F, H, P   Rule 901(b)(4);
                                                                                                                                                                                          Deepak Ahuja/Falisty,                  Business records
                                                                                                                                                                                          Scienter                               exception
        80           7/31/2018




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                                                                                                                                                      Defendants Sponsoring Plaintiffs Sponsoring                                                               Defendants'
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                       Date                                                                                                                                                                         Defendants         Objections               Plaintiffs                       Comments
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                                TESLA_LITTLETON_0000 Email from Elon Musk to Board of Directors                 Offer to Take Tesla Private at $420 All Defendants /            Elon Musk, Deepak          F       Waiver. Defendants
                                0078                                                                                                                Foundation, Falsity,        Ahuja, Dave                        include this exhibit on
                                                                                                                                                    Scienter                    Arnold/Falsity, Scienter           their exhibit list.
        81           8/2/2018



                                TESLA_LITTLETON_0001 Minutes of a Special Mee ng of the Board of Directors of                                         Buss, Gracias, Murdoch, Deepak Ahuja, Robyn          F       Waiver. Defendants
                                2790-12791           Tesla                                                                                            Denholm, Rice,          Denholm, Antonio                     include this exhibit on
                                                                                                                                                      Ehrenpreis, Ahuja,      Gracias/Falisty, Scienter            their exhibit list.
        82           8/2/2018
                                                                                                                                                      Maron / Foundation,
                                                                                                                                                      Falsity, Scienter

                                TESLA_LITTLETON_0001 Minutes of a Special Mee ng of the Board of Directors of                                         All Defendants, Ahuja,    Deepak Ahuja, Elon     F           Waiver. Defendants
                                2812-12814           Tesla                                                                                            Maron / Foundation,       Musk, Antonio Gracias,             include this exhibit on
                                                                                                                                                      Falsity, Scienter         Robyn Denholm/Falisty,             their exhibit list.
        83           8/3/2018
                                                                                                                                                                                Scienter


                                TESLA_LITTLETON_0000 Email from Martin Viecha to Deepak Ahuja                   RE: Share ownership                   Ahuja, Viecha /                                                                        F, K, H          Business records
                                4261-68                                                                                                               Foundation                                                                                              exception
        84           8/5/2018



                                TESLA_LITTLETON_0000 Email from Martin Viecha to Deepak Ahuja                   Re: Share ownership                   Viecha, Ahuja /                                                                        F, K, H          Business records
                                4198-05                                                                                                               Foundation                                                                                              exception
        85           8/5/2018



                                TESLA_LITTLETON_0001 Email from Martin Viecha to Deepak Ahuja                   RE: Share ownership                   Ahuja, Viecha /                                                                        F, K, H          Business records
                                2953-60                                                                                                               Foundation                                                                                              exception
        86           8/6/2018



                                TESLA_LITTLETON_0000 Email from Elon Musk to Dave Arnold                        Re: FT article re: Saudi investment E. Musk, Ahuja, Arnold, Dave Arnold, Elon Musk, F              Waiver. Defendants
                                5353                                                                            in Tesla                            Viecha / Foundation     Deepak Ahuja, Martin                   include this exhibit on
                                                                                                                                                                            Viecha/Falisty, Scienter               their exhibit list.
        87           8/7/2018



                                TESLA_LITTLETON_0001 Email from Deepak Ahuja to Antonio Gracias                 Blog Link: Taking Tesla private       All Defendants, Ahuja,    Deepak Ahuja, Antonio      F       Waiver. Defendants
                                3235                                                                                                                  Maron / Foundation,       Gracias, Robyn                     include this exhibit on
                                                                                                                                                      Falsity, Scienter         Denholm/Falisty,                   their exhibit list.
        88           8/7/2018
                                                                                                                                                                                Scienter


                                TESLA_LITTLETON_0001 Minutes of a Special Mee ng of the Board of Directors of                                         Gracias, Buss, Denholm,   Deepak Ahuja, Antonio F            Waiver. Defendants
                                2792-93              Tesla                                                                                            Ehrenpreis, Rice,         Gracias, Robyn Denholm,            include this exhibit on
                                                                                                                                                      Murdoch, Ahuja, Maron     Elon Musk/Falisty,                 their exhibit list.
        89           8/7/2018                                                                                                                         / Foundation, Falsity,    Scienter
                                                                                                                                                      Scienter


                                TESLA_LITTLETON_0000 Email from Elon Musk to Matt Fassnacht                     Re: Why?                              E. Musk, Ahuja, Chew /    Elon Musk, Deepak Ahuja F          Waiver. Defendants
                                6289-6290                                                                                                             Foundation                /Falisty, Scienter                 include this exhibit on
                                                                                                                                                                                                                   their exhibit list.
        90           8/7/2018



                                TESLA_LITTLETON_0000 Email from Martin Viecha to Deepak Ahuja                   RE: sanity check                      Ahuja, Viecha /                                                                        F, H             Business records
                                4131-35                                                                                                               Foundation                                                                                              exception
        91           8/7/2018




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                                 TESLA_LITTLETON_0000 Email from Elon Musk to Todd Maron transmi ng Text from          From Yasir of Arabia             E. Musk, Maron, Ahuja, Elon Musk, Deepak              F               Waiver. Defendants
                                 6164-6165            Yasir                                                                                             Al-Rumayyan /          Ahuja/Falisty, Scienter                        include this exhibit on
                                                                                                                                                        Foundation, Falsity,                                                  their exhibit list.
        92           8/10/2018
                                                                                                                                                        Scienter


                                 TESLA_LITTLETON_0000 Email from Elon Musk to Todd Maron                               Re: From Yasir of Arabia         E. Musk, Maron, Ahuja, Elon Musk, Deepak              F               Waiver. Defendants
                                 6167                                                                                                                   Al-Rumayyan /          Ahuja/Falisty, Scienter                        include this exhibit on
                                                                                                                                                        Foundation, Falsity,                                                  their exhibit list.
        93           8/10/2018
                                                                                                                                                        Scienter


                                 TESLA_LITTLETON_0000 Email from Elon Musk to Board of Directors                       Egon Durban of Silver Lake       E. Musk, Maron, Ahuja, Elon Musk, Deepak              F               Waiver. Defendants
                                 0106                                                                                                                   Durban / Foundation,   Ahuja/Falisty, Scienter                        include this exhibit on
                                                                                                                                                        Falsity, Scienter                                                     their exhibit list.
        94           8/13/2018



                               TESLA_LITTLETON_0000 Email from Dave Arnold to Elon Musk; Cc: Deepak Ahuja; Sam                                                                     Dave Arnold, Elon Musk, H, R, F, B, I, P   Business records
                               5739-5740            Teller; Sarah O'Brien, Re: Media Coverage: Taking Tesla Private,                                                               Deepak Ahuja, Sam                          exception
                                                    8/13/18 at 2:04pm                                                                                                              Teller/Falisty, Scienter
        95           8/13/2018



                                 TESLA_LITTLETON_0001 Minutes of a Special Mee ng of the Board of Directors of                                          All Defendants, Ahuja,     Deepak Ahuja, Elon         F               Waiver. Defendants
                                 2806-12811           Tesla                                                                                             Maron / Foundation,        Musk, Antonio Gracias,                     include this exhibit on
                                                                                                                                                        Falsity, Scienter          Robyn Denholm/                             their exhibit list.
        96           8/13/2018



                               TESLA_LITTLETON_0000 Email from Elon Musk to Tesla Board; ExecStaff, Re: Fwd:                                                                       Elon Musk/Falisty,         F, H, R, P, K   Business records
                               2398                 Heads up: Reuters article on board's special committee                                                                         Scienter                                   exception
                                                    8/15/18 at 1:08pm
        98           8/15/2018



                                 TESLA_LITTLETON_0000 Email from Elon Musk to Board of Directors                       WSJ                              All Defendants/ Falsity,                                                                         F, H             Not offered for
                                 2321                                                                                                                   Scienter                                                                                                          truth; business
                                                                                                                                                                                                                                                                          records exception
        99           8/17/2018



                                 TESLA_LITTLETON_0000 Email from Deepak Ahuja to Todd Maron, Re: Feedback from                                                                     Deepak Ahuja, Martin       H, P, F         Business records
                                 9580-9581            investors, 8/19/18 at 10:26pm                                                                                                Viecha/Falisty, Scienter                   exception
       100           8/19/2018



                                 TESLA_LITTLETON_0001 Minutes of a Special Mee ng of the Board of Directors of                                          All Defendants, Ahuja,     Deepak Ahuja, Antonio F                    Waiver. Defendants
                                 2794-12798           Tesla                                                                                             Maron, Durban, Dees /      Gracias, Robyn Denholm,                    include this exhibit on
                                                                                                                                                        Foundation, Falsity,       Elon Musk/Falisty,                         their exhibit list.
       101           8/23/2018
                                                                                                                                                        Scienter                   Scienter


                                 TESLA_LITTLETON_0000 Social Media Policy of Tesla dated 8/22/2018                                                                                 Elon Musk, Antonio       P, F, R           Witness authenticates;
                                 6168                                                                                                                                              Gracias, Robyn Denholm,                    this document is
                                                                                                                                                                                   Deepak Ahuja, Sam                          related to the tweets
                                                                                                                                                                                   Teller/Falisty, Scienter                   that are subject to this
       102           8/22/2018                                                                                                                                                                                                lawsuit, it is relevant
                                                                                                                                                                                                                              and ought to be
                                                                                                                                                                                                                              admitted




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                                                          Form 8-K of Tesla Motors, Inc., dated November 5, 2013 re                                                                      Elon Musk, Antonio       A, B, F, H, K, R   F.R.E. 904(b)(4), F.R.E.
                                                          Elon’s Twitter account                                                                                                         Gracias, Robyn Denholm,                     901(7)
                                                                                                                                                                                         Deepak Ahuja, Sam
       103           11/5/2013
                                                                                                                                                                                         Teller/Falisty, Scienter



                                                          Vernon Unsworth v. Elon Musk. Exhibit 16, p. 436-437. Email                                                                    Elon Musk,Sam              P, R             Relevant to past
                                                          from [Elon Musk] to Sam Teller, Re: Draft outline - UPDATED                                                                    Teller/Falsity, Scienter                    tweeting behavior
       104           7/17/2018



                                   TESLA_LITTLETON_0000 Email from Sam Teller to Emma Gallagher                         Re: NEXT WEEK - FW: Request to      Teller, E. Musk, Al          Sam Teller, Elon           F                Waiver. Defendants
                                   6239-40                                                                              Meet with H.E. Yasir Al             Jarboa, Al-Rumayyan /        Musk/Falsity, Scienter                      include this exhibit on
                                                                                                                                                            Foundation, Falsity,                                                     their exhibit list.
       105           11/10/2016
                                                                                                                                                            Scienter


                                   TESLA_LITTLETON_0000 Email from Emma Gallagher to Elon Musk                          Re: Yasir wants to meet in SF       E. Musk, Teller, Al-                                                                                F, K, H, R       Not offered for
                                   4579                                                                                                                     Rumayyan / Foundation,                                                                                               truth; business
                                                                                                                                                            Falsity, Scienter                                                                                                    records
       106           1/31/2017
                                                                                                                                                                                                                                                                                 exception; FRE
                                                                                                                                                                                                                                                                                 803(3)

                                   TESLA_LITTLETON_0000 Email from Sam Teller to Emma Gallagher                         Re: OpenAI Funding                  E. Musk, Teller, Al-   Elon Musk, Sam Teller            F                Waiver. Defendants
                                   3900-3901                                                                                                                Rumayyan / Foundation, /Falisty, Scienter                                include this exhibit on
                                                                                                                                                            Falsity, Scienter                                                        their exhibit list.
       107            3/2/2017



                                   TESLA_LITTLETON_0000 Email from Sam Teller to Deepak Ahuja                           Yasir bin Othman Al-Rumayyan:       E. Muks, Teller, Ahuja /                                                                            F, K, H, R,      No out of court
                                   3893                                                                                 Executive Profile & Biography -     Foundation, Falsity,                                                                                                 statement; not
                                                                                                                        Bloomberg                           Scienter                                                                                                             offered for truth;
       108            3/7/2017                                                                                                                                                                                                                                                   business records
                                                                                                                                                                                                                                                                                 exception


                                   TESLA_LITTLETON_0000 Email from Sam Teller to Saad Aljarboa                          Re: Yasir Meeting with Elon         Teller, E. Musk, Al          Sam Teller/Falsity,        F                Waiver. Defendants
                                   3927                                                                                                                     Jarboa, Al-Rumayyan /        Scienter                                    include this exhibit on
                                                                                                                                                            Foundation, Falsity,                                                     their exhibit list.
       109           7/29/2018
                                                                                                                                                            Scienter


                                   TESLA_LITTLETON_0000 Spreadsheet of S. Teller Text Messages                                                              Teller, Ahuja, Viecha, E. Sam Teller/Falsity,           F                Waiver. Defendants
                                   6319                                                                                                                     Musk, Maron /             Scienter                                       include this exhibit on
                     7/31/2018 -                                                                                                                            Foundation, Falsity,                                                     their exhibit list.
       110            8/14/2018                                                                                                                             Scienter


                                   TESLA_LITTLETON_0000 Email from Antonio Gracias to Sam Teller                        Re:                                 Teller, Gracias, E. Musk /                                                                          F, H             Business records
                                   1066-67                                                                                                                  Foundation                                                                                                           exception
       111            8/8/2018



                                   TESLA_LITTLETON_0000 Email from Sam Teller to Saad Aljarboa                          Re: Yasir Meeting with Elon         Teller, Al Jarboa, E.                                                                               F, H,            No out of court
                                   5090                                                                                                                     Musk, Al-Rumayyan /                                                                                                  statement; not
                                                                                                                                                            Foundation                                                                                                           offered for truth;
       112            8/8/2018
                                                                                                                                                                                                                                                                                 business records
                                                                                                                                                                                                                                                                                 exception

                                   TESLA_LITTLETON_0000 Email from Sam Teller to Martin Lau                             Call w/ Elon                        Teller, E. Musk /            Sam Teller/Falsity,        F                Waiver. Defendants
                                   14812                                                                                                                    Foundation, Falsity,         Scienter                                    include this exhibit on
                                                                                                                                                            Scienter                                                                 their exhibit list.
       113            8/9/2018




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                                  TESLA_LITTLETON_0001 Email from Sam Teller to Greg Molinelli         Call with Elon Musk               Teller, E. Musk /          Sam Teller/Falsity,    F          Waiver. Defendants
                                  4813                                                                                                   Foundation, Falsity,       Scienter                          include this exhibit on
                                                                                                                                         Scienter                                                     their exhibit list.
       114           8/9/2018



                                  TESLA_LITTLETON_0001 Email from Sam Teller to Owuraka Koney          Call with Elon Musk               Teller, Koney, E. Musk / Sam Teller/Falsity,      F          Waiver. Defendants
                                  4814                                                                                                   Foundation, Falsity,     Scienter                            include this exhibit on
                                                                                                                                         Scienter                                                     their exhibit list.
       115           8/9/2018



                                  TESLA_LITTLETON_0001 Email from Justin Toner to Sam Teller           RE: Call w/ Elon Musk             Teller, E. Musk /          Sam Teller/Falsity,    F          Waiver. Defendants
                                  48145                                                                                                  Foundation, Falsity,       Scienter                          include this exhibit on
                                                                                                                                         Scienter                                                     their exhibit list.
       116           8/9/2018



                                  TESLA_LITTLETON_0001 Email from Huachen Chen to Elissa Butterfield   RE: Call w/ Elon                  Teller, E. Musk /          Sam Teller/Falsity,    F          Waiver. Defendants
                                  4816-18                                                                                                Foundation, Falsity,       Scienter                          include this exhibit on
                                                                                                                                         Scienter                                                     their exhibit list.
       117           8/9/2018



                                  TESLA_LITTLETON_0001 Email from Sam Teller to Elliot Mattingly       Re: Call with Elon                Teller, E. Musk /          Sam Teller/Falsity,    F          Waiver. Defendants
                                  5990-91                                                                                                Foundation, Falsity,       Scienter                          include this exhibit on
                                                                                                                                         Scienter                                                     their exhibit list.
       118           8/9/2018



                                  TESLA_LITTLETON_0001 Email from Sam Teller to James Anderson         Call w/ Elon                      Teller, E. Musk /          Sam Teller/Falsity,    F          Waiver. Defendants
                                  6050                                                                                                   Foundation, Falsity,       Scienter                          include this exhibit on
                                                                                                                                         Scienter                                                     their exhibit list.
       119           8/9/2018



                                  TESLA_LITTLETON_0001 Email from Sam Teller to Joseph Fath            Call w/ Elon                      Teller, Fath, E. Musk /    Sam Teller/Falsity,    F          Waiver. Defendants
                                  6051                                                                                                   Foundation, Falsity,       Scienter                          include this exhibit on
                                                                                                                                         Scienter                                                     their exhibit list.
       120           8/9/2018



                                  TESLA_LITTLETON_0000 Spreadsheet of E. Musk Text Messages                                              E. Musk, Murdoch,          Sam Teller/Falsity,    F          Waiver. Defendants
                                  0320                                                                                                   Gracias, Durban, Teller,   Scienter                          include this exhibit on
                     8/1/2018 -                                                                                                          Al-Rumayyan /                                                their exhibit list.
       121           8/15/2018                                                                                                           Foundation, Falsity,
                                                                                                                                         Scienter

                                  TESLA_LITTLETON_0001 Email from Sam Teller to Dave Arnold            Re: comment please on story we    Teller, Arnold, Maron, Sam Teller, Dave           F          Waiver. Defendants
                                  5997-15998                                                           publishing on Saudi fund....      Ahuja, E. Musk, Al-    Arnold/Falsity, Scienter              include this exhibit on
                                                                                                                                         Rumayyan / Foundation,                                       their exhibit list.
       122           8/10/2018
                                                                                                                                         Falsity, Scienter


                                  TESLA_LITTLETON_0000 Email from Elon Musk to Sam Teller              Re: Egon Durban of Silver Lake    All Defendants, Durban, Sam Teller, Elon          F          Waiver. Defendants
                                  5738                                                                                                   Dees / Foundation,      Musk/Falsity, Scienter               include this exhibit on
                                                                                                                                         Falsity, Scienter                                            their exhibit list.
       123           8/12/2018



                                  TESLA_LITTLETON_0000 Email from Elon Musk to BoD                     Egon Durban of Silver Lake        All Defendants/ Falsity,                                                               F, K, H          FRE 803(3);
                                  0106                                                                                                   Scienter                                                                                                business records
                                                                                                                                                                                                                                                 exception; not
       124           8/11/2018
                                                                                                                                                                                                                                                 offered for truth




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                                 TESLA_LITTLETON_0000 Email from Sam Teller to Shihana Alazzaz                           Re: Mutual NDA                     Teller, E. Musk, Al-   Sam Teller/Falsity,            F            Waiver. Defendants
                                 5205                                                                                                                       Rumayyan / Foundation, Scienter                                    include this exhibit on
                                                                                                                                                            Falsity, Scienter                                                  their exhibit list.
       125           8/10/2018



                                 TESLA_LITTLETON_0000 Tesla indemnification agreement                                                                       Murdoch, Maron /                                                                             F, K, H, R,      No out of court
                                 6539-47                                                                                                                    Foundation                                                                                                    statement
       126           7/13/2017



                                 TESLA_LITTLETON_0000 Email from Antonio to Brad Buss                                    Re: Blog Post                      All Director Defendants,                                                                     F, K, H          FRE 803(3);
                                 3232                                                                                                                       Ahuja, Maron /                                                                                                business records
                                                                                                                                                            Foundation                                                                                                    exception
       129           8/7/2018



                                 TESLA_LITTLETON_0000 Statement from Tesla's Board Members                                                                  Buss, Denholm, Gracias,                                                                      F, K, H          FRE 803(3);
                                 9360                                                                                                                       Ehrenpreis, Rice,                                                                                             business records
                                                                                                                                                            Murdoch                                                                                                       exception
       130           8/8/2018



                                 TESLA_LITTLETON_0000 Email from Jonathan Chang to Brad Buss                             Tesla: Weekend Scheduling          Buss, Maron /                                                                                F, K, H          FRE 803(3);
                                 1587                                                                                                                       Foundation                                                                                                    business records
                                                                                                                                                                                                                                                                          exception
       132           8/10/2018



                                 TESLA_LITTLETON_0001 Minutes of a Special Meeting of the Board of Directors of Tesla,                                      All Defendants, Maron / Robyn Denholm, Elon           F            Waiver. Defendants
                                 2799-12800           Inc.                                                                                                  Foundation, Falsity,    Musk, Antonio                              include this exhibit on
                                                                                                                                                            Scienter                Gracias/Falsity, Scienter                  their exhibit list.
       134           8/16/2018



                                 TESLA_LITTLETON_0001 Minutes of a Special Meeting of the Board of Directors of Tesla,                                      All Defendants, Maron / Robyn Denholm, Elon           F            Waiver. Defendants
                                 2804-12805           Inc.                                                                                                  Foundation, Falsity,    Musk, Antonio                              include this exhibit on
                                                                                                                                                            Scienter                Gracias/Falsity, Scienter                  their exhibit list.
       135           8/17/2019



                                 TESLA_LITTLETON_0001 Minutes of a Special Meeting of the Board of Directors of Tesla,                                      All Defendants, Maron / Robyn Denholm, Elon           F            Waiver. Defendants
                                 2801-12803           Inc.                                                                                                  Foundation, Falsity,    Musk, Antonio                              include this exhibit on
                                                                                                                                                            Scienter                Gracias/Falsity, Scienter                  their exhibit list.
       137           8/18/2018



                                 TESLA_LITTLETON_0000 Statement from Tesla's Board Members                                                                  Buss, Denholm, Gracias, Robyn Denholm, Antonio F                   Waiver. Defendants
                                 9341                                                                                                                       Ehrenpreis, Rice,       Gracias/Falsity, Scienter                  include this exhibit on
                                                                                                                                                            Murdoch / Foundation                                               their exhibit list.
       139           8/25/2018



                               TESLA-                    Email from Martin Viecha to Elon Musk re Allianz feedback and                                                                   Martin Viecha, Elon      P, R, F, H   Business records
                               LITTLETON_00019247-       cave diver                                                                                                                      Musk/Falsity, Scienter                exception
       140           8/30/2018 TESLA-LITTLETON_
                               00019248


                                 TESLA_LITTLETON_0000 Email from Martin Viecha to Sam Teller                             RE: Yasir Meeting with Elon        Teller, Viecha, Al Jarboa,                                                                   F, K, H, R, P    Not offered for
                                 4684-65                                                                                                                    Al-Rumayyan, E. Musk /                                                                                        truth; business
                                                                                                                                                            Foundation, Falsity,                                                                                          records exception
       141           3/30/2018
                                                                                                                                                            Scienter




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                                 TESLA_LITTLETON_0001 Email from Martin Viecha to Deepak Ahuja                         RE: Share ownership             Ahuja, Viecha /         Martin Viecha, Deepak     F               Waiver. Defendants
                                 8466-18476                                                                                                            Foundation              Ahuja/Falsity, Scienter                   include this exhibit on
                                                                                                                                                                                                                         their exhibit list.
       143           8/7/2018



                                 TESLA_LITTLETON_0000 Email from Martin Viecha to Eirik Hogner (Lansdowne                                                                      Martin Viecha/Falsity,    P, R, F, H, L   Business records
                                 4110-4111            Partners), Re: Takeout                                                                                                   Scienter                                  exception
       145           8/7/2018



                                 TESLA_LITTLETON_0000 Email from Martin Viecha to Itay Michaeli (Citi Research) re                                                             Martin Viecha/Falsity,    P, R, F, H, L   Business records
                                 4154                 Elon tweet                                                                                                               Scienter                                  exception
       146           8/7/2018



                                 TESLA_LITTLETON_0000 Email from Deepak Ahuja to Martin Viecha                         Re: Why?                        Ahuja, Viecha, Chew /   Martin Viecha/Falsity,    F, P            Waiver. Defendants
                                 4008-4009                                                                                                             Foundation              Scienter                                  include this exhibit on
                                                                                                                                                                                                                         their exhibit list.
       147           8/7/2018



                                 TESLA_LITTLETON_0000 Email from Nasdaq to Aaron Chew and Martin Viecha re                                                                     Martin Viecha/Falsity,    P, R, F, H, L   Business records
                                 6610                 trading resuming                                                                                                         Scienter                                  exception
       149           8/7/2018



                                 TESLA_LITTLETON_0000 Email from Martin Viecha to Bradley Erickson (KeyBanc) re Elon                                                           Martin Viecha/Falsity,    P, R, F, H, L   Business records
                                 4010-4011            Tweet                                                                                                                    Scienter                                  exception
       150           8/7/2018



                                 TESLA_LITTLETON_0000 Email from Martin Viecha to Toni Sacconaghi (Bernstein                                                                   Martin Viecha/Falsity,    P, R, F, H, L   Business records
                                 4253-4255            Research) re Elon tweet                                                                                                  Scienter                                  exception
       151           8/7/2018



                                 TESLA_LITTLETON_0000 Email from Martin Viecha to Joel Grant (TRowe), Re: Takeout                                                              Martin Viecha/Falsity,    P, R, F, H, L   Business records
                                 4114                 news                                                                                                                     Scienter                                  exception
       153           8/7/2018



                                 TESLA_LITTLETON_0000 Email from Elon Musk to Board of Directors                       Fwd: Thank you and feedback     All Defendants, Fath,                                                                       F, K, H          FRE 803(3);
                                 6271-75                                                                                                               Ahuja, Maron /                                                                                               business records
                                                                                                                                                       Foundation, Falsity,                                                                                         exception
       154           8/7/2018
                                                                                                                                                       Scienter


                                 TESLA_LITTLETON_0000 Email from Aaron Chew to Martin Viecha                           Investor Feedback               Chew, Viecha, Ahuja /   Martin Viecha/Falsity,    F               Waiver. Defendants
                                 4625-4626                                                                                                             Foundation              Scienter                                  include this exhibit on
                                                                                                                                                                                                                         their exhibit list.
       155           8/8/2018



                                 SEC-EPROD-000000024- Email from Martin Viecha to James Anderson                       RE: LTSE                        Viecha, E. Musk /                                                                           F, K, H          Business records
                                 25                                                                                                                    Foundation                                                                                                   exception
       156           8/10/2018




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                                                                                                                                                                 Purpose at Trial           at Trial                                                                              Objections
                                  TESLA_LITTLETON_0001 Email from Martin Viecha to Elon Musk                               RE: T Rowe Price                   E. Musk, Viecha, Ahuja, Martin Viecha, Elon          F                  Waiver. Defendants
                                  8643-18644                                                                                                                  Chew, Teller, Fath /    Musk, Deepak                                    include this exhibit on
                                                                                                                                                              Foundation              Ahuja/Falsity, Scienter                         their exhibit list.
       157           8/13/2018



                               TESLA_LITTLETON_0001 Email from Martin Viecha to Deepak Ahuja and Todd Maron,                                                                           Martin Viecha, Deepak       P, R, F, H, L, I   Business records
                               9026-19027           Re: FW: Investor Feedback. Todd Maron forwarded an FYI to                                                                          Ahuja/Falsity, Scienter                        exception
                                                    Elon Musk.
       158           8/15/2018



                                  TESLA_LITTLETON_0001 Email from Martin Viecha to Dave Arnold, Re: NYT interview                                                                      Martin Viecha, Dave         F, R, P, H         Business records
                                  0832-10833                                                                                                                                           Arnold/Falsity, Scienter                       exception
       159           8/17/2018



                                  TESLA_LITTLETON_0001 Emails from James Sperling (UBS) to Martin Viecha re Elon's                                                                     Martin Viecha/Falsity,      F, P               Witness authenticates
                                  2567-12569           interview with NYT                                                                                                              Scienter
       160           8/17/2018



                                  TESLA_LITTLETON_0001 Email from Deepak Ahuja to Martin Viecha                            FW: Feedback from investors        Ahuja, Viecha, E. Musk, Martin Viecha, Deepak        F                  Waiver. Defendants
                                  9023-24                                                                                                                     Chew / Foundation       Ahuja/Falsity, Scienter                         include this exhibit on
                                                                                                                                                                                                                                      their exhibit list.
       161           8/19/2018



                                                          Electrek article: Tesla (TSLA) now reportedly under a criminal                                                               Elon Musk, Dave Arnold, A, F, H, K, R          Not offered for
                                                          probe over Elon Musk's take-private comments.                                                                                Deepak Ahuja, Anotnio                          truth/effect on listener
                                                                                                                                                                                       Gracias, Robyn Denholm,
       163           9/18/2018                                                                                                                                                         Sam Teller/Falsity,
                                                                                                                                                                                       Scienter



                                                          Tesla Blog Post: Tesla Makes Offer to Acquire Solar City                                                                     Elon Musk, Anotnio          F, R, P, H         Not offered for
                                                                                                                                                                                       Gracias/Falsity, Scienter                      truth/effect on listener
       164           6/21/2016



                                  TESLA_LITTLETON_0000 D. Ahuja Call Log                                                                                      All Defendants, Straubel, Elon Musk/Falsity,         F                  Waiver. Defendants
                                  0315                                                                                                                        Durban, Dees, Teller, Al- Scienter                                      include this exhibit on
                     7/3/2018 -                                                                                                                               Rumayyan, Maron /                                                       their exhibit list.
       165           8/15/2018                                                                                                                                Foundation, Falsity,
                                                                                                                                                              Scienter


                                  TESLA_LITTLETON_0000 Email from Elon Musk to Board of Directors                          Fwd: Thank you and feedback        All Defendants, Fath,    Elon Musk, Robyn            F                  Waiver. Defendants
                                  0247-50                                                                                                                     Ahuja, Maron /           Denholm, Antonio                               include this exhibit on
                                                                                                                                                              Foundation, Falisity,    Gracias/Falsity, Scienter                      their exhibit list.
       167           8/7/2018
                                                                                                                                                              Scienter


                                  TESLA_LITTLETON_0001 Email from Ira Ehrenpreis to Sarah O'Brien, Dave Arnold, and                                                                    Ira, Ehrenpreis, Dave       F, H, P            Business records
                                  4589                 Todd Maron forwarding Bloomberg inquiry re tesla go private                                                                     Arnold/Falsity, Scienter                       exception
       168           8/9/2018



                                  TESLA_LITTLETON_0000 Email from Elon Musk to Board of Directors                          Fwd:                               All Defendans, Teller, Elon Musk, Robyn              F                  Waiver. Defendants
                                  0275                                                                                                                        Polhemus / Foundation, Denholm, Antonio                                 include this exhibit on
                                                                                                                                                              Falsity, Scienter      Gracias/Falsity, Scienter                        their exhibit list.
       170           8/14/2018




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                                                          New York Times article: "Elon Musk Details 'Excruciating'                                                                 Elon Musk, Dave Arnold, A, F, H, K, R, P     Waiver. Defendants
                                                          Personal Toll of Tesla Turmoil."                                                                                          Deepak Ahuja, Anotnio                        include this exhibit on
                                                                                                                                                                                    Gracias, Robyn Denholm,                      their exhibit list.
       171           8/16/2018                                                                                                                                                      Sam Teller/Falsity,
                                                                                                                                                                                    Scienter



                                  TESLA_LITTLETON_0001 Email from Erica Chen (Tesla) to Dave Arnold re Associated                                                                   Dave Arnold/Falsity,      H, R, F, B, I, P   Business records
                                  0621-10622           Press article on Tesla Board independence                                                                                    Scienter                                     exception
       172           8/20/2018



                                  TESLA_LITTLETON_0001 Email from Elon Musk to Board of Directors                        Fwd: Coverage: Morgan Stanley     All Defendants,       Eln Musk, Antonio       F                       Waiver. Defendants
                                  9954                                                                                   removes Tesla stock rating        Polhemus / Foundation Gracias, Robyn Denholm,                         include this exhibit on
                                                                                                                                                                                 Dave Arnold/Falsity,                            their exhibit list.
       173           8/21/2018
                                                                                                                                                                                 Scienter


                                  SL_SEC00001711/SEC-     Spreadsheet of text messages                                                                     Durban, Foundation       Egon Durban/Falsity,      F                  Waiver. Defendants
                                  EPROD000014917-54                                                                                                                                 Scienter                                     include this exhibit on
                     8/8/2018 -                                                                                                                                                                                                  their exhibit list.
       174           8/17/2018


                                  SL_3P00001712           Egon Durban's handwritten notes from August 6 meeting with                                       Durban, Foundation,      Egon Durban/Falsity,      F                  Waiver. Defendants
                                                          Elon Musk                                                                                        Falsity, Scienter        Scienter                                     include this exhibit on
                                                                                                                                                                                                                                 their exhibit list.
       175           8/6/2018



                                  SEC-EPROD-000016522- SEC Deposition Transcript of Egon Durban                                                                                     Egon Durban/Falsity,      F, H, R, P         F.R.E. 803(5); F.R.E.
                                  016693                                                                                                                                            Scienter                                     803(3)
       176           9/12/2018



                                  SL_3P00000036           Email from Kyle Paster to Egon Durban                          FW: Elon Musk Tweet               Durban/ Falsity          Egon Durban/Falsity,      F                  Witness authenticates
                                                                                                                                                                                    Scienter
       177           8/7/2018



                                                          Silver Lake Press Release: Silver Lake Completes $15 Billion                                                              Egon Durban/Falsity,      R, P               Witness authenticates
                                                          Fundraise                                                                                                                 Scienter
       178           4/18/2017



                                  SL_3P00000001-35        Project Turbo Discussion Materials                                                               Durban, E. Musk /        Egon Durban/Falsity,      F                  Waiver. Defendants
                                                                                                                                                           Foundation, Falsity,     Scienter                                     include this exhibit on
                                                                                                                                                           Scienter                                                              their exhibit list.
       179           8/10/2018



                                  SL_3P00001713           Egon Durban's handwritten notes from August 10 meeting with                                      Durban / Foundation,     Egon Durban/Falsity,      F, R               Waiver. Defendants
                                                          Elon Musk                                                                                        Falsity, Scienter        Scienter                                     include this exhibit on
                                                                                                                                                                                                                                 their exhibit list.
       180           8/10/2018



                                  SL_3P00000049-137       Email from Egon Durban to Elon Musk                            Fwd: Dell Proxy Background        E. Musk, Durban/ Falsity, Egon Durban, Elon        F                  Waiver. Defendants
                                                                                                                         Sections                          Scienter                  Musk/Falsity, Scienter                      include this exhibit on
                                                                                                                                                                                                                                 their exhibit list.
       181           8/12/2018




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                                   SEC-EPROD-000011315 Spreadsheet of E. Durban text messages                                                              Durban, Dees, Teller, E.   Egon Durban/Falsity,       F      Waiver. Defendants
                                                                                                                                                           Musk / Foundation,         Scienter                          include this exhibit on
                     8/14/2018 -                                                                                                                           Falsity, Scienter                                            their exhibit list.
       182            8/17/2018


                                   SL_3P00000247-48      Email from Mark Kim to Sam Teller                            FW: Follow Up on Our Discussions Teller, Denholm, Buss,         Egon Durban, Sam           F      Waiver. Defendants
                                                                                                                                                       Rice / Foundation,             Teller/Falsity, Scienter          include this exhibit on
                                                                                                                                                       Falsity, Scienter                                                their exhibit list.
       184           8/14/2018



                                   SL_3P00000261-62      Email from Egon Durban to Steven Rosenblum                   Re: Few quick ones                   Telller, E. Musk, Durban, Egon Durban, Elon Musk, F          Waiver. Defendants
                                                                                                                                                           Dees / Foundation,        Sam Teller/Falsity,                include this exhibit on
                                                                                                                                                           Falsity, Scienter         Scienter                           their exhibit list.
       185           8/14/2018



                                   SL_3P00000175-86      Email from Michael Cohn to Elon Musk with attached Project   Project Titanium Materials           E. Musk, Teller, Dees,     Egon Durban, Elon Musk, F         Waiver. Defendants
                                                         Titanium Discussion Materials                                                                     Durban / Foundation,       Sam Teller/Falsity,               include this exhibit on
                                                                                                                                                           Falsity, Scienter          Scienter                          their exhibit list.
       186           8/14/2018



                                   SL_3P00000266-68      Email from Kyle Paster to Dan Dees                           RE: turbo                            Durban, Dees /             Egon Durban/Falsity,       F      Waiver. Defendants
                                                                                                                                                           Foundation, Falsity,       Scienter                          include this exhibit on
                                                                                                                                                           Scienter                                                     their exhibit list.
       188           8/14/2018



                                   SL_3P00000221-24      Email from Elon Musk to Egon Durban                          Re: Communications                   E. Musk, Durban, Dees,                                                                 F, K, H          FRE 803(3);
                                                                                                                                                           Teller / Foundation,                                                                                    business records
                                                                                                                                                           Falsity, Scienter                                                                                       exception
       189           8/15/2018



                                   SL_3P00001714         Handwritten Notes                                                                                 Durban / Foundation,       Egon Durban/Falsity,       F      Waiver. Defendants
                                                                                                                                                           Falsity, Scienter          Scienter                          include this exhibit on
                                                                                                                                                                                                                        their exhibit list.
       190           8/15/2018



                                   SL_3P00001715         Handwritten Notes                                                                                 Durban / Foundation,       Egon Durban/Falsity,       F      Waiver. Defendants
                                                                                                                                                           Falsity, Scienter          Scienter                          include this exhibit on
                                                                                                                                                                                                                        their exhibit list.
       191            Undated



                                   SL_3P00001301-08      Email from John Suo to Kyle Paster                           RE: So doesn't go to "Jesse" or      Durban, Dees /                                                                         F, K, H, R,      Business records
                                                                                                                      "Gary". Thx                          Foundation, Falsity,                                                                                    exception; Fre
                                                                                                                                                           Scienter                                                                                                803(3)
       192           8/15/2018



                                   SL_3P00000936-37      Email from Karen King to Egon Durban                         Privileged : Draft Joint Statement   Durban, Dees /             Egon Durban/Falsity,       F      Waiver. Defendants
                                                                                                                                                           Foundation, Falsity,       Scienter                          include this exhibit on
                                                                                                                                                           Scienter                                                     their exhibit list.
       193           8/16/2018



                                   SL_3P00000306         Email from Egon Durban to Steven Rosenblum                   Follow-uo for Special Committee      Durban, E. Musk, Dees / Egon Durban/Falsity,          F      Waiver. Defendants
                                                                                                                      Counsel                              Foundation, Falsity,    Scienter                             include this exhibit on
                                                                                                                                                           Scienter                                                     their exhibit list.
       194           8/16/2018




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                                 SL_3P00000320-322       Email from Steven Rosenblum to Samuel Britton                  RE: Talking points - confidential   Dees, Durban /           Egon Durban, Dan            F                  Waiver. Defendants
                                                                                                                                                            Foundation, Falsity,     Dees/Falsity, Scienter                         include this exhibit on
                                                                                                                                                            Scienter                                                                their exhibit list.
       196           8/16/2018



                                 SL_3P00000326-          Email from Egon Durban to Sam Teller; Cc: Dan Dees; Sam                                                                     Egon Durban, Sam            F, R               Business records
                                 SL_3P00000327           Britton (GS) re waiting on update                                                                                           Teller/Falsity, Scienter                       exception
       197           8/17/2018



                                 SL_3P00000945           Email from Gordon Goldstein (SL) to Egon Durban with link to                                                                Egon Durban/Falsity,        A, F, H, K, R, P   Business records
                                                         NYTimes article: Elon Musk Confronts a Fateful Tweet and an                                                                 Scienter                                       exception
                                                         'Excruciating' Year
       198           8/17/2018



                                 SEC-EPROD-000009934- Email from Mark Kim to Steven Rosenblum                           RE: Talking points - confidential   Dees, Durban /           Egon Durban, Dan            F                  Waiver. Defendants
                                 37                                                                                                                         Foundation, Falsity,     Dees/Falsity, Scienter                         include this exhibit on
                                                                                                                                                            Scienter                                                                their exhibit list.
       199           8/17/2018



                                 TESLA_LITTLETON_0000 Project Titanium Discussion Materials                                                                 All Defendants, Durban, Egon Durban, Dan             F                  Waiver. Defendants
                                 6169-38                                                                                                                    Dees, Ahuja /           Dees/Falsity, Scienter                          include this exhibit on
                                                                                                                                                            Foundation, Falsity,                                                    their exhibit list.
       201           8/23/2018
                                                                                                                                                            Scienter


                                 TESLA_LITTLETON_0000 Email from Aaron Chew to John Murphy (BAML); Martin Viecha                                                                     Aaron Chew, Martin                             Business records
                                 3978                 RE: Tweet --@elonmusk -Am considering taking Tesla private at                                                                  Viecha/Falsity, Scienter,                      exception
                                                      $420. Funding secured.                                                                                                         Materiality
       203           8/8/2018



                                 TESLA_LITTLETON_0000 Email from Ilene Taylor (Nasdaq) to Aaron Chew re Elon tweets                                                                  Aaron Chew/Falsity,         F, R, P, H         Business records
                                 6615-6616            / trading halt                                                                                                                 Scienter                                       exception
       204           8/7/2018



                                 TESLA_LITTLETON_0000 Email from Aaron Chew to Martin Viecha, Re: Lets hold off on                                                                   Aaron Chew, Martin          F, R, P, H         Business records
                                 4179                 any comment til after the close...                                                                                             Viecha/Falsity, Scienter                       exception
       205           8/7/2018



                                 SEC-EPROD-000000422- Email from Aaron Chew to Essen Ali                                Re: Did I miss your call?           Chew, Viecha /           Aaron Chew, Martin          F, R, L            Waiver. Defendants
                                 24                                                                                                                         Foundation               Viecha/Falsity, Scienter                       include this exhibit on
                                                                                                                                                                                                                                    their exhibit list.
       209           8/8/2018



                                 TESLA_LITTLETON_0001 Email from Aaron Chew to Martin Viecha                            RE: Major investor inquires         Chew, Viecha, Arnold,    Aaron Chew, Martin          F                  Waiver. Defendants
                                 8259-60                                                                                                                    Ahuja / Foundation,      Viecha, Dave Arnold,                           include this exhibit on
                                                                                                                                                            Falsity, Scienter,       Deepak Ahuja/Falsity,                          their exhibit list.
       210           8/7/2018
                                                                                                                                                            Materiality, Causation   Scienter


                                 TESLA_LITTLETON_0001 Email from Aaron Chew to George Galliers (Evercore ISI), Re:                                                                   Aaron Chew/Falsity,         F, P, H, L
                                 4962-14963           Timings                                                                                                                        Scienter
       214           8/8/2018




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                                 TESLA_LITTLETON_0000 Email from Aaron Chew to Deepak Ahuja                             RE: Investor Feedback            Chew, Ahuja /            Aaron Chew, Martin         F             Waiver. Defendants
                                 4621-23                                                                                                                 Foundation               Viecha/Falsity, Scienter                 include this exhibit on
                                                                                                                                                                                                                           their exhibit list.
       215           8/8/2018



                                 TESLA_LITTLETON_0001 Email from Aaron Chew to Deepak Ahuja; Martin Viecha; Cc:                                                                   Aaron Chew, Deepak         P, H          Business records
                                 8378                 Todd Maron; Philip Rothenberg; Dave Arnold, Re: Investor                                                                    Ahuja, Martin                            exception
                                                      Feedback on Next Steps. 8.8.2018 at 7:22 pm/ 8.9.2019 at 2:22                                                               Viecha/Falsity, Scienter
       216           8/8/2018
                                                      am UTC


                                 TESLA_LITTLETON_0000 Letter from Nasdaq to Aaron Chew                                                                                            Aaron Chew/Falsity,        P, H          Waiver. Defendants
                                 6594-6595                                                                                                                                        Scienter                                 include this exhibit on
                                                                                                                                                                                                                           their exhibit list.
       218           8/15/2018



                               TESLA_LITTLETON_0001 Email from Catherine Wood (ARK Invest) to Aaron Chew, Re:                                                                     Aaron Chew/Falsity,        F, H          Business records
                               9450-19454           Dear Elon: An Open Letter Against Taking Tesla Private. Aaron                                                                 Scienter                                 exception
                                                    Chew forwarded it to EMDesk; Cc: Deepak Ahuja; Todd Maron;
       221           8/22/2018
                                                    Martin Viecha


                                 TESLA_LITTLETON_0001 Email from Aaron Chew to Antonio Gracias' Martin Viecha, Re:                                                                Aaron Chew, Antonio        P, H          Business records
                                 8029-18030           TRowe call                                                                                                                  Gracias, Martin                          exception
                                                                                                                                                                                  Viecha/Falsity, Scienter
       222           8/27/2018



                                 N/A                    Financial Times article, Saudi Arabia's sovereign fund builds                                    All witnesses /          Elon Musk, Deepak         A,F, H, K, R   Waiver. Defendants
                                                        $2bn Tesla stake                                                                                 Foundation, Falsity,     Ahuja, Sam Teller, Martin                include this exhibit on
                                                                                                                                                         Scienter, Materiality,   Viecha, Dave                             their exhibit list.
       225           8/7/2018
                                                                                                                                                         Reliance, Causation      Arnold/Falsity, Scienter


                                 TESLA_LITTLETON_0000 Tesla Blog: Staying Public                                                                         E. Musk / Foundation,    Elon Musk, Deepak          F             Waiver. Defendants
                                 7163-64                                                                                                                 Falsity, Scienter,       Ahuja, Sam Teller,                       include this exhibit on
                                                                                                                                                         Reliance, Causation      Antonio Gracias, Robyn                   their exhibit list.
       229           8/24/2018                                                                                                                                                    Denholm, Martin
                                                                                                                                                                                  Viecha/Falsity, Scienter



                                 SEC-EPROD-000009127 Email from Brian Dong to Dan Dees                                  RE: Saudi Arabia’s sovereign     Dees / Foundation        Dan Dees/Falisty,          F             Waiver. Defendants
                                                                                                                        wealth fund builds $2bn Tesla                             Scienter                                 include this exhibit on
                                                                                                                        stake                                                                                              their exhibit list.
       231           8/14/2018



                                 N/A                    Press Release - "Tesla Announces $500 Million Common Stock                                       E. Musk / Foundation     Dan Dees, Elon Musk        F             Waiver. Defendants
                                                        Offering"                                                                                                                 /Falisty, Scienter                       include this exhibit on
                                                                                                                                                                                                                           their exhibit list.
       232           8/13/2015



                                 N/A                    Press Release - "Tesla Announces Offerings of Common Stock                                       All Defendants /                                                                            F, K, H, R,      Business records
                                                        and Convertible Senior Notes"                                                                    Foundation                                                                                                   exception
       233           3/15/2017



                                 SEC-EPROD-000005553 Email from Dan Dees to Pete Lyon                                   RE: Saudi Arabia’s sovereign     Dees / Foundation,       Dan Dees/Falisty,          F             Waiver. Defendants
                                                                                                                        wealth fund builds $2bn Tesla    Falsity, Scienter        Scienter                                 include this exhibit on
                                                                                                                        stake                                                                                              their exhibit list.
       234           8/7/2018




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                                SEC-EPROD-000006065 Email from Stuart Wrigley to Dan Dees                             RE: i see the news on the tape       Dees / Foundation,     Dan Dees/Falisty,      F               Waiver. Defendants
                                                                                                                      about tesla and the saudi            Falsity, Scienter      Scienter                               include this exhibit on
                                                                                                                      investment....                                                                                     their exhibit list.
       235           8/7/2018



                                SEC-EPROD-000005855 Email from Dan Dees to Elon Musk                                  exciting news from you today!        Dees, E. Musk /        Dan Dees, Elon Musk    F               Waiver. Defendants
                                                                                                                                                           Foundation, Falsity,   /Falisty, Scienter                     include this exhibit on
                                                                                                                                                           Scienter                                                      their exhibit list.
       236           8/7/2018



                                SEC-EPROD-000005437 Email from Michael Cohn to Dan Dees                               RE: also, i still want to see the  Dees / Foundation        Dan Dees/Falisty,      F               Waiver. Defendants
                                                                                                                      numbers on their ebitda....with                             Scienter                               include this exhibit on
                                                                                                                      and without sbc, valuation at 420,                                                                 their exhibit list.
       237           8/7/2018
                                                                                                                      etc


                                SEC-EPROD-000005436 Email from Dan Dees to Chris Buddin                               FW: really exciting day for tesla!   Dees, E. Musk /        Dan Dees/Falisty,      F               Waiver. Defendants
                                                                                                                                                           Foundation, Falsity,   Scienter                               include this exhibit on
                                                                                                                                                           Scienter                                                      their exhibit list.
       238           8/8/2018



                                SEC-EPROD-000005670 - Email from Kurt Tenenbaum to Dan Dees                           RE: TSLA                             Dees / Foundation,     Dan Dees/Falisty,      F               Waiver. Defendants
                                71                                                                                                                         Falsity, Scienter.     Scienter                               include this exhibit on
                                                                                                                                                           Reliance, Causation                                           their exhibit list.
       239           8/7/2018



                                SEC-EPROD-000006075 Email from Dan Dees to Marc Nachmann                              RE: posted lemkau live on tesla      Dees / Foundation      Dan Dees/Falisty,      F               Waiver. Defendants
                                                                                                                                                                                  Scienter                               include this exhibit on
                                                                                                                                                                                                                         their exhibit list.
       240           8/7/2018



                                SEC-EPROD-000005679 - Email from Brian Dong to Dan Dees                               FW: Tesla | Summary Materials        Dees/ Foundation       Dan Dees/Falisty,      F               Waiver. Defendants
                                85                                                                                                                                                Scienter                               include this exhibit on
                                                                                                                                                                                                                         their exhibit list.
       241           8/7/2018



                                SEC-EPROD-000005724 Email from Dan Dees to Pawan Tewari (GS), Re: are u still close                                                               Dan Dees/Falisty,      R, H, P         Business records
                                                    with robyn denholm?                                                                                                           Scienter                               exception
       242           8/8/2018



                                SEC-EPROD-000006039 Email from Dan Dees to Elon Musk                                  RE: really exciting day for tesla!   Dees, E. Musk /        Dan Dees, Elon Musk    F               Waiver. Defendants
                                                                                                                                                           Foundation, Falsity,   /Falisty, Scienter                     include this exhibit on
                                                                                                                                                           Scienter                                                      their exhibit list.
       243           8/8/2018



                                SEC-EPROD-000005533 Email from Dan Dees to Kurt Tenenbaum                             re: Kurt’s call with Shane                                  Dan Dees/Falsity,      F, R, H, P      Business records
                                                                                                                                                                                  Scienter                               exception
       244           8/8/2018



                                SEC-EPROD-000008373 Email from Dan Dees to Dan Dees, Re: To Do list                                                                               Dan Dees/Falisty,      F, R, H, P, B   Business records
                                                                                                                                                                                  Scienter                               exception
       245           8/8/2018




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                                                                                                                                                    Purpose at Trial           at Trial                                                                      Objections
                                 SEC-EPROD-000005419 Email from Dan Dees to Brian Dong                       RE: Tesla - topics for discussion   Dees / Foundation      Dan Dees/Falisty,         F            Waiver. Defendants
                                                                                                                                                                        Scienter                               include this exhibit on
                                                                                                                                                                                                               their exhibit list.
       246           8/8/2018



                                 SEC-EPROD-000005493 Email from Dan Dees to Gregg Lemkau (GS) and other GS                                                              Dan Dees/Falisty,         F, R, H, P   Business records
                                                     people re where was the funding coming from                                                                        Scienter                               exception
       247           8/8/2018



                                 SEC-EPROD-000005418 Email from Dan Dees to Sam Britton                      FW: Just tried your cell            Dees, E. Musk /        Dan Dees/Falisty,         F            Waiver. Defendants
                                                                                                                                                 Foundation             Scienter                               include this exhibit on
                                                                                                                                                                                                               their exhibit list.
       248           8/9/2018



                                 SEC-EPROD-000005417 Email from Brian Dong to Dan Dees                       Tesla structuring discussion        Dees / Foundation      Dan Dees/Falsity,         F            Waiver. Defendants
                                                                                                                                                                        Scienter                               include this exhibit on
                                                                                                                                                                                                               their exhibit list.
       249           8/9/2018



                                 SEC-EPROD-000005414 Email from Dan Dees to Sam Britton                      RE: 2 questions                     E. Musk, Dees /                                                                         F, K, H          FRE 803(3);
                                                                                                                                                 Foundation                                                                                               business records
                                                                                                                                                                                                                                                          exception
       250           8/9/2018



                                 SEC-EPROD-000005506 Email from Sam Birtton to Dan Dees                      RE: 2 questions                     Dees, E. Musk /                                                                         F, K, H          FRE 803(3);
                                                                                                                                                 Foundation                                                                                               business records
                                                                                                                                                                                                                                                          exception
       251           8/9/2018



                                 SEC-EPROD-000005402- Email from Jonathan Armstrong to David Ludwig          RE: Additional questions            Dees/ Foundation,      Dan Dees/Falisty,         F            Waiver. Defendants
                                 03                                                                                                              Falsity, Scienter      Scienter                               include this exhibit on
                                                                                                                                                                                                               their exhibit list.
       252           8/10/2018



                                 SEC-EPROD-000005396 Email from Brian Dong to Dan Dees                       RE: Please give me a detailed recap Dees/ Foundation,      Dan Dees/Falisty,         F            Waiver. Defendants
                                                                                                             of the call                         Falsity, Scienter      Scienter                               include this exhibit on
                                                                                                                                                                                                               their exhibit list.
       253           8/10/2018



                                 SEC-EPROD-000006255- Email from Jess Bell-Allen to Dan Dees                 Titanium Take Private Discussion    Dees/ Foundation,      Dan Dees/Falisty,         F            Waiver. Defendants
                                 65                                                                          Materials                           Falsity, Scienter      Scienter                               include this exhibit on
                                                                                                                                                                                                               their exhibit list.
       254           8/10/2018



                                 SEC-EPROD-000006103 Email from Brian Dong to Deepak Ahuja                   Project                             Ahuja, Dees /          Dan Dees, Deepak          F            Waiver. Defendants
                                                                                                                                                 Foundation             Ahuja/Falisty, Scienter                include this exhibit on
                                                                                                                                                                                                               their exhibit list.
       255           8/10/2018



                                 SEC-EPROD-000005388- Email from Dan Dees to Sam Britton                     FW: Good to see u yesterday         Dees, E. Musk /        Dan Dees/Falisty,         F            Waiver. Defendants
                                 89                                                                                                              Foundation, Falsity,   Scienter                               include this exhibit on
                                                                                                                                                 Scienter                                                      their exhibit list.
       256           8/11/2018




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                                 SEC-EPROD-000005802 Email from Gregg Lemkau to John Waldron      T                                Dees / Foundation       Dan Dees/Falisty,     F              Waiver. Defendants
                                                                                                                                                           Scienter                             include this exhibit on
                                                                                                                                                                                                their exhibit list.
       257           8/13/2018



                                 SEC-EPROD-000006005- Email from John Waldron to Gregg Lemkau     Re: Call                         Dees / Foundation                                                                      F, K, H          FRE 803(3);
                                 06                                                                                                                                                                                                        business records
                                                                                                                                                                                                                                           exception
       258           8/14/2018



                                 SEC-EPROD-000005327- Email from Dan Dees to Michael Cohn         RE: turbo                        Dees / Durban /         Dan Dees/Falisty,     F              Waiver. Defendants
                                 30                                                                                                Foundation              Scienter                             include this exhibit on
                                                                                                                                                                                                their exhibit list.
       259           8/14/2018



                                 SEC-EPROD-000005356- Email from Dan Dees to Sam Britton          RE: Tesla                        Dees / Foundation       Dan Dees/Falisty,     F              Waiver. Defendants
                                 57                                                                                                                        Scienter                             include this exhibit on
                                                                                                                                                                                                their exhibit list.
       260           8/14/2018



                                 SEC-EPROD-000005351 Email from Dan Dees to Gregg Lemkau          FW:                              Dees, E. Musk /         Dan Dees, Elon Musk   F              Waiver. Defendants
                                                                                                                                   Foundation              /Falisty, Scienter                   include this exhibit on
                                                                                                                                                                                                their exhibit list.
       261           8/14/2018



                                 SEC-EPROD-000008145- Email from Michael Cohn to Brian Dong       RE: turbo                        Dees, Durban /          Dan Dees/Falsity,     F              Waiver. Defendants
                                 51                                                                                                Foundation, Falsity,    Scienter                             include this exhibit on
                                                                                                                                   Scienter                                                     their exhibit list.
       262           8/14/2018



                                 SEC-EPROD-000005349 Email from Gregg Lemkau to Sam Britton       Re: Sources of Capital           Dees, Durban /          Dan Dees/Falisty,     F              Waiver. Defendants
                                                                                                                                   Foundation              Scienter                             include this exhibit on
                                                                                                                                                                                                their exhibit list.
       263           8/14/2018



                                 SEC-EPROD-000007681 Email from Dan Dees to Michael Cohn          Have u guys coordinated on the   Dees/ Foundation                                                                       F, K, H          FRE 803(3);
                                                                                                  pages with Kyle?                                                                                                                         business records
                                                                                                                                                                                                                                           exception
       264           8/15/2018



                                 SEC-EPROD-000005826- Email from Dan Dees to Orbit Drive          FW: Titanium materials           Dees / Foundation,      Dan Dees/Falisty,     F              Waiver. Defendants
                                 37                                                                                                Falsity, Scienter       Scienter                             include this exhibit on
                                                                                                                                                                                                their exhibit list.
       265           8/15/2018



                                 SEC-EPROD-000009448 Email from Kurt Tenenbaum to Dan Dees        Titanium - SLP Post              Dees, E. Musk /         Dan Dees/Falisty,     F              Waiver. Defendants
                                                                                                                                   Foundation              Scienter                             include this exhibit on
                                                                                                                                                                                                their exhibit list.
       266           8/17/2018



                                 MS_TESLA0001065-66     Email from Rick Polhemus to Jon Neuhaus   Re: Wonder if/next steps.        Polhemus / Foundation                                                                  F, K, H          FRE 803(3);
                                                                                                                                                                                                                                           business records
                                                                                                                                                                                                                                           exception
       267           8/7/2018




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                                 MS_TESLA0001359      Email from Rick Polhemus (MS) to William Dotson (MS) Re:                                                             Rick Polhemus/Falsity,   R, H, P, K      Business records
                                                      rundown of today’s conversations                                                                                     Scienter                                 exception
       268           8/7/2018



                                 MS_TESLA0000724      Email from William Dotson (MS) to Franck Petitgas Re:                                                                Rick                     F, K, H         Business records
                                                      Screenshot 2018-08-08 at 11.43.40                                                                                    Polhemus/Materiality                     exception
       269           8/8/2018



                                 MS_TESLA0001132      Email from Rick Polhemus to Daniel Ewell                   Re: Telsa                        Polhemus / Foundation, Rick Polhemus/Falsity,     F               Waiver. Defendants
                                                                                                                                                  Falsity, Scienter      Scienter                                   include this exhibit on
                                                                                                                                                                                                                    their exhibit list.
       270           8/8/2018



                                 MS_TESLA0001351-53   Email from Rick Polhemus to Jon Neuhaus                    Re: Wonder if/next steps.        Polhemus / Foundation                                                                       F, K, H          FRE 803(3);
                                                                                                                                                                                                                                                               business records
                                                                                                                                                                                                                                                               exception
       271           8/8/2018



                                 MS_TESLA0000902-     Email from Rick Polhemus (MS) to Thomas Miles (MS) re                                                                Rick Polhemus/Falsity,   F, R, H, P, K   Business records
                                 MS_TESLA0000903      “whole thing is in its infancy”                                                                                      Scienter                                 exception
       272           8/8/2018



                                 MS_TESLA00000954     Email from Robert Lariviere to Rick Polhemus               Re: quick update on Tesla        Polhemus / Foundation Rick Polhemus/Falsity,      F               Waiver. Defendants
                                                                                                                                                                        Scienter                                    include this exhibit on
                                                                                                                                                                                                                    their exhibit list.
       273           8/9/2010



                                 MS_TESLA0000732-33   Email from William Dotson to Rick Polhemus                 Re: Catch up                     Polhemus / Foundation                                                                       F, K, H          FRE 803(3);
                                                                                                                                                                                                                                                               business records
                                                                                                                                                                                                                                                               exception
       274           8/10/2018



                                 MS_TESLA0000489      Email from Rick Polhemus to Leslie Bazos                   RE: Email from James to Elon musk Polhemus / Foundation                                                                      F, K, H, R,      FRE 803(3);
                                                                                                                                                                                                                                                               business records
                                                                                                                                                                                                                                                               exception
       275           8/10/2018



                                 MS_TESLA0000116      Email from Elon Musk to James Gorman                       Re:                              E. Musk / Foundation,    Rick Polhemus, Elon      F               Waiver. Defendants
                                                                                                                                                  Falsity, Scienter        Musk/Falsity, Scienter                   include this exhibit on
                                                                                                                                                                                                                    their exhibit list.
       276           8/14/2018



                                 MS_TESLA0000800-02   Email from Franck Petitgas to Rick Polhemus                Re: Tesla update                 Polhemus / Foundation,                                                                      F, K, H, R,      Not offered for
                                                                                                                                                  Falsity, Scienter,                                                                                           truth; business
                                                                                                                                                  Reliance, Causation                                                                                          records
       277           8/12/2018
                                                                                                                                                                                                                                                               exception; FRE
                                                                                                                                                                                                                                                               803(3)

                                 MS_TESLA0000593-96   Email from Brian Healy to Rick Polhemus                    RE: Tesla update                 Polhemus / Foundation, Rick Polhemus/Falsity,     F               Waiver. Defendants
                                                                                                                                                  Falsity, Scienter,     Scienter                                   include this exhibit on
                                                                                                                                                  Reliance, Causation                                               their exhibit list.
       278           8/13/2018




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                                 MS_TESLA0000966-67     Email from Rick Polhemus to Regina Savage                        RE: Tesla rumors                   Polhemus / Foundation, Rick Polhemus/Falsity,    F, H, K, R, P   Waiver. Defendants
                                                                                                                                                            Falsity, Scienter      Scienter, Materiality                     include this exhibit on
                                                                                                                                                                                                                             their exhibit list.
       279           8/13/2018



                                 MS_TESLA0001271-       Email reply from Regina Savage (MS) to Rick Polhemus (MS) re                                                                Rick Polhemus/Falsity,   F, R, H, P, K   Business records
                                 MS_TESLA0001273        blog post                                                                                                                   Scienter                                 exception
       280           8/13/2018



                                 MS_TESLA0000619        Email from Mike Wyatt to Rick Polhemus                           RE: Tesla - Confidential           Polhemus, E. Musk /     Rick Polhemus/Falsity,   F               Waiver. Defendants
                                                                                                                                                            Foundation              Scienter                                 include this exhibit on
                                                                                                                                                                                                                             their exhibit list.
       281           8/15/2018



                                 MS_TESLA0001330        Briefing Memo: Tesla/Elon Musk - Telephone call between                                             Polhemus, E. Musk /     Rick Polhemus/Falsity,   F               Waiver. Defendants
                                                        James, Mark and Elon to discuss Elon's proposed transaction of                                      Foundation              Scienter                                 include this exhibit on
                                                        taking Tesla Private                                                                                                                                                 their exhibit list.
       282           8/15/2018



                                 MS_TESLA0000477-78     Email from William Dotson to Rick Polhemus                       Re: Tesla - update call with Sam   Polhemus, Teller /      Rick Polhemus/Falsity,   F               Waiver. Defendants
                                                                                                                                                            Foundation              Scienter                                 include this exhibit on
                                                                                                                                                                                                                             their exhibit list.
       283           8/16/2018



                                 MS_TESLA0000681        Email from Rick Polhemus to Franck Petitgas                      RE: Tesla Whipsaws Investors on    Polhemus/ Falsity       Rick Polhemus/Falsity,   F, K, H         Waiver. Defendants
                                                                                                                         Doubts Musk Has Funds to Go                                Scienter                                 include this exhibit on
                                                                                                                         Private                                                                                             their exhibit list.
       284           8/20/2018



                                                        Bloomberg article: "Tesla Whipsaws Investors on Doubts Musk                                                                 Rick Polhemus, Elon      A, F, H, K, R   Not offered for
                                                        Has Funds to Go Private"                                                                                                    Musk, Dave Arnold,                       truth/effect on listener
                                                                                                                                                                                    Martin Viecha/Falsity,
       285           8/20/2018
                                                                                                                                                                                    Scienter


                                 MS_TESLA0000445-       Email from Rick Polhemus to MS team re pencils go down.                                                                     Rick Polhemus/Falsity,   F               Business records
                                 MS_TESLA0000446                                                                                                                                    Scienter                                 exception
       287           8/26/2018



                                 N/A                    Press Release - "Tesla Announces Formation of Special                                               All Defendants /        Robyn Denholm/Falsity, F                 Waiver. Defendants
                                                        Committee to Evaluate Potential Going Private Transaction"                                          Foundation, Falsity,    Scienter                                 include this exhibit on
                                                                                                                                                            Scienter                                                         their exhibit list.
       289           8/14/2018



                                 TESLA_LITTLETON_0001 Email from Mark Gerstein to Linda Rice                             FW: Structure outline              Rice, Denholm, Buss /   Robyn Denholm/Falsity, F                 Waiver. Defendants
                                 9958-59                                                                                                                    Foundation, Falsity,    Scienter                                 include this exhibit on
                                                                                                                                                            Scienter                                                         their exhibit list.
       293           8/20/2018



                                 TESLA_LITTLETON_0001 Presentation - "Project Titanium"                                                                     Rice, Denholm, Buss /   Robyn Denholm/Falsity, F                 Waiver. Defendants
                                 9960-65                                                                                                                    Foundation, Falsity,    Scienter                                 include this exhibit on
                                                                                                                                                            Scienter                                                         their exhibit list.
       294           8/20/2018




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                                 BOARD-BWB_000001        Handwritten Notes                                                                                  Buss / Foundation,                                                                                   A, F, K, H, R,   Present sense
                                                                                                                                                            Falsity, Scienter                                                                                                     impression
       295           Undated



                                 SPACEX_LITTLETON_000 Email from Kamran Mumtaz to Deepak Ahuja                         Reuters, Tesla short sellers $2       Ahuja/ Falsity, Scienter                                                                            F, K, H, R,      Business records
                                 00133                                                                                 billion in the red for June as shares                                                                                                                      exception
                                                                                                                       soar
       297           6/12/2018



                                 TESLA_LITTLETON_0001 Email from Dave Arnold to Deepak Ahuja                           RE: FT article re: Saudi Investment Arnold, Ahuja, Viecha,       Dave Arnold, Deepak         F                  Waiver. Defendants
                                 8287                                                                                  in Tesla                            Teller / Foundation,         Ahuja, Martin                                  include this exhibit on
                                                                                                                                                           Falsity, Scienter,           Viecha/Falsity, Scienter                       their exhibit list.
       298           8/7/2018
                                                                                                                                                           Reliance, Causation


                                 TESLA_LITTLETON_0001 Email from Dave Arnold to Melissa Rocha (Tesla), Re: Media                                                                        Dave Arnold/Falsity,        H, R, F, B, I, P   Business records
                                 3639                 who have contacted me thus far                                                                                                    Scienter                                       exception
       299           8/7/2018



                                 TESLA_LITTLETON_0001 Email from Dave Arnold to Erica Chen (Tesla), Re: Coverage on                                                                     Dave Arnold/Falsity,        H, R, F, B, I, P   Business records
                                 3628-13631           Elon's tweet                                                                                                                      Scienter                                       exception
       300           8/7/2018



                                 TESLA_LITTLETON_0001 Email from Dave Arnold to Aaron Chew; Minji (Kimberly) Go                                                                         Dave Arnold/Falsity,        H, R, F, B, I, P   Business records
                                 8995-18997           (Tesla); Cc: Philip Rothenberg, Re: blog post [includes Draft                                                                     Scienter                                       exception
                                                      Email from Elon Musk to Tesla employees]
       301           8/7/2018



                                 TESLA_LITTLETON_0001 Email from Dave Arnold to Martin Viecha                          RE: Major investor inquires          Arnold, Ahuja, Viecha/      Dave Arnold, Deepak         F                  Waiver. Defendants
                                 8261 -62                                                                                                                   Foundation, Falsity,        Ahuja /Falsity, Scienter                       include this exhibit on
                                                                                                                                                            Scienter                                                                   their exhibit list.
       302           8/17/2018



                                 TESLA_LITTLETON_0000 Email from Dave Arnold to ExecStaff, Re: Media Coverage:                                                                          Dave Arnold, Deepak        H, R, F, B, I, P    Business records
                                 5303-5307            Taking Tesla Private tweets                                                                                                       Ahuja, Sam Teller/Falsity,                     exception
                                                                                                                                                                                        Scienter
       303           8/7/2018



                                 TESLA_LITTLETON_0001 Email from Elon Musk to Dave Arnold, Re: Heads up:                                                                                Dave Arnold, Elon           F, R, H            Business records
                                 8913-18915           Bloomberg article re Tesla talks with Softbank [Masayoshi Son]                                                                    Musk/Falsity, Scienter                         exception
                                                      in April 2017
       305           8/8/2018



                                 TESLA_LITTLETON_0001 Email from Dave Arnold to Elon Musk, Re: Heads up:                                                                                Dave Arnold, Elon           H, R, F, D         Business records
                                 8851                 Bloomberg article on SEC inquiry                                                                                                  Musk/Falsity, Scienter                         exception
       306           8/9/2018



                                 TESLA_LITTLETON_0001 Email from Dave Arnold to Sarah O'Brien; Kamran Mumtaz, Re:                                                                       Dave Arnold/Falsity,        H, R, F            Business records
                                 8875                 Is there anything else we need or are missing to be able to                                                                       Scienter                                       exception
                                                      manage this news cycle
       307           8/9/2018




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                                                                                                                                                                Purpose at Trial           at Trial                                                                         Objections
                                 TESLA_LITTLETON_0001 Email from Todd Maron to Philip Rothenberg                           RE: Bloomberg story on Elon       Anrold, Ahuja/Falsity,                                                                     F, K, H          Business records
                                 5641-42                                                                                   seeking wide pool of investors    Scienter                                                                                                    exception
       308           3/10/2018



                                 TESLA_LITTLETON_0001 Email from Sam Teller to Shihana Alazzaz                             Fwd: comment please on story we Teller / Foundation        Sam Teller/Falsity,    F               Waiver. Defendants
                                 5996                                                                                      publishing on Saudi fund....                               Scienter                               include this exhibit on
                                                                                                                                                                                                                             their exhibit list.
       309           8/10/2018



                                 TESLA_LITTLETON_0000 Tesla, Tesla Announces Formation of Special Committee to                                               All Defendants /                                                                           F, K, H          Business records
                                 9332                 Evaluate Potential Going Private Transaction                                                           Foundation, Falsity,                                                                                        exception
                                                                                                                                                             Scienter
       312           8/14/2018



                               TESLA_LITTLETON_0002 Tesla, Inc., Minutes of Special Committee of the Board of                                                Buss, Denholm, Rice /    Robyn Denholm/Falsity, F               Waiver. Defendants
                               0174-79              Directors, August 15, 2018                                                                               Foundation, Falsity,     Scienter                               include this exhibit on
       313           8/15/2018 ***CONFIDENTIAL***                                                                                                            Scienter                                                        their exhibit list.



                                                    Tesla, Inc., Minutes of Special Committee of the Board of                                                Buss, Denholm, Rice /    Robyn Denholm/Falsity, F               Waiver. Defendants
                               TESLA_LITTLETON_0002 Directors, August 16, 2018                                                                               Foundation, Falsity,     Scienter                               include this exhibit on
       314           8/16/2018 0147-49                                                                                                                       Scienter                                                        their exhibit list.
                               ***CONFIDENTIAL***


                               TESLA_LITTLETON_0002 Tesla, Inc., Minutes of Special Committee of the Board of                                                Buss, Denholm, Rice /    Robyn Denholm/Falsity, F               Waiver. Defendants
                               0150                 Directors, August 17, 2018                                                                               Foundation, Falsity,     Scienter                               include this exhibit on
       315           8/17/2018 ***CONFIDENTIAL***                                                                                                            Scienter                                                        their exhibit list.



                               TESLA_LITTLETON_0002 Tesla , Inc., Minutes of Special Committee of the Board of                                               Buss, Denholm, Rice /    Robyn Denholm/Falsity, F               Waiver. Defendants
                               0151-73              Directors                                                                                                Foundation, Falsity,     Scienter                               include this exhibit on
       316           8/18/2018 ***CONFIDENTIAL***                                                                                                            Scienter                                                        their exhibit list.



                               TESLA_LITTLETON_0002 Tesla, Inc., Minutes of Special Committee of the Board of                                                Buss, Denholm, Rice /    Robyn Denholm/Falsity, F               Waiver. Defendants
                               0181***CONFIDENTIAL* Directors, August 21, 2018                                                                               Foundation, Falsity,     Scienter                               include this exhibit on
       317           8/21/2018 **                                                                                                                            Scienter                                                        their exhibit list.



                                 TESLA_LITTLETON_0000 Tesla Motors, Inc. Disclosure Controls and Procedures, dated                                           Director Defendants/     Robyn Denholm, Antonio F               Waiver. Defendants
                                 6293-17              5/20/10 Bates                                                                                          Foundation               Gracias, Elon Musk,                    include this exhibit on
                                                                                                                                                                                      Deepak Ahuja/Falsity,                  their exhibit list.
       318           5/20/2010
                                                                                                                                                                                      Scienter


                                                         Forbes article: "Lucy In The Sky With Ambien: Tesla's Elon Musk                                                              Elon Musk/Falisty,     A, F, H, K, R   Not offered for
                                                         At New Highs"                                                                                                                Scienter                               truth/effect on listener
       319           6/7/2017



                                                         Elon Musk's Tweet re Pedo Guy                                                                                                Elon Musk/Falisty,     F, R, P         Not offered for
                                                                                                                                                                                      Scienter                               truth/effect on listener
       321           7/15/2018




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                                                                                                                                                   Purpose at Trial           at Trial                                                                               Objections
                                  N/A                    Financial Times Article - "Saudi Arabia's sovereign fund builds                        All witnesses /                                                                                  F, K, H          Not offered for
                                                         $2 billion Tesla stake."                                                               Foundation, Falsity,                                                                                              truth/effect on
                                                                                                                                                Scienter                                                                                                          listener
       322           8/7/2018



                                                         Elon Musk's Tweet re Short burn of the century                                                                  Elon Musk/Falisty,        F, R, P            Not offered for
                                                                                                                                                                         Scienter                                     truth/effect on listener
       324           5/4/2018



                                  N/A                    Tweets dated June 17, 2018                                                             All witnesses /          Elon Musk/Falisty,        F, R, P            Waiver. Defendants
                                                                                                                                                Foundation, Falsity,     Scienter                                     include this exhibit on
                                                                                                                                                Scienter                                                              their exhibit list.
       325           6/17/2018



                                  N/A                    Tweets dated July 5, 2018                                                              All witnesses /          Elon Musk/Falisty,        F, R, P            Waiver. Defendants
                                                                                                                                                Foundation, Falsity,     Scienter                                     include this exhibit on
                                                                                                                                                Scienter                                                              their exhibit list.
       326           7/5/2018



                                                         WSJ article: For Tesla's Elon Musk, Twitter Is Sword Against                                                    Michael J.                A, F, H, K, R, P   Not offered for
                                                         Short Sellers                                                                                                   Hartzmark/Materiality                        truth/effect on listener
       327           8/2/2018



                                  BARON_00000053         Email from Ron Baron (Baron Funds) to Elon Musk re earnings                                                     Elon Musk/Falsity,        H, F, P            Business records
                                                         conference call                                                                                                 Scienter                                     exception
       328           8/1/2018



                                  BARON_00000029         Email from Rob Baron (Baron Funds) to Elon Musk re short                                                        Elon Musk/Falsity,        H, F, P            Business records
                                                         sellers                                                                                                         Scienter                                     exception
       329           8/1/2018



                                  SEC-EPROD-000016109- Transcript of SEC deposition of Elon Musk                                                                         Elon Musk/Falsity,        H, F, P, R, IB     F.R.E. 803(5); F.R.E.
                                  016391                                                                                                                                 Scienter                                     803(3)
       330           8/29/2018



                                  TESLA_LITTLETON_0002 Todd Maron text messages                                                                 E. Musk, K. Musk. Teller, Elon Musk, Dave          F                  Waiver. Defendants
                                  0197                                                                                                          Ahuja, Denholm, Viecha, Arnold/Falsity, Scienter                      include this exhibit on
                     8/2/2018 -                                                                                                                 Murdoch / Foundation                                                  their exhibit list.
       331            8/7/2018


                                  N/A                    Bloomberg Article - "Saudi Fund in Talks to Invest in Tesla                            All witnesses /          Elon Musk, Dave Arnold, F                    Waiver. Defendants
                                                         Buyout Deal"                                                                           Foundation, Falsity,     Deepak Ahuja, Sam                            include this exhibit on
                                                                                                                                                Scienter                 Teller/Falsity, Scienter                     their exhibit list.
       332           8/12/2018



                                  TESLA_LITTLETON_0000 Mututal Non-Disclosure Agreement (NDA) between Tesla and                                 E. Musk, Al-Rumayyan / Elon Musk, Sam              F                  Waiver. Defendants
                                  5310 -13             Public Investment Fund (PIF)                                                             Foundation, Falsity,   Teller/Falsity, Scienter                       include this exhibit on
                                                                                                                                                Scienter                                                              their exhibit list.
       333           8/10/2018




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                                 TESLA_LITTLETON_0000 Email response from Elon Musk to Juleanna Glover (Ridgely                                                                    Elon Musk /Falsity,       H, F, P            Business records
                                 5551                 Walsh) re shorts                                                                                                             Scienter                                     exception
       334           8/8/2018



                                 SEC-EPROD-000005623 Email from Dan Dees to Elon Musk                                      RE: UBS wealth management        Dees, E. Musk /        Elon Musk, Dan            F                  Waiver. Defendants
                                                                                                                                                            Foundation, Falsity,   Dees/Falsity, Scienter                       include this exhibit on
                                                                                                                                                            Scienter                                                            their exhibit list.
       336           8/14/2018



                                 TESLA_LITTLETON_0001 Email from Deepak Ahuja to Elon Musk and Todd Maron re                                                                       Deepak Ahuja, Elon Musk H, F, P              Business records
                                 9605                 funding secured                                                                                                              /Falsity, Scienter                           exception
       337           8/7/2018



                                                        Reuters article: EXCLUSIVE Saudi Arabia's PIF has shown no                                                                 Elon Musk, Dave Arnold, A, F, H, K, R        Waiver. Defendants
                                                        interest in bankrolling Tesla buyout                                                                                       Sam Teller/Falsity,                          include this exhibit on
                                                                                                                                                                                   Scienter                                     their exhibit list.
       338           8/11/2018



                                 TESLA_LITTLETON_0001 Email from Dave Arnold to Erica Chen Re: Coverage on                                                                         Dave Arnold/Falsity,      H, R, F, B, I, P   Business records
                                 3913-13915           privatization blog post                                                                                                      Scienter                                     exception
       339           8/13/2018



                                 TESLA_LITTLETON_0001 Email from Dave Arnold to Phillip Rothenberg; Todd Maron;                                                                    Dave Arnold, Martin       F, H, R, P         Business records
                                 9019-19020           Martin Viecha; Deepak Ahuja Re NYT on Going Private Blog                                                                     Viecha, Deepak                               exception
                                                                                                                                                                                   Ahuja/Falsity, Scienter
       342           8/13/2018



                                                        New York Times article: Elon Musk's Effort to Take Tesla Private                                                           Elon Musk, Antonio     A, F, H, K, R         Not offered for
                                                        to Get Board Oversight                                                                                                     Gracias, Robyn Denholm                       truth/effect on listener
                                                                                                                                                                                   /Falisty, Scienter
       344           8/14/2018



                                                        CNET article: Elon Musk's strange, strange Ambien tweet                                                                    Elon Musk, Dave Arnold, A, F, H, K, R        Not offered for
                                                                                                                                                                                   Deepak Ahuja, Sam                            truth/effect on listener
                                                                                                                                                                                   Teller, Robyn Denholm,
       348           6/7/2017                                                                                                                                                      Antonio Gracias/Falisty,
                                                                                                                                                                                   Scienter



                                 TESLA_LITTLETON_0001 Email from Dave Arnold to Emily Stewart (Vox) Re: Media                                                                      Dave Arnold/Falisty,      F, R, K, H, P      Business records
                                 1150-11154           inquiry -- Explainer on Tesla going private                                                                                  Scienter                                     exception
       351           8/19/2018



                                                        Vox article: Elon Musk's plan to own investors betting against                                                             Elon Musk, Dave Arnold, A, F, H, K, R        Not offered for
                                                        Tesla is backfiring                                                                                                        Deepak Ahuja, Sam                            truth/effect on listener
                                                                                                                                                                                   Teller, Robyn Denholm,
       352           8/19/2018                                                                                                                                                     Antonio Gracias/Falisty,
                                                                                                                                                                                   Scienter



                                 TESLA_LITTLETON_0001 Dave Arnold notes to himself Re: stuff                                                                                       Dave Arnold/Falsity,      R, I, F, P,        F.R.E. 803(5)
                                 0663                                                                                                                                              Scienter                  Privileged
       353           8/20/2018




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                                  TESLA_LITTLETON_0001 Email from Dave Arnold to Sarah O'Brien forwarding Elon's                                                                          Dave Arnold/Falsity,       H, P, I, B   Business records
                                  0507-10508           email Re: Elon Musk deleted Instagram account                                                                                      Scienter                                exception
       354           8/21/2018



                                  TESLA_LITTLETON_0001 Email from Dave Arnold to Dave Arnold                                JB Interview w/ Gelles              Arnold/ Foundation,                                                                         F, K, H          Business records
                                  0403-04                                                                                                                       Falsity, Scienter                                                                                            exception
       356           8/22/2018



                                  TESLA_LITTLETON_0001 Email from Elon Musk to Dana Hull (Bloomberg) re Musk's                                                                            Elon Musk/Falisty,         F            Business records
                                  9182-19185           Brazen Gambit Collapsed as Investor Support Withered                                                                               Scienter                                exception
       358           8/26/2018



                                  TESLA_LITTLETON_0001 Email from Sam Teller to Sarah·O'Brien                               Re: This statement in your article is Teller, E. Musk, Arnold / Elon Musk, Dave Arnold   F            Waiver. Defendants
                                  9432                                                                                      false                                 Foundation, Falsity,      /Falisty, Scienter                    include this exhibit on
                                                                                                                                                                  Scienter                                                        their exhibit list.
       359           8/24/2018



                                                         Expert Report of Professor Guhan Subramanian of November                                                                         Guham                      H            F.R.E. 702, 703
                                                         8, 2021                                                                                                                          Subramanian/Falsity,
                                                                                                                                                                                          Scienter
       360           11/8/2021



                                  N/A                    Elon Musk tweet, August 13, 2018, "I'm excited to work with                                            All witnesses /           Elon Musk/Falsity,         F            Waiver. Defendants
                                                         Silver Lake and Goldman Sachs as financial advisors, plus ... as                                       Foundation, Falsity,      Scienter                                include this exhibit on
                                                         legal advisors, on the proposal to take Tesla private."                                                Scienter                                                          their exhibit list.
       361           8/13/2018



                                  N/A                    MBO database spreadsheet                                                                               Subramanian/ Expert       Guham                      F, H         Waiver. Defendants
                                                                                                                                                                Reliance                  Subramanian/Falsity,                    include this exhibit on
                                                                                                                                                                                          Scienter                                their exhibit list.
       362            Undated



                                  N/A                    Dell Inc. v. Magnetar Global Event Driven Master Fund et al.                                           Subramanian/ Expert                                                                         A, F, K, H, R,   Not offered for
                                                                                                                                                                Reliance                                                                                                     truth/effect on
                                                                                                                                                                                                                                                                             listener
       364           12/14/2017



                                  N/A                    The Management Buyout of Dell, Inc - Harvard Business School -                                         Subramanian/ Expert       Guham                      F, H         Waiver. Defendants
                                                         Guhan Subramanian                                                                                      Reliance                  Subramanian/Falsity,                    include this exhibit on
                                                                                                                                                                                          Scienter                                their exhibit list.
       365           10/9/2016



                                                         Rebuttal Report of Professor Guhan Subramanian of December                                                                       Guham                      F, H         F.R.E. 702, 703
                                                         8, 2021                                                                                                                          Subramanian/Falsity,
                                                                                                                                                                                          Scienter
       366           12/8/2021



                                                         Expert Report of Steve Heston of November 8, 2021                                                                                Steven                    F, H          F.R.E. 702, 703
                                                                                                                                                                                          Heston/Materiality,
                                                                                                                                                                                          Reliance, Loss Causation,
       368           11/8/2021
                                                                                                                                                                                          Damages




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                                                       Supplemental Expert Report of Steve Heston of March 5, 2022                                                       Steven                    F, H            F.R.E. 702, 703
                                                                                                                                                                         Heston/Materiality,
                                                                                                                                                                         Reliance, Loss Causation,
       369            3/5/2022
                                                                                                                                                                         Damages


                                                       Expert Rebuttal Report of Professor Amit Seru of December 8,                                                      Amit Seru/Materiality,    F, H            F.R.E. 702, 703
                                                       2021                                                                                                              Reliance, Loss Causation,
                                                                                                                                                                         Damages
       370           12/8/2021



                                  N/A                  Closed Form Option Pricing Formulas with Extreme Events,                                  Heston/ Damages,        Steven                    A, F, H, K, R   Waiver. Defendants
                                                       authored by Antonio Camara and Stephen L. Heston                                          Expert Reliance         Heston/Materiality,                       include this exhibit on
                                                                                                                                                                         Reliance, Loss Causation,                 their exhibit list.
       371             2008
                                                                                                                                                                         Damages


                                  N/A                  Ajay Subramanian, Option Pricing on Stocks in Mergers and                                 Heston/ Damages,        Steven                    A, F, H, K, R   Waiver. Defendants
                                                       Acquisitions, The Journal of Finance, Vol. LIX, No. 2 (April 2004)                        Expert Reliance         Heston/Materiality,                       include this exhibit on
                                                                                                                                                                         Reliance, Loss Causation,                 their exhibit list.
       372             Apr-04
                                                                                                                                                                         Damages


                                  N/A                  C. Alan Bester, Victor H. Martinez, and Ioanid Rosu, Option                               Heston/ Damages,        Steven                    A, F, H, K, R   Waiver. Defendants
                                                       Prices and the Probability of Success of Cash Mergers, Journal                            Expert Reliance         Heston/Materiality,                       include this exhibit on
                                                       of Financial Econometrics, Oxford University Press, 2021, 1-42                                                    Reliance, Loss Causation,                 their exhibit list.
       373           12/1/2020
                                                                                                                                                                         Damages


                                  N/A                  Appendix 8 to Professor Hartzmark report (Excel File)                                     Heston/ Damages,        Michael L.                F, H            Waiver. Defendants
                                                                                                                                                 Expert Reliance         Hartzmark/Materiality,                    include this exhibit on
                                                                                                                                                                         Reliance, Loss Causation,                 their exhibit list.
       374            Undated
                                                                                                                                                                         Damages


                                                       Expert Damages Report of Michael L. Hartzmark of November                                                         Michael L.                F, H            F.R.E. 702, 703
                                                       10, 2021                                                                                                          Hartzmark/Materiality,
                                                                                                                                                                         Reliance, Loss Causation,
       375           11/10/2021
                                                                                                                                                                         Damages


                                  N/A                  Presentation - "Hearing re Plaintiff's Motion for Partial                                 Hartzmark/ Causation,                                                                       A, F, K, H       Not offered for
                                                       Summary Judgment"                                                                         Damages, Expert                                                                                              truth/effect on
                                                                                                                                                 Reliance                                                                                                     listener; party
       377           3/10/2022
                                                                                                                                                                                                                                                              opponent
                                                                                                                                                                                                                                                              statement

                                                       Expert Report of Daniel Fischel of November 8, 2021                                                               Daniel                    F, H            F.R.E. 702, 703
                                                                                                                                                                         Fischel/Materiality,
                                                                                                                                                                         Reliance, Loss Causation,
       378           11/8/2021
                                                                                                                                                                         Damages


                                  N/A                  Handwritten Calculations of Michael Hartzmark                                             Hartzmark/ Causation,   Michael L.                F, H            Waiver. Defendants
                                                                                                                                                 Damages, Expert         Hartzmark/Materiality,                    include this exhibit on
                                                                                                                                                 Reliance                Reliance, Loss Causation,                 their exhibit list.
       379            Undated
                                                                                                                                                                         Damages


                                  N/A                  Professor Heston's Figures 1-4 within Bid-Ask Bounds                                      Seru/ Damages, Expert   Michael L.                F, H            Waiver. Defendants
                                                                                                                                                 Reliance                Hartzmark/Materiality,                    include this exhibit on
                                                                                                                                                                         Reliance, Loss Causation,                 their exhibit list.
       380            Mar-22
                                                                                                                                                                         Damages




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                                  N/A                  Hartzmark Estimates of Inflation on August 7, 2018                                 Seru/ Damages, Expert   Michael L.                F, H       Waiver. Defendants
                                                                                                                                          Reliance                Hartzmark/Materiality,               include this exhibit on
                                                                                                                                                                  Reliance, Loss Causation,            their exhibit list.
       381            Mar-22
                                                                                                                                                                  Damages


                                  N/A                  TSLA - Tesla Call Option Implied Volatility                                        Seru/ Damages, Expert   Amit Seru/Materiality,    F, H       Waiver. Defendants
                                                                                                                                          Reliance                Reliance, Loss Causation,            include this exhibit on
                                                                                                                                                                  Damages                              their exhibit list.
       382            Mar-22



                                                       Expert Report of Professor Joshua Mitts of November 8, 2021                                                Joshua Mitts/Materiality, F, H       F.R.E. 702, 703
                                                                                                                                                                  Reliance, Loss Causation,
                                                                                                                                                                  Damages
       383           11/8/2021



                                  N/A                  TSLAQ Wikipedia                                                                    Mitts/ Reliance,                                                                       A, F, K, H, R,   Not offered for
                                                                                                                                          Causation, Damages,                                                                                     truth/effect on
                                                                                                                                          Expert Reliance                                                                                         listener
       384              N/A



                                  N/A                  FUD Wikipedia                                                                      Mitts/ Reliance,                                                                       A, F, K, H, R,   Not offered for
                                                                                                                                          Causation, Damages,                                                                                     truth/effect on
                                                                                                                                          Expert Reliance                                                                                         listener
       385              N/A



                                  N/A                  Tweet - @TeslaCharts FUD                                                           Mitts/ Reliance,                                                                       A, F, K, H, R,   Not offered for
                                                                                                                                          Causation, Damages,                                                                                     truth/effect on
                                                                                                                                          Expert Reliance                                                                                         listener
       386           6/17/2019



                                  N/A                  Tweet - @Elmer FUD                                                                 Mitts/ Reliance,                                                                       A, F, K, H, R,   Not offered for
                                                                                                                                          Causation, Damages,                                                                                     truth/effect on
                                                                                                                                          Expert Reliance                                                                                         listener
       387           11/19/2018



                                  N/A                  Tweet - @RoboBobo FUD                                                              Mitts/ Reliance,                                                                       A, F, K, H, R,   Not offered for
                                                                                                                                          Causation, Damages,                                                                                     truth/effect on
                                                                                                                                          Expert Reliance                                                                                         listener
       388           6/14/2019



                                  N/A                  Tweet - @Ben K FUD                                                                 Mitts/ Reliance,                                                                       A, F, K, H, R,   Not offered for
                                                                                                                                          Causation, Damages,                                                                                     truth/effect on
                                                                                                                                          Expert Reliance                                                                                         listener
       389            7/9/2019



                                  N/A                  Tweet with attachments - @Luis Carruthers                                          Mitts/ Reliance,                                                                       A, F, K, H, R,   Not offered for
                                                                                                                                          Causation, Damages,                                                                                     truth/effect on
                                                                                                                                          Expert Reliance                                                                                         listener
       390           8/16/2018



                                  N/A                  Tweet with attachments - @BenShooter                                               Mitts/ Reliance,                                                                       A, F, K, H, R,   Not offered for
                                                                                                                                          Causation, Damages,                                                                                     truth/effect on
                                                                                                                                          Expert Reliance                                                                                         listener
       391            8/2/2018




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                                  N/A                  Tweet with attachments - @bonairevolt                            Mitts/ Reliance,                                                                     A, F, K, H, R,   Not offered for
                                                                                                                        Causation, Damages,                                                                                   truth/effect on
                                                                                                                        Expert Reliance                                                                                       listener
       392            8/9/2018



                                  N/A                  Tweet with attachments - @cloisterres                            Mitts/ Reliance,                                                                     A, F, K, H, R,   Not offered for
                                                                                                                        Causation, Damages,                                                                                   truth/effect on
                                                                                                                        Expert Reliance                                                                                       listener
       393           11/30/2018



                                  N/A                  Tweet with attachments - @PlugInFUD                              Mitts/ Reliance,                                                                     A, F, K, H, R,   Not offered for
                                                                                                                        Causation, Damages,                                                                                   truth/effect on
                                                                                                                        Expert Reliance                                                                                       listener
       394           8/14/2018



                                  N/A                  Tweet with attachments - @ContrarianShort                        Mitts/ Reliance,                                                                     A, F, K, H, R,   Not offered for
                                                                                                                        Causation, Damages,                                                                                   truth/effect on
                                                                                                                        Expert Reliance                                                                                       listener
       395           8/17/2018



                                  N/A                  Tweet with attachments - @crayonresearch                         Mitts/ Reliance,                                                                     A, F, K, H, R,   Not offered for
                                                                                                                        Causation, Damages,                                                                                   truth/effect on
                                                                                                                        Expert Reliance                                                                                       listener
       396           8/11/2018



                                  N/A                  Tweet with attachments - @dapstats                               Mitts/ Reliance,                                                                     A, F, K, H, R,   Not offered for
                                                                                                                        Causation, Damages,                                                                                   truth/effect on
                                                                                                                        Expert Reliance                                                                                       listener
       397           6/17/2018



                                  N/A                  Tweet with attachments - @FistEnergy                             Mitts/ Reliance,                                                                     A, F, K, H, R,   Not offered for
                                                                                                                        Causation, Damages,                                                                                   truth/effect on
                                                                                                                        Expert Reliance                                                                                       listener
       398           8/15/2018



                                  N/A                  Tweet with attachments - @JervisCapital                          Mitts/ Reliance,                                                                     A, F, K, H, R,   Not offered for
                                                                                                                        Causation, Damages,                                                                                   truth/effect on
                                                                                                                        Expert Reliance                                                                                       listener
       399           8/15/2018



                                  N/A                  Tweet with attachments - @LucasErratus                           Mitts/ Reliance,                                                                     A, F, K, H, R,   Not offered for
                                                                                                                        Causation, Damages,                                                                                   truth/effect on
                                                                                                                        Expert Reliance                                                                                       listener
       400           8/12/2018



                                  N/A                  Tweet with attachments - @Teslemmings                            Mitts/ Reliance,                                                                     A, F, K, H, R,   Not offered for
                                                                                                                        Causation, Damages,                                                                                   truth/effect on
                                                                                                                        Expert Reliance                                                                                       listener
       401           8/17/2018



                                  N/A                  Tweet with attachments - @ruskitrader                            Mitts/ Reliance,                                                                     A, F, K, H, R,   Not offered for
                                                                                                                        Causation, Damages,                                                                                   truth/effect on
                                                                                                                        Expert Reliance                                                                                       listener
       402           8/10/2018




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                                 N/A                  Tweet with attachments - @TXBoater                              Mitts/ Reliance,                                                                     A, F, K, H, R,   Not offered for
                                                                                                                      Causation, Damages,                                                                                   truth/effect on
                                                                                                                      Expert Reliance                                                                                       listener
       403           8/15/2018



                                 N/A                  Tweet with attachments - @ValueDissenter                        Mitts/ Reliance,                                                                     A, F, K, H, R,   Not offered for
                                                                                                                      Causation, Damages,                                                                                   truth/effect on
                                                                                                                      Expert Reliance                                                                                       listener
       404           8/13/2018



                                 N/A                  Tweet with attachments - @witwwos                               Mitts/ Reliance,                                                                     A, F, K, H, R,   Not offered for
                                                                                                                      Causation, Damages,                                                                                   truth/effect on
                                                                                                                      Expert Reliance                                                                                       listener
       405           8/15/2018



                                 N/A                  Tweet with attachments - @NegDiscountRt                         Mitts/ Reliance,                                                                     A, F, K, H, R,   Not offered for
                                                                                                                      Causation, Damages,                                                                                   truth/effect on
                                                                                                                      Expert Reliance                                                                                       listener
       406           8/9/2018



                                 N/A                  Tweet with attachments - @Nate Itkin                            Mitts/ Reliance,                                                                     A, F, K, H, R,   Not offered for
                                                                                                                      Causation, Damages,                                                                                   truth/effect on
                                                                                                                      Expert Reliance                                                                                       listener
       407           8/5/2018



                                 N/A                  Tweet with attachments - @Mark Johnston                         Mitts/ Reliance,                                                                     A, F, K, H, R,   Not offered for
                                                                                                                      Causation, Damages,                                                                                   truth/effect on
                                                                                                                      Expert Reliance                                                                                       listener
       408           8/10/2018



                                 N/A                  Tweet with attachments - @Polixenes13                           Mitts/ Reliance,                                                                     A, F, K, H, R,   Not offered for
                                                                                                                      Causation, Damages,                                                                                   truth/effect on
                                                                                                                      Expert Reliance                                                                                       listener
       409           8/10/2018



                                 N/A                  Tweet with attachments - @ElonBachman                           Mitts/ Reliance,                                                                     A, F, K, H, R,   Not offered for
                                                                                                                      Causation, Damages,                                                                                   truth/effect on
                                                                                                                      Expert Reliance                                                                                       listener
       410           8/16/2018



                                 N/A                  Tweet with attachments - @TESLAcharts                           Mitts/ Reliance,                                                                     A, F, K, H, R,   Not offered for
                                                                                                                      Causation, Damages,                                                                                   truth/effect on
                                                                                                                      Expert Reliance                                                                                       listener
       411           8/16/2018



                                 N/A                  Tweet with attachments - @Yeomen23                              Mitts/ Reliance,                                                                     A, F, K, H, R,   Not offered for
                                                                                                                      Causation, Damages,                                                                                   truth/effect on
                                                                                                                      Expert Reliance                                                                                       listener
       412           7/24/2018



                                 N/A                  Collection of Tweets                                            Mitts/ Reliance,                                                                     A, F, K, H, R,   Not offered for
                                                                                                                      Causation, Damages,                                                                                   truth/effect on
                                                                                                                      Expert Reliance                                                                                       listener
       413            Various




                                                                                                                 31
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                                   N/A                  S3 Research Article - "S3 Analytics: No Tesla Short Squeeze,                           Mitts/ Reliance,                                                                           A, F, K, H, R,   Not offered for
                                                        Shorts up $1.2 billion since 'The Tweet' "                                             Causation, Damages,                                                                                         truth/effect on
                                                                                                                                               Expert Reliance                                                                                             listener
       414           8/17/2018



                                   N/A                  Mitts Short and Distort Blog                                                           Mitts/ Reliance,                                                                           A, F, K, H, R,   Not offered for
                                                                                                                                               Causation, Damages,                                                                                         truth/effect on
                                                                                                                                               Expert Reliance                                                                                             listener
       415           11/13/2018



                                   N/A                  Mitts Short and Distort Article                                                        Mitts/ Reliance,                                                                           A, F, K, H, R,   Not offered for
                       Faculty                                                                                                                 Causation, Damages,                                                                                         truth/effect on
                                                                                                                                               Expert Reliance                                                                                             listener
       416           Publication
                        2020


                                   N/A                  Mitts Data - Driven Defense Against Short and Distort                                  Mitts/ Reliance,                                                                           A, F, K, H, R,   Not offered for
                                                                                                                                               Causation, Damages,                                                                                         truth/effect on
                                                                                                                                               Expert Reliance                                                                                             listener
       417           9/12/2018



                                   N/A                  WSJ Article - "Carson Block's Latest Short Target is a Columbia                        Mitts/ Reliance,                                                                           A, F, K, H, R,   Not offered for
                                                        Law Professor"                                                                         Causation, Damages,                                                                                         truth/effect on
                                                                                                                                               Expert Reliance                                                                                             listener
       418           3/19/2022



                                   N/A                  Mitts Petition for Rulemaking on Short and Distort                                     Mitts/ Reliance,                                                                           A, F, K, H, R,   Not offered for
                                                                                                                                               Causation, Damages,                                                                                         truth/effect on
                                                                                                                                               Expert Reliance                                                                                             listener
       419           2/18/2020



                                   N/A                  Shorty Seller Logos                                                                    Mitts/ Reliance,                                                                           A, F, K, H, R,   Not offered for
                                                                                                                                               Causation, Damages,                                                                                         truth/effect on
                                                                                                                                               Expert Reliance                                                                                             listener
       420           7/23/2018



                                   N/A                  LA Times Article - "Must Reads: The crowd-sourced, social                              Mitts/ Reliance,                                                                           A, F, K, H, R,   Not offered for
                                                        media swarm that is betting Tesla will crash and burn."                                Causation, Damages,                                                                                         truth/effect on
                                                                                                                                               Expert Reliance                                                                                             listener
       421            4/8/2019



                                   N/A                  CNBC Article - "Anonymous Tesla short sellers who fly over its                         Mitts/ Reliance,                                                                           A, F, K, H, R,   Not offered for
                                                        parking lots taking pictures of cars have a new website"                               Causation, Damages,                                                                                         truth/effect on
                                                                                                                                               Expert Reliance                                                                                             listener
       422            2/1/2019



                                                        Rebuttal Expert Report of Daniel Fischel of December 8, 2021                                                  Daniel                    F, H            F.R.E. 702, 703
                                                                                                                                                                      Fischel/Materiality,
                                                                                                                                                                      Reliance, Loss Causation,
       423           12/8/2021
                                                                                                                                                                      Damages


                                   N/A                  San Jose Mercury News Article - "Musk Hints He's Bipolar but                           Fischel/ Foundation,   Joshua Mitts/Materiality, A, F, H, K, R   Waiver. Defendants
                                                        Says No Diagnosis."                                                                    Falsity                Reliance, Loss Causation,                 include this exhibit on
                                                                                                                                                                      Damages                                   their exhibit list.
       424            8/1/2017




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                                 N/A                   Sunday Independent Arfticle - "The Architect of Tomorrrow"                                             Fischel/ Foundation,    Joshua Mitts/Materiality, A, F, H, K, R   Waiver. Defendants
                                                                                                                                                              Falsity                 Reliance, Loss Causation,                 include this exhibit on
                                                                                                                                                                                      Damages                                   their exhibit list.
       425           1/14/2018



                                 N/A                   NYT Article - " A Question for Tesla's Board: What was Elon                                            Fischel/ Falsity        Joshua Mitts/Materiality, A, F, H, K, R   Waiver. Defendants
                                                       Musk's Mental State"                                                                                                           Reliance, Loss Causation,                 include this exhibit on
                                                                                                                                                                                      Damages                                   their exhibit list.
       426           8/15/2018



                                 N/A                   CBS News Article - "Why Elon Musk's Plan to Take Tesla Private                                         Fischel/ Falsity        Joshua Mitts/Materiality, A, F, H, K, R   Waiver. Defendants
                                                       is Likely to Faily"                                                                                                            Reliance, Loss Causation,                 include this exhibit on
                                                                                                                                                                                      Damages                                   their exhibit list.
       427           8/17/2018



                                                       Report of Daniel Fischel of August 15, 2007, submitted in                                                                      Joshua Mitts/Materiality, H               F.R.E. 702, 703
                                                       Lawrence E. Jaffe Pension Plan vs. Household International,                                                                    Reliance, Loss Causation,
                                                       Inc., filed on January 30, 2009                                                                                                Damages
       428           8/15/2007



                                 N/A                   Morningstar Analyst Note - "Tesla Buyout Looks Likely to Us,                                           Fischel/ Falsity        Joshua Mitts/Materiality, A, F, H, K, R   Waiver. Defendants
                                                       but Timing and Structure Uncertain"                                                                                            Reliance, Loss Causation,                 include this exhibit on
        429          8/13/2018                                                                                                                                                        Damages                                   their exhibit list.



                                 LITTLETON_00005007-   Email from Robert Morse to Glen Littleton                           RE: Thanks for your help this week Littleton/Foundation,                                                                       F, K, H, R,      Party opponent
                                 08                                                                                                                           Reliance                                                                                                     statement
       430           7/7/2017



                                 N/A                   Plaintiff's Responses to Defendants' First set of Interrogatories                                      Littleton/Reliance,                                                                         F, K, H          Party opponent
                                                                                                                                                              Causation, Damages                                                                                           statement
       431           11/4/2021



                                 LITTLETON_00005077-   Email from Robert Morse to Glen Littleton                           Re: Tesla                          Littleton/Reliance,                                                                         F, K, H          Party opponent
                                 79                                                                                                                           Causation, Damages                                                                                           statement
       432           8/7/2018



                                 N/A                   Declaration of Adam C. McCall                                                                          Littleton/Reliance,                                                                         F, K, H          Party opponent
                                                                                                                                                              Causation, Damages                                                                                           statement
       433           10/9/2018



                                 LITTLETON_00004747    Email from Glen Littleton to Bob Morse                              Tesla                              Littleton/Foundation                                                                        F, K, H, R,      Party opponent
                                                                                                                                                                                                                                                                           statement
       434           9/18/2018



                                 N/A                   Bloomberg Article "Tesla Is Said to Face U.S. Criminal Probe                                           Littleton/Foundation                                                                        F, K, H          Not offered for
                                                       Over Musk Statements"                                                                                                                                                                                               truth/effect on
                                                                                                                                                                                                                                                                           listener
       435           9/19/2018




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                                  LITTLETON_00004745      Email from Robert Morse to Glen Littleton                       RE: TELSLA-lead plaintiff        Littleton/Foundation                                                                   F, K, H          Party opponent
                                                                                                                                                                                                                                                                   statement
       436           9/26/2018



                                  LITTLETON_00001624-     Email from Kayla Guck to Glenn Littleton                        RE: Address for Check            Littleton/Foundation                                                                   F, K, H, R,      Party opponent
                                  26                                                                                                                                                                                                                               statement
       437           10/11/2018



                                  LITTLETON_00004815      Email from Glenn Littleton to Robert Morse                      Re: Wire                         Littleton/ Foundation,                                                                 F, K, H, R,      Party opponent
                                                                                                                                                           Reliance, Causation                                                                                     statement
       438            2/9/2018



                                  LITTLETON_00004796      Email from Glenn Littleton to Christopher Grap                  Tesla Service                    Littleton/ Foundation,                                                                 F, K, H, R,      Party opponent
                                                                                                                                                           Reliance, Causation                                                                                     statement
       439            8/2/2018



                                  LITTLETON_0000445-48 Email from Robert Morse to Glen Littleton                          Re: Wedbush Morning Call - STML Littleton/ Foundation,                                                                  F, K, H, R,      Party opponent
                                                                                                                          TSLA Best Ideas List            Reliance, Causation,                                                                                     statement
                                                                                                                                                          Damages
       440           12/26/2018



                                  LITTLETON_00004443      Email from Robert Morse to Glen Littleton                       RE: Account                      Littleton/ Foundation,                                                                 F, K, H, R,      Party opponent
                                                                                                                                                           Reliance, Causation,                                                                                    statement
                                                                                                                                                           Damages
       441           9/16/2018



                                  TESLA_LITTLETON_0001 Minutes of a Special Meeting of the Board of Directors of Tesla,                                                             Antonio Gracias, Robyn     F, D            Business records
                                  2792-12793           Inc. August 7, 2018, TESLA_LITTLETON_00012792-93                                                                             Denhom, Elon Musk,                         exception
                                                                                                                                                                                    Deepak Ahuja/Falsity,
       500            8/7/2018
                                                                                                                                                                                    Scienter


                                  TESLA_LITTLETON_0001 Email from Dave Arnold to Phiip Rothenberg, Todd Maron,                                                                      Dave Arnold/Falsity,       F, R, H, P, K   Business records
                                  3759                 Sarah O'Brien, and Kamran Mumtaz re: Fortune request for                                                                     Scienter                                   exception
                                                       comment: Twitter blocking, TESLA_LITTLETON_00013759
       501            8/9/2018



                                  TESLA_LITTLETON_0002 Minutes of the Special Committee of the Board of Directors,                                                                  Robyn Denholm/Falsity, F, D                Business records
                                  0147-20149           August 16, 2018, TESLA_LITTLETON_00020147-49                                                                                 Scienter                                   exception
       502           8/16/2018



                                  TESLA_LITTLETON_0002 Email from Elon Musk to Sarah O'Brien re Draft Email 420,                                                                    Elon Musk, Deepak        F, I              Business records
                                  4580-24583           TESLA_LITTLETON_00024580-83                                                                                                  Ahuja, Dave Arnold, Sam                    exception
                                                                                                                                                                                    Teller/Falsity, Scienter
       503            8/7/2018



                                  TESLA_LITTLETON_0002 Email from Deepak Ahuja to Dave Arnold, Todd Maron, Sarah                                                                    Deepak Ahuja, Dave         F, I, R         Business records
                                  4600                 O'Brien re blog post, TESLA_LITTLETON_00024600                                                                               Arnold/Falsity, Scienter                   exception
       504            8/7/2018




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                                 TESLA_LITTLETON_0002 Draft Blog Post August 7, 2018 (attachment to                                                              Deepak Ahuja, Dave          F, I       Business records
                                 4601                 TESLA_LITTLETON_00024600), TESLA_LITTLETON_00024601                                                        Arnold/Falsity, Scienter               exception
       505           8/7/2018



                                 TESLA_LITTLETON_0002 Email from Todd Maron to Sarah O'Brien, Dave Arnold, August                                                Dave Arnold, Deepak         F          Business records
                                 4604                 7, 2018 re Rationale, TESLA_LITTLETON_00024604                                                             Ahuja/Falsity, Scienter                exception
       506           8/7/2018



                               TESLA_LITTLETON_0002 Email from Elon Musk to Todd Maron August 12, 2018 re:                                                       Elon Musk, Deepak           F          Waiver. Defendants
                               4605-24606           Reuters: Saudi Arabia's massive investment fund said to be                                                   Ahuja, Dave                            include this exhibit on
                                                    uniterested in funding Tesla's idea to go private                                                            Arnold/Falsity, Scienter               their exhibit list.
       507           8/12/2018



                                 TESLA_LITTLETON_0002 Email from Elon Musk to Sarah O'Brien, August 11, 2018 re:                                                 Elon Musk, Deepak        F, I          Waiver. Defendants
                                 4607-24614           Blog Post                                                                                                  Ahuja, Dave Arnold, Sam                include this exhibit on
                                                                                                                                                                 Teller/Falsity, Scienter               their exhibit list.
       508           8/11/2018



                               TESLA_LITTLETON_0002 Email from Elon Musk to Dave Arnold, August 14, 2018 re:                                                     Elon Musk, Dave Arnold, F, H, R        Waiver. Defendants
                               4615                 Bloomberg, Goldmand Sachs Had No Mandate When Musk                                                           Deepak Ahuja, Sam                      include this exhibit on
                                                    Tweeted                                                                                                      Teller/Falsity, Scienter               their exhibit list.
       509           8/14/2018



                                 TESLA_LITTLETON_0002 Email from Sam Teller to Todd Maron, August 14, 2018, re:                                                  Sam Teller/Falsity,         F, H, R    Waiver. Defendants
                                 4616                 Proposed tweet from Elon                                                                                   Scienter                               include this exhibit on
                                                                                                                                                                                                        their exhibit list.
       510           8/14/2018



                                 TESLA_LITTLETON_0002 Email from Todd Maron to Philip Rothenberg, Erica Chen, Sarah                                              Deepak Ahuja, Dave          F, R       Business records
                                 4628-24630           O'Brien, August 7, 2018, Re: Statement from the Board,                                                     Arnold, Sam                            exception
                                                      TESLA_LITTLETON_00024628-30                                                                                Teller/Falsity, Scienter
       511           8/7/2018



                                 TESLA_LITTLETON_0002 Email from Deepak Ahuja to Todd Maron, Sarah O'Brien, Felicia                                              Deepak Ahuja, Dave          F, R       Business records
                                 4665-24674           Mayo, August 9, 2018, Re: Please Review: Current News and                                                  Arnold/Falsity, Scienter               exception
                                                      Talent, TESLA_LITTLETON_00024665-74
       512           8/9/2018



                                 TESLA_LITTLETON_0002 Email from Deepak Ahuja to Todd Maron, Nathan Fisher, Felicia                                              Deepak Ahuja, Dave          F, R, I    Business records
                                 4675-24677           Mayo, Sarah O'Brien, August 9, 2018,                                                                       Arnold/Falsity, Scienter               exception
                                                      TESLA_LITTLETON_00024675-77
       513           8/9/2018



                                 TESLA_LITTLETON_0002 "Tesla Taking Private" Employee FAQ v3 August 8, 2018                                                      Deepak Ahuja, Dave          F, I       Business records
                                 4678-24680           (attachment to TESLA_LITTLETON_00024675),                                                                  Arnold/Falsity, Scienter               exception
                                                      TESLA_LITTLETON_00024678-80
       514           8/9/2018



                                 TESLA_LITTLETON_0002 Email from Felicia Mayo to Deepak Ahuja, Todd Maron, Sarah                                                 Deepak Ahuja, Dave          F, R       Business records
                                 4681-24690           O'Brien, August 9, 2018, Re: Please Review: Current News and                                               Arnold /Falsity, Scienter              exception
                                                      Talent, TESLA_LITTLETON_00024681-90
       515           8/9/2018




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                                 TESLA_LITTLETON_0002 Email from Dave Arnold to Nathan Fisher and Sarah O'Brien,                                                       Dave Arnold/Falsity,        F, R                Business records
                                 4691-24698           August 8, 2018, Re: Please Review: Current News and Talent,                                                      Scienter                                        exception
                                                      TESLA_LITTLETON_00024691-98
       516           8/8/2018



                                 TESLA_LITTLETON_0002 Email from Sarah O'Brien to Nathan Fisher, August 9, 2018, Re:                                                   Deepak Ahuja, Dave          F, R, I             Business records
                                 4711-24714           Employee FAQ_Taking Tesla Private v.Final.pdf,                                                                   Arnold /Falsity, Scienter                       exception
                                                      TESLA_LITTLETON_00024711-14
       517           8/9/2018



                                 TESLA_LITTLETON_0002 Employee FAQ, "Taking Tesla Private" (attachment to                                                              Deepak Ahuja, Dave          F, I                Business records
                                 4715-24716           TESLA_LITTLETON_00024711-14),                                                                                    Arnold /Falsity, Scienter                       exception
                                                      TESLA_LITTLETON_00024715-16
       518           8/9/2018



                               TESLA_LITTLETON_0002 Email from Brad Buss to Megan Staub, August 17, 2018, Re:                                                          Robyn Denholm/Falsity, F, R, I                  Business records
                               4722                 Tesla Special Committee - Request for Proposal,                                                                    Scienter                                        exception
                                                    TESLA_LITTLETON_00024722
       519           8/17/2018



                               TESLA_LITTLETON_0002 "Specific Matters fro Financial Advisors to Address in                                                             Robyn Denholm/Falsity, F, R, I                  Business records
                               4723-00024724        Presentation to the Special Committee" (attachment to                                                              Scienter                                        exception
                                                    TESLA_LITTLETON_00024722), TESLA_LITTLETON_00024723
       520           8/17/2018



                                                         CNBC Interview Video, Was Elon Musk's tweet market                                                            Michael Hartzmark,          A, F, R, H, K, L,   Not offered for
                                                         manipulation? CNBC’s Bob Pisani and Mike Santoli debate the                                                   Guhan                       P                   truth/effect on listener
                                                         legality of Tesla CEO Elon Musk’s tweet about possibly taking                                                 Subramanian/Falsity,
       521           8/7/2018                            Tesla private. August 7, 2018,                                                                                Scienter
                                                         https://www.cnbc.com/video/2018/08/07/was-elon-musks-
                                                         tweet-market-manipulation-tesla-tsla-stock-elon-musk-private-
                                                         capital-investors-sec.html
                                                         CNBC Interview Video, Tesla has its busiest trading day since                                                 Michael Hartzmark,          A, F, R, H, K, L,   Not offered for
                                                         2014 after Musk tweets he plans to take company. August 7,                                                    Guhan                       P                   truth/effect on listener
                                                         2018 https://www.cnbc.com/2018/08/07/tesla-has-busiest-                                                       Subramanian/Falsity,
       522           8/7/2018
                                                         trading-day-since-2014.html                                                                                   Scienter


                                                         CNBC Interview Video, Tesla stock pricing in zero probability of                                              Michael Hartzmark,          A, F, R, H, K, L,   Not offered for
                                                         going private. August 20, 2018                                                                                Guhan                       P                   truth/effect on listener
                                                         https://www.cnbc.com/video/2018/08/20/tesla-stock-elon-                                                       Subramanian/Falsity,
       523           8/20/2018
                                                         musk-private-tweet-new-york-times-saudi-sec-lucid.html                                                        Scienter


                                 LITTLETON_00000704-     Glen Littleton's Lightspeed Account Statement for August 1,                                                   Glen Littleton/Damages      F                   Waiver. Defendants
                                 44                      2018 to August 31, 2018                                                                                                                                       include this exhibit on
                     8/1/2018-                                                                                                                                                                                         their exhibit list.
       524           8/31/2018


                                 PLAINTIFF_00002651-70 Tim Fries' Account Statements                                                                                   Tim Fries/Damages           F                   Witness appearing at
                                                                                                                                                                                                                       trial
                     8/1/2018-
       525           9/30/2018


                                 SEC-EPROD-000000998- Email from Elliot Mattingly (Fidelity) to himself including "Musk                                                Elon Musk/Falsity,          F, R, P             Not offered for
                                 99                   call notes" from Aug 10, 2018 call with Elon Musk                                                                Scienter                                        truth/effect on listener
       526           8/10/2018




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                               SEC-EPROD-000000807- Email from Elliot Mattingly (Fidelity) to FMR (Fidelity) Equity                                                 Elon Musk/Falsity,         F, H, K, R, P     Not offered for
                               17                   Consumer Research Team Re: Latest TSLA thoughts after a                                                         Scienter                                     truth/effect on listener
                                                    tumultuous few days (it includes Mattingly highlights from
       527           8/11/2018
                                                    meeting with Tesla IR on Aug 8, 2018 and from Aug 10, 2018
                                                    call with Elon Musk

                                                         Why Elon Musk’s Tesla Should go Private and Why it Won’t?                                                  Michael L.                A, F, H, K. R      Not offered for
                                                         (Management Study Guide, Unknown Date)                                                                     Hartzmark/Materiality,                       truth/effect on listener
                                                                                                                                                                    Reliance, Loss Causation,
       528
                                                                                                                                                                    Damages


                                                         @elonmusk, TWITTER (Aug.7, 2018, 3:07 PM),                                                                 Joshua Mitts, Elon        A, F, H, K, R      Not offered for
                                                         https://twitter.com/elonmusk/status/1026907699760390146.                                                   Musk/Materiality,                            truth/effect on listener
                                                                                                                                                                    Reliance, Loss Causation,
       529           8/7/2018
                                                                                                                                                                    Damages


                                                         @elonmusk, TWITTER (Jan. 17, 2012, 5:07 PM),                                                               Joshua Mitts, Elon        A, F, H, K, R      Not offered for
                                                         https://twitter.com/elonmusk/status/159396536621596672                                                     Musk/Materiality,                            truth/effect on listener
                                                                                                                                                                    Reliance, Loss Causation,
       530           1/17/2012
                                                                                                                                                                    Damages


                                                         @elonmusk, TWITTER (Jan. 17, 2012, 8:54 PM),                                                               Joshua Mitts, Elon        A, F, H, K, R      Not offered for
                                                         https://twitter.com/elonmusk/status/159453674517692416                                                     Musk/Materiality,                            truth/effect on listener
                                                                                                                                                                    Reliance, Loss Causation,
       531           1/17/2012
                                                                                                                                                                    Damages


                                                         @elonmusk, TWITTER (July 26, 2018, 6:35 AM),                                                               Joshua Mitts, Elon        A, F, H, K, R      Not offered for
                                                         https://twitter.com/elonmusk/status/1022430321696858113                                                    Musk/Materiality,                            truth/effect on listener
                                                                                                                                                                    Reliance, Loss Causation,
       532           7/26/2018
                                                                                                                                                                    Damages


                                                         @elonmusk, TWITTER (July 5, 2018, 2:42 PM),                                                                Joshua Mitts, Elon        A, F, H, K, R      Not offered for
                                                         https://twitter.com/elonmusk/status/1014942490690969600.                                                   Musk/Materiality,                            truth/effect on listener
                                                                                                                                                                    Reliance, Loss Causation,
       533           7/5/2018
                                                                                                                                                                    Damages


                                                         Here’s What Analysts Are Saying After Elon Musk’s Latest U-                                                Michael L.                A, F, H, K, R, P   Not offered for
                                                         Turn (Bloomberg Quint, 8/27/2018)                                                                          Hartzmark/Materiality,                       truth/effect on listener
                                                                                                                                                                    Reliance, Loss Causation,
       534           8/27/2018
                                                                                                                                                                    Damages


                                                         Is Tesla still in play? Jefferies Research Report, 8/27/2018)                                              Michael L.                A, F, H, K, R      Not offered for
                                                                                                                                                                    Hartzmark/Materiality,                       truth/effect on listener
                                                                                                                                                                    Reliance, Loss Causation,
       535           8/27/2018
                                                                                                                                                                    Damages


                                                         @elonmusk, TWITTER (May 4, 2018, 7:35 AM),                                                                 Joshua Mitts, Elon        A, F, H, K, R      Not offered for
                                                         https://twitter.com/elonmusk/status/992367087761817600                                                     Musk/Materiality,                            truth/effect on listener
                                                                                                                                                                    Reliance, Loss Causation,
       536           5/4/2018
                                                                                                                                                                    Damages


                                                         @elonmusk, TWITTER(May 4, 2018, 8:09 PM),                                                                  Joshua Mitts, Elon        A, F, H, K, R      Not offered for
                                                         https://twitter.com/elonmusk/status/992556974263947264.                                                    Musk/Materiality,                            truth/effect on listener
                                                                                                                                                                    Reliance, Loss Causation,
       537           5/4/2018
                                                                                                                                                                    Damages




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                                                        @elonmusk, TWITTER(May 4, 2018, 9:02 AM),                                                                  Joshua Mitts, Elon        A, F, H, K, R   Not offered for
                                                        https://twitter.com/elonmusk/status/992388944774938626.                                                    Musk/Materiality,                         truth/effect on listener
                                                                                                                                                                   Reliance, Loss Causation,
       538           5/4/2018
                                                                                                                                                                   Damages


                                                        What a long strange trip it's been (RBC Capital Research                                                   Michael L.                A, F, H, K, R   Not offered for
                                                        Report, 8/26/2018)                                                                                         Hartzmark/Materiality,                    truth/effect on listener
                                                                                                                                                                   Reliance, Loss Causation,
       539           8/26/2018
                                                                                                                                                                   Damages


                                                        Analysis: Why Elon Musk abandoned his plan to take Tesla                                                   Michael L.                A, F, H, K, R   Not offered for
                                                        private (Ars Technica, 8/25/2018)                                                                          Hartzmark/Materiality,                    truth/effect on listener
                                                                                                                                                                   Reliance, Loss Causation,
       540           8/25/2018
                                                                                                                                                                   Damages


                                                        Casey Quackenbush, Here’s What Happened to Tesla Stock                                                     Joshua Mitts/Materiality, A, F, H, K, R   Not offered for
                                                        After Elon Musk’s Bizarre Attack on Thai Cave Hero, TIME(July                                              Reliance, Loss Causation,                 truth/effect on listener
                                                        17, 2018), https://time.com/5340621/thailand-cave-rescue-                                                  Damages
       541           7/17/2018
                                                        elon-musk-pedo-shares/


                                                        Tesla Isn't Going Private After All: What Happens Now?                                                     Michael L.                A, F, H, K, R   Not offered for
                                                        (Fool.com, 8/25/2018)                                                                                      Hartzmark/Materiality,                    truth/effect on listener
                                                                                                                                                                   Reliance, Loss Causation,
       542           8/25/2018
                                                                                                                                                                   Damages


                                                        Dave Michaels & Michael Rapoport, SEC Probes Tesla CEO                                                     Joshua Mitts/Materiality, A, F, H, K, R   Waiver. Defendants
                                                        Musk’s Tweets, WALL ST.J.(Aug 8, 2018),                                                                    Reliance, Loss Causation,                 include this exhibit on
                                                        https://www.wsj.com/articles/sec-has-made-inquiries-to-tesla-                                              Damages                                   their exhibit list.
       543           8/8/2018
                                                        over-elon-musks-taking-private-tweet-1533757570.


                                                        Sam Pierson, Tesla is heavily shorted across the capital                                                   Joshua Mitts/Materiality, A, F, H, K, R   Waiver. Defendants
                                                        structure, IHSMARKIT (Mar. 26, 2018)                                                                       Reliance, Loss Causation,                 include this exhibit on
                                                        https://ihsmarkit.com/research-analysis/tesla-is-heavily-                                                  Damages                                   their exhibit list.
       544           3/26/2018
                                                        shorted-across-the-capital-structure.html.


                                 PRIMECAP_0000001-      PrimeCap Morning Note (PrimeCap Research Report,                                                           Michael L.                A, F, H, K, R   F.R.E. 703, 902
                                 PRIMECAP_000003        8/20/2018)                                                                                                 Hartzmark/Materiality,
                                                                                                                                                                   Reliance, Loss Causation,
       545           8/20/2018
                                                                                                                                                                   Damages


                                 TESLA_LITTLETON_0002 Giovanni Barone-Adesi, Brown, Keith C., and W. V. Harlow. "On                                                Steven L.                 A, F, H, K, R   Waiver. Defendants
                                 4410-24431           the use of Implied Stock Volatilities in the Prediction of                                                   Heston/Materiality,                       include this exhibit on
                                                      Successful Corporate Takeovers."Advances in Futures and                                                      Reliance, Loss Causation,                 their exhibit list.
       546             1994
                                                      Options Research, vol. 7, 1994, pp. 147-165.                                                                 Damages


                                                        Tesla analysts are casting doubt over Elon Musk plan to go                                                 Michael L.                A, F, H, K, R   F.R.E. 703, 902
                                                        private (Inverse, 8/20/2018)                                                                               Hartzmark/Materiality,
                                                                                                                                                                   Reliance, Loss Causation,
       547           8/20/2018
                                                                                                                                                                   Damages


                                                        Tesla stock price slides again amid doubts over Elon Musk's                                                Michael L.                A, F, H, K, R   F.R.E. 703, 902
                                                        plans (CBS News, 8/20/2018)                                                                                Hartzmark/Materiality,
                                                                                                                                                                   Reliance, Loss Causation,
       548           8/20/2018
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                                                Bloomberg, Silver Lake Denies Talking to Tesla: Reuters,                                                     Guhan                      A, F, H, K, R     Not offered for
                                                BLOOMBERG (August 14, 2018)                                                                                  Subramanian/Falsity,                         truth/effect on listener
                                                                                                                                                             Scienter
       550           8/14/2018



                                                “4,925 Tweets_Elon Musk’s Twitter Habit, Dissected,” The Wall                                                Michael L.                A, F, K, H, R, P   Not offered for
                                                Street Journal, July 31, 2018, available at                                                                  Hartzmark/Materiality,                       truth/effect on listener
                                                http://graphics.wsj.com/elon-musk-twitter-habit-analysis/                                                    Reliance, Loss Causation,
       551           7/31/2018
                                                                                                                                                             Damages


                                                “Musk Makes Startling Proposal to Take Tesla Private,” The                                                   Michael L.                A, F, K, H         Not offered for
                                                Deal August 7, 2018                                                                                          Hartzmark/Materiality,                       truth/effect on listener
                                                                                                                                                             Reliance, Loss Causation,
       552           8/7/2018
                                                                                                                                                             Damages


                                                “Tesla’s Musk Tweets He’s ‘Considering’ Taking Company                                                       Michael L.                A, F, K, H         Not offered for
                                                Private – MarketWatch,” Dow Jones Institutional News, August                                                 Hartzmark/Materiality,                       truth/effect on listener
                                                7, 2018, 1:07 p.m.                                                                                           Reliance, Loss Causation,
       553           8/7/2018
                                                                                                                                                             Damages


                                                “Afternoon of Terror for Tesla Shorts Fomented by Musk’s                                                     Michael L.                A, F, K, H, P      Not offered for
                                                Tweet,” Bloomberg News, August 7, 2018, 1:54 p.m.                                                            Hartzmark/Materiality,                       truth/effect on listener
                                                                                                                                                             Reliance, Loss Causation,
       554           8/7/2018
                                                                                                                                                             Damages


                                                “Tesla Inc. (TSLA) Halted due to pending news,” Dow Jones                                                    Michael L.                A, F, K, H, R      Not offered for
                                                Institutional News, August 7, 2018, 2:08 p.m.                                                                Hartzmark/Materiality,                       truth/effect on listener
                                                                                                                                                             Reliance, Loss Causation,
       555           8/7/2018
                                                                                                                                                             Damages


                                                “Tesla Inc. (TSLA) Resumed Trading,” Dow Jones Institutional                                                 Michael L.                A, F, K, H, R      Not offered for
                                                News, August 7, 2018, 3:45 p.m.                                                                              Hartzmark/Materiality,                       truth/effect on listener
                                                                                                                                                             Reliance, Loss Causation,
       556           8/7/2018
                                                                                                                                                             Damages


                                                “Crazy Ride for Tesla Watchers as Musk Tweets: TOPLive                                                       Michael L.                A, F, K, H, R      Waiver. Defendants
                                                Takeaways,” Bloomberg First Word, August 7, 2018, 4:25 p.m                                                   Hartzmark/Materiality,                       include this exhibit on
                                                                                                                                                             Reliance, Loss Causation,                    their exhibit list.
       557           8/7/2018
                                                                                                                                                             Damages


                                                “Elon Musk Says in Tweet He Is Considering Taking Tesla                                                      Michael L.                A, F, K, H, R      Not offered for
                                                Private -- 3rd Update,” Dow Jones Institutional News, August 7,                                              Hartzmark/Materiality,                       truth/effect on listener
                                                2018, 4:51 p.m                                                                                               Reliance, Loss Causation,
       558           8/7/2018
                                                                                                                                                             Damages


                                                “Tesla boss Musk weighs go-private deal for electric car                                                     Michael L.                A, F, K, H, R      Not offered for
                                                maker,” Agence France Presse, August 7, 2018, 5:01 p.m.                                                      Hartzmark/Materiality,                       truth/effect on listener
                                                                                                                                                             Reliance, Loss Causation,
       559           8/7/2018
                                                                                                                                                             Damages


                                                “Is Tesla going private? Elon Musk claims ‘investor support is                                               Michael L.                A, F, K, H, R      Not offered for
                                                confirmed’ after tweeting plans to privatize at $420 per share,                                              Hartzmark/Materiality,                       truth/effect on listener
                                                in shock announcement that HALTED the stock for almost two                                                   Reliance, Loss Causation,
       560           8/7/2018
                                                hours,” Mail Online, August 7, 2018, 6:41 p.m.                                                               Damages




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                                                “Elon Musk ‘considering’ taking Tesla private, trading                                                          Michael L.                A, F, K, H, R   Not offered for
                                                resumed,” CNET News.com, August 7, 2018.                                                                        Hartzmark/Materiality,                    truth/effect on listener
                                                                                                                                                                Reliance, Loss Causation,
       561           8/7/2018
                                                                                                                                                                Damages


                                                “MW UPDATE: JP Morgan raises Tesla price target but stays                                                       Michael L.                A, F, K, H, R   Not offered for
                                                underweight in case shares trade on fundamentals again,”                                                        Hartzmark/Materiality,                    truth/effect on listener
                                                MarketWatch, August 8, 2018, 7:58 a.m.                                                                          Reliance, Loss Causation,
       562           8/8/2018
                                                                                                                                                                Damages


                                                “07:59 EDT Tesla going private ‘feels like the right thing to do,’                                              Michael L.                A, F, K, H, R   Not offered for
                                                says...,” Theflyonthewall.com, August 8, 2018.                                                                  Hartzmark/Materiality,                    truth/effect on listener
                                                                                                                                                                Reliance, Loss Causation,
       563           8/8/2018
                                                                                                                                                                Damages


                                                Needham analyst warns Tesla’s value is really ‘closer to $200’                                                  Michael L.                A, F, K, H, R   Not offered for
                                                per share, about 30% lower from here (CNBC, 8/20/2018)                                                          Hartzmark/Materiality,                    truth/effect on listener
                                                                                                                                                                Reliance, Loss Causation,
       564           8/20/2018
                                                                                                                                                                Damages


                                                “SEC questions Tesla over Elon Musk’s tweets to take the                                                        Michael L.                A, F, K, H, R   Not offered for
                                                company private; Regulators said to be inquiring whether                                                        Hartzmark/Materiality,                    truth/effect on listener
                                                CEO’s claim was factual,” MarketWatch, August 8, 2018, 1:32                                                     Reliance, Loss Causation,
       565           8/8/2018
                                                p.m.                                                                                                            Damages


                                                “Who could fund Elon Musk’s Tesla buyout?,” Financial Times,                                                    Michael L.                A, F, K, H, R   Not offered for
                                                August 8, 2018, 1:59 p.m.                                                                                       Hartzmark/Materiality,                    truth/effect on listener
                                                                                                                                                                Reliance, Loss Causation,
       566           8/8/2018
                                                                                                                                                                Damages


                                                "SEC IS SAID TO BE LOOKING AT WHETHER MUSK STATEMENT                                                            Michael L.                A, F, K, H, R   Not offered for
                                                TRUTHFUL: DJ,” Bloomberg News, August 8, 2018, 3:45 p.m.                                                        Hartzmark/Materiality,                    truth/effect on listener
                                                                                                                                                                Reliance, Loss Causation,
       567           8/8/2018
                                                                                                                                                                Damages


                                                “SEC Is Said to Have Made Inquiries to Tesla Over Musk Tweet:                                                   Michael L.                A, F, K, H, R   Not offered for
                                                DJ,” Bloomberg First Word, August 8, 2018, 3:49 p.m.                                                            Hartzmark/Materiality,                    truth/effect on listener
                                                                                                                                                                Reliance, Loss Causation,
       568           8/8/2018
                                                                                                                                                                Damages


                                                “SEC Looks Into Musk’s Taking-Tesla-private Tweets: WSJ –                                                       Michael L.                A, F, K, H, R   Not offered for
                                                MarketWatch,” Dow Jones Institutional News, August 8, 2018,                                                     Hartzmark/Materiality,                    truth/effect on listener
                                                4:06 p.m.                                                                                                       Reliance, Loss Causation,
       569           8/8/2018
                                                                                                                                                                Damages


                                                “A couple reasons why Elon Musk could actually pull off his                                                     Michael L.                A, F, K, H, R   Not offered for
                                                wild plan to take Tesla private (TSLA),” Business Insider, August                                               Hartzmark/Materiality,                    truth/effect on listener
                                                8, 2018, 6:28 p.m.                                                                                              Reliance, Loss Causation,
       570           8/8/2018
                                                                                                                                                                Damages


                                                “SEC Probes Tesla CEO Musk’s Tweets; The regulator is                                                           Michael L.                A, F, K, H, R   Not offered for
                                                examining whether Musk’s statement was truthful and why the                                                     Hartzmark/Materiality,                    truth/effect on listener
                                                disclosure was made on Twitter,” The Wall Street Journal                                                        Reliance, Loss Causation,
       571           8/8/2018
                                                Online, August 8, 2018, 7:27 p.m.                                                                               Damages




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                                                “Tesla Shares Sink as Pressure Mounts on Musk to Show the                                                     Michael L.                A, F, K, H, R      Not offered for
                                                Money,” Bloomberg News, August 9, 2018, 11:40 a.m.                                                            Hartzmark/Materiality,                       truth/effect on listener
                                                                                                                                                              Reliance, Loss Causation,
       572           8/9/2018
                                                                                                                                                              Damages


                                                “SEC reportedly ‘intensifying’ examination of Tesla after Elon                                                Michael L.                A, F, K, H, R, P   Not offered for
                                                Musk tweets about taking the company private (TSLA),”                                                         Hartzmark/Materiality,                       truth/effect on listener
                                                Business Insider, August 9, 2018, 2:42 p.m.                                                                   Reliance, Loss Causation,
       573           8/9/2018
                                                                                                                                                              Damages


                                                “Tesla tumbles as US stocks end mostly lower,” Agence France                                                  Michael L.                A, F, K, H, R      Not offered for
                                                Presse, August 9, 2018, 4:22 p.m.                                                                             Hartzmark/Materiality,                       truth/effect on listener
                                                                                                                                                              Reliance, Loss Causation,
       574           8/9/2018
                                                                                                                                                              Damages


                                                “EXCLUSIVE-Tesla's board seeking more information on Musk's                                                   Michael L.                A, F, K, H, R      Not offered for
                                                financing plan -sources,” Reuters News August 9, 2018, 5:50                                                   Hartzmark/Materiality,                       truth/effect on listener
                                                p.m.                                                                                                          Reliance, Loss Causation,
       575           8/9/2018
                                                                                                                                                              Damages


                                                “Exclusive: Tesla’s board seeking more information on Musk’s                                                  Michael L.                A, F, K, H, R      Not offered for
                                                financing plan – sources,” Reuters News, August 9, 2018, 8:26                                                 Hartzmark/Materiality,                       truth/effect on listener
                                                p.m.                                                                                                          Reliance, Loss Causation,
       576           8/9/2018
                                                                                                                                                              Damages


                                                “BUSINESS BEAT; Tesla’s stock surge fizzles; Tumble erases                                                    Michael L.                A, F, K, H, R      Not offered for
                                                gains triggered by Musk’s tweet on privatizing electric car                                                   Hartzmark/Materiality,                       truth/effect on listener
                                                maker,” Los Angeles Times, August 10, 2018.                                                                   Reliance, Loss Causation,
       577           8/10/2018
                                                                                                                                                              Damages


                                                “Bloomberg: Tesla seeking ‘wide’ investor pool for go-private                                                 Michael L.                A, F, K, H, R      Not offered for
                                                plan,” Bloomberg News, August 10, 2018, 3:05 p.m.                                                             Hartzmark/Materiality,                       truth/effect on listener
                                                                                                                                                              Reliance, Loss Causation,
       578           8/10/2018
                                                                                                                                                              Damages


                                                Tesla keeps sliding on doubts it has cash to go private (Detroit                                              Michael L.                A, F, K, H, R      Not offered for
                                                News, 8/20/2018)                                                                                              Hartzmark/Materiality,                       truth/effect on listener
                                                                                                                                                              Reliance, Loss Causation,
       579           8/20/2018
                                                                                                                                                              Damages


                                                Tesla stock jolted as Elon Musk weathers ongoing turmoil                                                      Michael L.                A, F, K, H, R      Not offered for
                                                (Washington Post, 8/20/2018)                                                                                  Hartzmark/Materiality,                       truth/effect on listener
                                                                                                                                                              Reliance, Loss Causation,
       580           8/20/2018
                                                                                                                                                              Damages


                                                “Tesla surges after Elon Musk offers details about his ‘funding                                               Michael L.                A, F, K, H, R      Not offered for
                                                secured’ tweet (TSLA),” Business Insider, August 13, 2018,                                                    Hartzmark/Materiality,                       truth/effect on listener
                                                10:09 a.m.                                                                                                    Reliance, Loss Causation,
       581           8/13/2018
                                                                                                                                                              Damages


                                                “Elon Musk reveals what he meant by his ‘funding secured’                                                     Michael L.                A, F, K, H, R      Not offered for
                                                tweet (TSLA),” Business Insider, August 13, 2018, 10:45 a.m.                                                  Hartzmark/Materiality,                       truth/effect on listener
                                                                                                                                                              Reliance, Loss Causation,
       582           8/13/2018
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                                                “MW UPDATE: Tesla shares swing higher amid confusion about                                                      Michael L.                A, F, K, H, R      Not offered for
                                                Musk’s going-private plan,” MarketWatch, August 13, 2018,                                                       Hartzmark/Materiality,                       truth/effect on listener
                                                5:03 p.m.                                                                                                       Reliance, Loss Causation,
       583           8/13/2018
                                                                                                                                                                Damages


                                                “Tesla’s Odds of Going Private Less Than 50%, Bernstein Says,”                                                  Michael L.                A, F, K, H, R      Not offered for
                                                Bloomberg First Word, August 16, 2018, 7:11 a.m.                                                                Hartzmark/Materiality,                       truth/effect on listener
                                                                                                                                                                Reliance, Loss Causation,
       584           8/16/2018
                                                                                                                                                                Damages


                                                “SEC Is Said Asking How Much Musk Shared With Tesla                                                             Michael L.                A, F, K, H, R, P   Not offered for
                                                Directors:WSJ,” Bloomberg First Word, August 16, 2018, 4:19                                                     Hartzmark/Materiality,                       truth/effect on listener
                                                p.m.                                                                                                            Reliance, Loss Causation,
       585           8/16/2018
                                                                                                                                                                Damages


                                                “Tesla’s stock falls sharply after Elon Musk’s tearful interview,”                                              Michael L.                A, F, K, H, R      Not offered for
                                                CNN Wire, August 17, 2018, 11:51 a.m.                                                                           Hartzmark/Materiality,                       truth/effect on listener
                                                                                                                                                                Reliance, Loss Causation,
       586           8/17/2018
                                                                                                                                                                Damages


                                                “Tesla stock sinks after Musk gives tearful NYT interview,”                                                     Michael L.                A, F, K, H, R, D   Not offered for
                                                Reuters News, August 17, 2018, 4:00 p.m.                                                                        Hartzmark/Materiality,                       truth/effect on listener
                                                                                                                                                                Reliance, Loss Causation,
       587           8/17/2018
                                                                                                                                                                Damages


                                                Elon Musk’s (probably serious) proposal to take Tesla private                                                   Michael L.                A, F, K, H, R      Not offered for
                                                and the fallout, explained (Vox.com, 8/19/2018)                                                                 Hartzmark/Materiality,                       truth/effect on listener
                                                                                                                                                                Reliance, Loss Causation,
       588           8/19/2018
                                                                                                                                                                Damages


                                                “Elon Musk Sued by the SEC for Securities Fraud,” Dow Jones                                                     Michael L.                A, F, K, H, R, P   Not offered for
                                                Institutional News, September 27, 2018, 4:20 p.m.                                                               Hartzmark/Materiality,                       truth/effect on listener
                                                                                                                                                                Reliance, Loss Causation,
       589           9/27/2018
                                                                                                                                                                Damages


                                                “Elon Musk Forced To Step Down As Tesla Chairman To Settle                                                      Michael L.                A, F, K, H, R, P   Not offered for
                                                SEC Fraud Charges – MarketWatch,” Dow Jones Institutional                                                       Hartzmark/Materiality,                       truth/effect on listener
                                                News, September 29, 2018, 5:47 p.m.                                                                             Reliance, Loss Causation,
       590           9/29/2018
                                                                                                                                                                Damages


                                                CFRA, CFRA REITERATES HOLD OPINION ON SHARES OF TESLA,                                                          Michael L.                A, F, K, H, R      Not offered for
                                                INC., August 13, 2018.                                                                                          Hartzmark/Materiality,                       truth/effect on listener
                                                                                                                                                                Reliance, Loss Causation,
       594           8/13/2018
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                                                CFRA, CFRA MAINTAINS HOLD OPINION ON SHARES OF TESLA                                                            Michael L.                A, F, K, H, R      Not offered for
                                                MOTORS, INC., August 27, 2018.                                                                                  Hartzmark/Materiality,                       truth/effect on listener
                                                                                                                                                                Reliance, Loss Causation,
       595           8/27/2018
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                                                Morningstar, Musk Tweets Tesla May Go Private at $420 a                                                         Michael L.                A, F, K, H, R      Waiver. Defendants
                                                Share but Stockholders May Not Have to Sell at That Price,                                                      Hartzmark/Materiality,                       include this exhibit on
                                                August 7, 2018.                                                                                                 Reliance, Loss Causation,                    their exhibit list.
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                                                        UBS Securities, A Disruptive Approach to Disclosing Material                                                Michael L.                A, F, K, H, R      Waiver. Defendants
                                                        Info, August 7, 2018.                                                                                       Hartzmark/Materiality,                       include this exhibit on
                                                                                                                                                                    Reliance, Loss Causation,                    their exhibit list.
       600           8/7/2018
                                                                                                                                                                    Damages


                                                        UBS Securities, SEC Expert Recaps Tesla Twitter Drama, August                                               Michael L.                A, F, K, H, R      F.R.E. 703, 902
                                                        15, 2018.                                                                                                   Hartzmark/Materiality,
                                                                                                                                                                    Reliance, Loss Causation,
       601           8/15/2018
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                               Bernstein_0000000064 TSLA: Is $420/share a reasonable price? Revisiting our                                                          Michael L.                A, F, K, H, R      F.R.E. 703, 902
                                                    valuation and price target (Bernstein Research Report,                                                          Hartzmark/Materiality,
                                                    8/16/2018)                                                                                                      Reliance, Loss Causation,
       602           8/16/2018
                                                                                                                                                                    Damages


                                                        Musk’s take-private proposal for Tesla is a nightmare for                                                   Michael L.                A, F, K, H, R      F.R.E. 703, 902
                                                        potential advisors (CNBC, 8/16/2018)                                                                        Hartzmark/Materiality,
                                                                                                                                                                    Reliance, Loss Causation,
       603           8/16/2018
                                                                                                                                                                    Damages


                                                        Tesla’s Odds of Going Private Might Be Less Than 50% (Barrons,                                              Michael L.                A, F, K, H, R      F.R.E. 703, 902
                                                        8/16/2018)                                                                                                  Hartzmark/Materiality,
                                                                                                                                                                    Reliance, Loss Causation,
       604           8/16/2018
                                                                                                                                                                    Damages


                                 PRIMECAP_0000276       PrimeCap Morning Note (PrimeCap Research Report,                                                            Michael L.                A, F, K, H, R      F.R.E. 703, 902
                                                        8/16/2018)                                                                                                  Hartzmark/Materiality,
                                                                                                                                                                    Reliance, Loss Causation,
       605           8/16/2018
                                                                                                                                                                    Damages


                                                        Twitter post “Staying Public,” @Tesla, August 24, 2018, 11:15                                               Michael L.                A, F, K, H, R, D   Not offered for
                                                        p.m.                                                                                                        Hartzmark/Materiality,                       truth/effect on listener
                                                                                                                                                                    Reliance, Loss Causation,
       614           8/24/2018
                                                                                                                                                                    Damages


                                                        Complaint in U.S. Securities and Exchange Commission vs. Elon                                               Michael L.                A, F, K, H, R, P   Not offered for
                                                        Musk filed September 27, 2018.                                                                              Hartzmark/Materiality,                       truth/effect on listener
                                                                                                                                                                    Reliance, Loss Causation,
       615           9/27/2018
                                                                                                                                                                    Damages


                                                        Complaint in U.S. Securities and Exchange Commission vs.                                                    Michael L.                A, F, K, H, R, P   Not offered for
                                                        Tesla, Inc. filed September 29, 2018.                                                                       Hartzmark/Materiality,                       truth/effect on listener
                                                                                                                                                                    Reliance, Loss Causation,
       616           9/29/2018
                                                                                                                                                                    Damages


                                                        “SEC Says Social Media Ok for Company Announcements if                                                      Michael L.                A, F, K, H, R      Not offered for
                                                        Investors Are Alerted,” Securities and Exchange Commission                                                  Hartzmark/Materiality,                       truth/effect on listener
                                                        Documents, April 2, 2013, available at                                                                      Reliance, Loss Causation,
       617           4/2/2013
                                                        https://www.sec.gov/news/press-release/2013-2013-51htm.                                                     Damages


                                                        “Elon Musk Settles SEC Fraud Charges; Tesla Charged With and                                                Michael L.                A, F, K, H, R      Not offered for
                                                        Resolves Securities Law Charge,” Securities and Exchange                                                    Hartzmark/Materiality,                       truth/effect on listener
                                                        Commission Documents, September 29, 2018, available at                                                      Reliance, Loss Causation,
       618           9/29/2018                          https://www.sec.gov/news/press-release/2018-                                                                Damages
                                                        226#:~:text=Musk%20and%20Tesla%20will%20each,under%20
                                                        a%20court%2Dapproved%20process.




                                                                                                                                         43
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                                                                                                                                             Defendants Sponsoring Plaintiffs Sponsoring                                                                Defendants'
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                                                                                                                                                Purpose at Trial           at Trial                                                                      Objections
                                                    2018 TRACE Fact Book, https://www.finra.org/filing-                                                            Michael L.                A, F, K, H, R   Not offered for
                                                    reporting/trace/trace-fact-book.                                                                               Hartzmark/Materiality,                    truth/effect on listener
                                                                                                                                                                   Reliance, Loss Causation,
       619
                                                                                                                                                                   Damages


                                                    Tesla shares surge 10% after Elon Musk shocks market with                                                      Michael L.                A, F, K, H, R   Not offered for
                                                    tweet about going private (CNBC, 8/7/2018)                                                                     Hartzmark/Materiality,                    truth/effect on listener
                                                                                                                                                                   Reliance, Loss Causation,
       620           8/7/2018
                                                                                                                                                                   Damages


                                                    Oh, wow, man! Elon Musk’s tweets about taking Tesla private                                                    Michael L.                A, F, K, H, R   Not offered for
                                                    spark a stock spike (Geek Wire, 8/7/2018)                                                                      Hartzmark/Materiality,                    truth/effect on listener
                                                                                                                                                                   Reliance, Loss Causation,
       621           8/7/2018
                                                                                                                                                                   Damages


                                                    Elon Musk considers taking Tesla private at over $70 billion, he                                               Michael L.                A, F, K, H, R   Not offered for
                                                    says he has the money (Electrek, 8/7/2018)                                                                     Hartzmark/Materiality,                    truth/effect on listener
                                                                                                                                                                   Reliance, Loss Causation,
       622           8/7/2018
                                                                                                                                                                   Damages


                                                    Musings about going private is the latest strange twist (Barclays                                              Michael L.                A, F, K, H, R   Not offered for
                                                    Research Report, 8/7/2018 8:55 PM)                                                                             Hartzmark/Materiality,                    truth/effect on listener
                                                                                                                                                                   Reliance, Loss Causation,
       623           8/7/2018
                                                                                                                                                                   Damages


                                TRP02712-TRP02715   Redburn's View from 5th Avenue (Redburn Research Report,                                                       Michael L.                A, F, K, H, R   Not offered for
                                                    8/7/2018)                                                                                                      Hartzmark/Materiality,                    truth/effect on listener
                                                                                                                                                                   Reliance, Loss Causation,
       624           8/7/2018
                                                                                                                                                                   Damages


                                TRP02274-TRP02276   Shorts may be burned for now … but buyer beware (Bank of                                                       Michael L.                A, F, K, H, R   Waiver. Defendants
                                                    America Merrill Lynch Research Report, 8/7/2018)                                                               Hartzmark/Materiality,                    include this exhibit on
                                                                                                                                                                   Reliance, Loss Causation,                 their exhibit list.
       625           8/7/2018
                                                                                                                                                                   Damages


                                TRP02282-TRP02283   Thoughts on Elon's tweet - Go Private Offer at $420 (Cowen                                                     Michael L.                A, F, K, H, R   Waiver. Defendants
                                                    Research Report, 8/7/2018)                                                                                     Hartzmark/Materiality,                    include this exhibit on
                                                                                                                                                                   Reliance, Loss Causation,                 their exhibit list.
       626           8/7/2018
                                                                                                                                                                   Damages


                                                    Tesla Buyout: Who Knew What, And When Did They Know It?                                                        Michael L.                A, F, K, H, R   Not offered for
                                                    (Seeking Alpha, 8/7/2018)                                                                                      Hartzmark/Materiality,                    truth/effect on listener
                                                                                                                                                                   Reliance, Loss Causation,
       627           8/7/2018
                                                                                                                                                                   Damages


                                                    Tesla shares soar after Elon Musk floats plan to take company                                                  Michael L.                A, F, K, H, R   Not offered for
                                                    private (The Guardian, 8/7/2018)                                                                               Hartzmark/Materiality,                    truth/effect on listener
                                                                                                                                                                   Reliance, Loss Causation,
       628           8/7/2018
                                                                                                                                                                   Damages


                                                    Musk Considers Taking Tesla Private (Morningstar, 8/7/2018)                                                    Michael L.                A, F, K, H, R   Not offered for
                                                                                                                                                                   Hartzmark/Materiality,                    truth/effect on listener
                                                                                                                                                                   Reliance, Loss Causation,
       629           8/7/2018
                                                                                                                                                                   Damages




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                       Date                                                                                                                                                                   Defendants         Objections                  Plaintiffs                  Comments
                                                                                                                                                   Purpose at Trial           at Trial                                                                      Objections
                                TRP02302-TRP02306       $420 Not High Enough, Expect Shares to Trade Above Marker                                                     Michael L.                A, F, K, H, R   Waiver. Defendants
                                                        (Baird Research Report, 8/8/2018)                                                                             Hartzmark/Materiality,                    include this exhibit on
                                                                                                                                                                      Reliance, Loss Causation,                 their exhibit list.
       630           8/8/2018
                                                                                                                                                                      Damages


                                                        Elon Musk's Tesla buyout would reengineer take-private deals                                                  Michael L.                A, F, K, H, R   Not offered for
                                                        (Reuters News, 8/8/2018)                                                                                      Hartzmark/Materiality,                    truth/effect on listener
                                                                                                                                                                      Reliance, Loss Causation,
       631           8/8/2018
                                                                                                                                                                      Damages


                                                     Elon Musk May Want Tesla Private: We Question the Feasibility                                                    Michael L.                F, K, H, R      Waiver. Defendants
                                                     of a Potential Transaction (Morgan Stanley Research Report,                                                      Hartzmark/Materiality,                    include this exhibit on
                                TESLA_LITTLETON_0002
                                                     8/8/2018)                                                                                                        Reliance, Loss Causation,                 their exhibit list.
       632           8/8/2018   2536-
                                                                                                                                                                      Damages
                                TESLA_LITTLETON_0002
                                2547
                                                     Reactions To Tesla Plan To Go Private Range From 'Crazy' To                                                      Michael L.                A, F, K, H, R   Not offered for
                                                     'Bring It On' (Forbes, 8/8/2018)                                                                                 Hartzmark/Materiality,                    truth/effect on listener
                                                                                                                                                                      Reliance, Loss Causation,
       633           8/8/2018
                                                                                                                                                                      Damages


                                                        Morgan Stanley: Can Musk really take Tesla private? (Seeking                                                  Michael L.                A, F, K, H, R   Not offered for
                                                        Alpha, 8/8/2018)                                                                                              Hartzmark/Materiality,                    truth/effect on listener
                                                                                                                                                                      Reliance, Loss Causation,
       634           8/8/2018
                                                                                                                                                                      Damages


                                SEC-EPROD-000002540- (TSLA): Considerations for a buy-out -- key questions following                                                  Michael L.                A, F, K, H, R   Not offered for
                                46                   CEO's MBO announcement (Goldman Sachs Research Report,                                                           Hartzmark/Materiality,                    truth/effect on listener
                                                     8/8/2018)                                                                                                        Reliance, Loss Causation,
       635           8/8/2018
                                                                                                                                                                      Damages


                                TRP02398-TRP02406       Citi Industrials & Materials Daily (Citi Research Report,                                                     Michael L.                F, K, H, R      Not offered for
                                                        8/8/2018)                                                                                                     Hartzmark/Materiality,                    truth/effect on listener
                                                                                                                                                                      Reliance, Loss Causation,
       636           8/8/2018
                                                                                                                                                                      Damages


                                                        ‘This is out there, even for Tesla’ — what every major analyst                                                Michael L.                A, F, K, H, R   Not offered for
                                                        has to say about Musk’s surprising proposal. (CNBC, 8/8/2018)                                                 Hartzmark/Materiality,                    truth/effect on listener
                                                                                                                                                                      Reliance, Loss Causation,
       637           8/8/2018
                                                                                                                                                                      Damages


                                                        Tesla board mulling Musk’s idea to take company private (New                                                  Michael L.                A, F, K, H, R   Not offered for
                                                        York Post, 8/8/2018)                                                                                          Hartzmark/Materiality,                    truth/effect on listener
                                                                                                                                                                      Reliance, Loss Causation,
       638           8/8/2018
                                                                                                                                                                      Damages


                                                        Wall Street analysts weigh in on Tesla's potential path to                                                    Michael L.                A, F, K, H, R   Not offered for
                                                        privatization (ProactiveInvestors.com, 8/8/2018)                                                              Hartzmark/Materiality,                    truth/effect on listener
                                                                                                                                                                      Reliance, Loss Causation,
       639           8/8/2018
                                                                                                                                                                      Damages


                                                        ‘Less than 50 percent’ Musk will pull this off, says Bernstein’s                                              Michael L.                A, F, K, H, R   Not offered for
                                                        Sacconaghi (CNBC, 8/8/2018)E505:E510                                                                          Hartzmark/Materiality,                    truth/effect on listener
                                                                                                                                                                      Reliance, Loss Causation,
       640           8/8/2018
                                                                                                                                                                      Damages




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                                                      Questions Remain; Overweight-rated TSLA Not Going Private                                                     Michael L.                A, F, K, H, R   Not offered for
                                                      Anytime Soon (PiperJaffray Research Report, 8/8/2018)                                                         Hartzmark/Materiality,                    truth/effect on listener
                                                                                                                                                                    Reliance, Loss Causation,
       641           8/8/2018
                                                                                                                                                                    Damages


                                                      It’s been 24 hours and Tesla still hasn’t said where its secured                                              Michael L.                A, F, K, H, R   Not offered for
                                                      financing is coming from — here’s what that probably means                                                    Hartzmark/Materiality,                    truth/effect on listener
                                                      (CNBC, 8/8/2018)                                                                                              Reliance, Loss Causation,
       642           8/8/2018
                                                                                                                                                                    Damages


                                                      Doing the Right Stuff, but Who Might be Tesla's Next Large                                                    Michael L.                A, F, K, H, R   Not offered for
                                                      Shareholder? (Jefferies Research Report, 8/8/2018)                                                            Hartzmark/Materiality,                    truth/effect on listener
                                                                                                                                                                    Reliance, Loss Causation,
       643           8/8/2018
                                                                                                                                                                    Damages


                                                      Wall Street weighs in on Musk’s Tesla buyout idea (Quoting                                                    Michael L.                A, F, K, H, R   Not offered for
                                                      Analysts from J.P. Morgan, Baird, UBS, Evercore & (Financial                                                  Hartzmark/Materiality,                    truth/effect on listener
                                                      Times, 8/8/2018)                                                                                              Reliance, Loss Causation,
       644           8/8/2018
                                                                                                                                                                    Damages


                                                      Here’s what Tesla would have to do to go private (KXLY.com,                                                   Michael L.                A, F, K, H, R   Not offered for
                                                      8/8/2018)                                                                                                     Hartzmark/Materiality,                    truth/effect on listener
                                                                                                                                                                    Reliance, Loss Causation,
       645           8/8/2018
                                                                                                                                                                    Damages


                                                      Musk's master plan to take Tesla private looks doubtful (New                                                  Michael L.                A, F, K, H, R   Not offered for
                                                      Zealand Herald, 8/8/2018)                                                                                     Hartzmark/Materiality,                    truth/effect on listener
                                                                                                                                                                    Reliance, Loss Causation,
       646           8/8/2018
                                                                                                                                                                    Damages


                                                      Here's what Tesla would have to do to go private (CNN Money,                                                  Michael L.                A, F, K, H, R   Not offered for
                                                      8/8/2018)                                                                                                     Hartzmark/Materiality,                    truth/effect on listener
                                                                                                                                                                    Reliance, Loss Causation,
       647           8/8/2018
                                                                                                                                                                    Damages


                                                      Tesla's Board Responds To Musk's Tweet Thunderstorm On                                                        Michael L.                A, F, K, H, R   Not offered for
                                                      Going Private (Investors.com, 8/8/2018)                                                                       Hartzmark/Materiality,                    truth/effect on listener
                                                                                                                                                                    Reliance, Loss Causation,
       648           8/8/2018
                                                                                                                                                                    Damages


                                                      Wall Street Salivates After Elon Musk Floats Taking Tesla                                                     Michael L.                A, F, K, H, R   Not offered for
                                                      Private (The New York Times, 8/8/2018)                                                                        Hartzmark/Materiality,                    truth/effect on listener
                                                                                                                                                                    Reliance, Loss Causation,
       649           8/8/2018
                                                                                                                                                                    Damages


                                                      Musk Goes All-In With A Privatization Offer, Is He Bluffing?                                                  Michael L.                A, F, K, H, R   Not offered for
                                                      (Seeking Alpha, 8/9/2018)                                                                                     Hartzmark/Materiality,                    truth/effect on listener
                                                                                                                                                                    Reliance, Loss Causation,
       650           8/9/2018
                                                                                                                                                                    Damages


                                TRP001897-TRP001902 MRA - Does the options market believe Elon Musk? (Macro                                                         Michael L.                F, K, H, R      Not offered for
                                                    Risk Advisors Research Report, 8/9/2018)                                                                        Hartzmark/Materiality,                    truth/effect on listener
                                                                                                                                                                    Reliance, Loss Causation,
       651           8/9/2018
                                                                                                                                                                    Damages




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                                                           Wall Street to Elon Musk: Show Us the Money (Time,                                                          Michael L.                A, F, K, H, R      Not offered for
                                                           8/9/2018)                                                                                                   Hartzmark/Materiality,                       truth/effect on listener
                                                                                                                                                                       Reliance, Loss Causation,
       652           8/9/2018
                                                                                                                                                                       Damages


                                                           Tesla: How Much Cash Should It Realistically Secure? (Seeking                                               Michael L.                A, F, K, H, R      Not offered for
                                                           Alpha, 8/9/2018)                                                                                            Hartzmark/Materiality,                       truth/effect on listener
                                                                                                                                                                       Reliance, Loss Causation,
       653           8/9/2018
                                                                                                                                                                       Damages


                                                           How Musk Could Fund Taking Tesla Private (CleanTechnica,                                                    Michael L.                A, F, K, H, R      Not offered for
                                                           8/9/2018)                                                                                                   Hartzmark/Materiality,                       truth/effect on listener
                                                                                                                                                                       Reliance, Loss Causation,
       654           8/9/2018
                                                                                                                                                                       Damages


                                 Tesla Sec. Litig.-005534- EvrISI Autos Pitstop: China sales - / TSLA headlines / US 25%                                               Michael L.                F, K, H, R         Not offered for
                                 Tesla Sec. Litig.-005537 tariffs (Evercore ISI Research Report, 8/9/2018)                                                             Hartzmark/Materiality,                       truth/effect on listener
                                                                                                                                                                       Reliance, Loss Causation,
       655           8/9/2018
                                                                                                                                                                       Damages


                                                           Musk’s go-private proposal to be studied by Tesla board (The                                                Michael L.                A, F, K, H, R      Not offered for
                                                           Detroit News, 8/9/2018)                                                                                     Hartzmark/Materiality,                       truth/effect on listener
                                                                                                                                                                       Reliance, Loss Causation,
       656           8/9/2018
                                                                                                                                                                       Damages


                                                           Tesla to be examined by SEC over Elon Musk's 'funding                                                       Michael L.                A, F, K, H, R, P   Not offered for
                                                           secured' tweet – report (The Guardian, 8/9/2018)                                                            Hartzmark/Materiality,                       truth/effect on listener
                                                                                                                                                                       Reliance, Loss Causation,
       657           8/9/2018
                                                                                                                                                                       Damages


                                 TRP002620-TRP002622 Tesla holdings brief (T. Rowe Price Research Report, 8/9/2018)                                                    Michael L.                F, K, H, R         Not offered for
                                                                                                                                                                       Hartzmark/Materiality,                       truth/effect on listener
                                                                                                                                                                       Reliance, Loss Causation,
       658           8/9/2018
                                                                                                                                                                       Damages


                                                           Tesla's tweet-fueled surge wanes (Northwest Arkansas                                                        Michael L.                A, F, K, H, R      Not offered for
                                                           Democrat, 8/10/2018)                                                                                        Hartzmark/Materiality,                       truth/effect on listener
                                                                                                                                                                       Reliance, Loss Causation,
       659           8/10/2018
                                                                                                                                                                       Damages


                                                           Tesla Going Private? The Next Leg Of The Short Thesis (Seeking                                              Michael L.                A, F, K, H, R      Not offered for
                                                           Alpha, 8/10/2018)                                                                                           Hartzmark/Materiality,                       truth/effect on listener
                                                                                                                                                                       Reliance, Loss Causation,
       660           8/10/2018
                                                                                                                                                                       Damages


                                                           Musk's plan to take Tesla private and allow outside                                                         Michael L.                A, F, K, H, R      Not offered for
                                                           shareholders is not an easy path. Musk’s idea of a special                                                  Hartzmark/Materiality,                       truth/effect on listener
                                                           purpose fund is unwieldy, meant for angel investors and small                                               Reliance, Loss Causation,
       661           8/11/2018
                                                           start-ups (Market Watch, 8/11/2018)                                                                         Damages


                                 JPMS_00012930-12937 Top 5 Investor Questions on Tesla Potentially Going Private                                                       Michael L.                F, K, H, R         Not offered for
                                                     (Morgan Stanley Research Report, 8/13/2018)                                                                       Hartzmark/Materiality,                       truth/effect on listener
                                                                                                                                                                       Reliance, Loss Causation,
       662           8/13/2018
                                                                                                                                                                       Damages




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                                 JPMS_00000589          Takeaways from 2018 J.P. Morgan Automotive Conference:                                                                        Michael L.                F, K, H, R      Not offered for
                                                        Outlook for Global Sales, Production, Trade, & Autonomous                                                                     Hartzmark/Materiality,                    truth/effect on listener
                                                        Driving (J.P. Morgan Research Report, 8/13/2018)                                                                              Reliance, Loss Causation,
       663           8/13/2018
                                                                                                                                                                                      Damages


                                                        Elon Musk confirms his bid to take Tesla private, backed by                                                                   Michael L.                A, F, K, H, R   Not offered for
                                                        Saudi Arabia’s sovereign wealth fund (Tech Crunch, 8/13/2018)                                                                 Hartzmark/Materiality,                    truth/effect on listener
                                                                                                                                                                                      Reliance, Loss Causation,
       664           8/13/2018                                                                                                                                                        Damages, Market
                                                                                                                                                                                      efficiency for Tesla
                                                                                                                                                                                      common stock and
                                                                                                                                                                                      options
                                                        The Never-Ending Shenanigans of Elon Musk (Slate.com,                                                                         Michael L.                A, F, K, H, R   Not offered for
                                                        8/13/2018)                                                                                                                    Hartzmark/Materiality,                    truth/effect on listener
                                                                                                                                                                                      Reliance, Loss Causation,
       665           8/13/2018
                                                                                                                                                                                      Damages


                                                        Whither Tesla After The 'Secured Funding'? (Seeking Alpha,                                                                    Michael L.                A, F, K, H, R   Not offered for
                                                        8/14/2018)                                                                                                                    Hartzmark/Materiality,                    truth/effect on listener
                                                                                                                                                                                      Reliance, Loss Causation,
       666           8/14/2018
                                                                                                                                                                                      Damages


                                                        This whole conversation ‘will end in the next year with Tesla                                                                 Michael L.                A, F, K, H, R   Not offered for
                                                        going private,’ Gene Munster says (CNBC, 8/13/2018)                                                                           Hartzmark/Materiality,                    truth/effect on listener
                                                                                                                                                                                      Reliance, Loss Causation,
       667           8/13/2018
                                                                                                                                                                                      Damages


                                                        Elon Musk Reveals New Plan for Taking Tesla Private                                                                           Michael L.                A, F, K, H, R   Not offered for
                                                        (Entrepreneur, 8/13/2018)                                                                                                     Hartzmark/Materiality,                    truth/effect on listener
                                                                                                                                                                                      Reliance, Loss Causation,
       668           8/13/2018
                                                                                                                                                                                      Damages


                                                        Musk's Backstory On Taking Tesla Private Suggests Tweet                                                                       Michael L.                A, F, K, H, R   Not offered for
                                                        Jumped The Gun (Forbes, 8/13/2018)                                                                                            Hartzmark/Materiality,                    truth/effect on listener
                                                                                                                                                                                      Reliance, Loss Causation,
       669           8/13/2018
                                                                                                                                                                                      Damages


                                                        Elon Musk’s latest salvo raises more questions than it answers                                                                Michael L.                A, F, K, H, R   Not offered for
                                                        Financial Times, 8/13/2018)                                                                                                   Hartzmark/Materiality,                    truth/effect on listener
                                                                                                                                                                                      Reliance, Loss Causation,
       670           8/13/2018
                                                                                                                                                                                      Damages


                                 TESLA_LITTLETON_0001               Email from Karen King to Sarah O'Brien                    Re: Communications                Arnold/Falsity                                                                               F, K, H, R,   Business records
                                        0995-97                                                                                                                                                                                                                               exception
       700           8/14/2018



                                 TESLA_LITTLETON_0001               Email from Dave Arnold to Todd Maron                 FW: Tesla Go Private Timeline &    Arnold, Teller/ Falsity                                                                          F, K, H, R,   Business records
                                        1198-99                                                                                    Questions                                                                                                                                  exception
       701           8/16/2018



                                 TESLA_LITTLETON_0001      Email from Deepak Ahuja to Brad Buss with attachments                  Re: Advisors               Ahuja, Buss/Falsity                                                                              F, K, H      Business records
                                        3236-53                                                                                                                                                                                                                               exception
       702           8/13/2018




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                                 TESLA_LITTLETON_0001   Email from Deepak Ahuja to Owuraka Koney                 Re: hey                 Ahuja/ Foundation,                                                                    F, K, H      Business records
                                        3506-07                                                                                           Falsity, Scienter                                                                                    exception
       703           8/7/2018



                                 TESLA_LITTLETON_0001   Email from Teresa Moraska to Ira Ehrenpreis   Crown Prince Meeting with Elon   Ehrenpreis/ Foundation,                                                                F, K, H, R,   Business records
                                          6876                                                                    Musk                         Falsity                                                                                         exception
       704           3/24/2018



                                 TESLA_LITTLETON_0001     Email from Aaron Chew to Dave Arnold          RE: Major Investor Inquires    Arnold/Falsity, Scienter                                                                F, K, H      Business records
                                        8257-58                                                                                                                                                                                                exception
       705           8/7/2018



                                 TESLA_LITTLETON_0001     Email from Dave Arnold to Todd Maron            FW: musk comment to          Arnold/Falsity, Scienter                                                                F, K, H      Business records
                                          8283                                                         private/public from our 2015                                                                                                            exception
                                                                                                                interivew
       706           8/7/2018



                                 TESLA_LITTLETON_0001    Email from Sarah O'Brien to Todd Maron           FW: Hello! Re, tweets            Teller, Arnold/                                                                     F, K, H      Business records
                                        8589-90                                                                                          Foundation, Falsity                                                                                   exception
       707           8/13/2018



                                 TESLA_LITTLETON_0001     Email from Deepak Ahuja to Elon Musk          Re: TSLA shares ownership      E. Musk, Ahuja/ Falsity,                                                                F, K, H      Business records
                                        8973-74                                                                                               Scienter                                                                                         exception
       708           8/7/2018



                                 TESLA_LITTLETON_0001     Email from Karen King to Sarah O'Brien           Re: Communications           Teller, Durban, Dees/                                                                  F, K, H      Business records
                                        9169-72                                                                                                 Falsity                                                                                        exception
       709           8/15/2018



                                 TESLA_LITTLETON_0001      Email from Dave Arnold to Dana Hull            RE: you owe me dinner             Arnold/Falsity                                                                     F, K, H      Business records
                                        9196-98                                                                                                                                                                                                exception
       710           8/25/2018



                                 TESLA_LITTLETON_0002    Email from Antonio Gracias to Elon Musk          Re: Elon - NYT update        E. Musk, K. Musk, Teller,                                                               F, K, H      Business records
                                        0055-62                                                                                        Gracias/ Falsity, Scienter                                                                              exception
       711           8/25/2018



                                 TESLA_LITTLETON_0001   Email from Martin Viecha to Deepak Ahuja           Re: Share ownership              Ahuja, Falsity                                                                     F, K, H      Business records
                                        2965-73                                                                                                                                                                                                exception
       712           8/7/2018



                                 TESLA_LITTLETON_0001   Email from Deepak Ahuja to Martin Viecha                Re: Why?                    Ahuja, Falsity                                                                     F, K, H      Business records
                                          3504                                                                                                                                                                                                 exception
       713           8/7/2018




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                                 TSLA_PROD0395234-36                  Email from Elon Musk to Tim Higgins                            Re: wsj               Musk/Falsity, Scienter                                                                  F, K, H        FRE 803(3)


       714           8/25/2018



                                 LITTLETON_00001835-              Email from Touch Support to Glen Littleton              Light Speed # [REDACTED] Daily    Littleton/Foundation                                                                   F, K, H      No out of court
                                          50                                                                                     Reports 8/13/2018                                                                                                                statement
       715           8/14/2018



                                          N/A              Road Show Article - "Google Nearly bought Tesla for $6B in                                      Musk/Falsity, Scienter                                                                  F, K, H      Not offered for
                                                                                    2013"                                                                                                                                                                       truth/effect on
                                                                                                                                                                                                                                                                    listener
       716           4/20/2015



                                 LITTLETON_00001728-              Email from Touch Support to Glen Littleton              Light Speed # [REDACTED] Daily    Littleton/Foundation                                                                   F, K, H      Party opponent
                                          33                                                                                     Reports 8/8/2018                                                                                                                 statement
       717           8/9/2018



                                 LITTLETON_00001743-              Email from Touch Support to Glen Littleton              Light Speed # [REDACTED] Daily    Littleton/Foundation                                                                   F, K, H      Party opponent
                                          47                                                                                     Reports 8/6/2018                                                                                                                 statement
       718           8/7/2018



                                 LITTLETON_00001802-              Email from Touch Support to Glen Littleton              Light Speed # [REDACTED] Daily    Littleton/Foundation                                                                   F, K, H      Party opponent
                                          07                                                                                     Reports 8/10/2018                                                                                                                statement
       719           8/13/2018



                                 TESLA_LITTLETON_0002      Barclays Equity Research - Tesla, Inc. - Time for Even 'blue                                     Fischel/ Foundation,
                                        2473-85                               pillers' to cash out?                                                         Materiality, Reliance,
                                                                                                                                                               Expert Reliance
       720           8/14/2018



                                 TESLA_LITTLETON_0002         RBC Capital Markets Equity Research - On Tesla $420                                           Fischel/ Foundation,
                                        2486-94                                                                                                             Materiality, Reliance,
                                                                                                                                                               Expert Reliance
       721           8/7/2018



                                 TESLA_LITTLETON_0002 Evercore ISI - EvrlSI Autos Pitstop: High-speed networking/TSLA                                       Fischel/ Foundation,
                                        2518-23            trip/ NA Trucks/LDN mobility cap/On-car advertising                                              Materiality, Reliance,
                                                                                                                                                               Expert Reliance
       722           8/17/2018



                                 TESLA_LITTLETON_0002 Bank of America Merrill Lynch Equity Research - Tesla Motors:                                         Fischel/ Foundation,
                                        2524-28            Shorts May be Burned for now…but buyer beware                                                    Materiality, Reliance,
                                                                                                                                                               Expert Reliance
       723           8/7/2018



                                 TESLA_LITTLETON_0002      Baird Equity Research - Tesla, Inc - $420 Not High Enough,                                       Fischel/ Foundation,
                                        2529-35                      Expect Shares to Trade Above Marker                                                    Materiality, Reliance,
                                                                                                                                                               Expert Reliance
       724           8/8/2018




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                                 TESLA_LITTLETON_0002 WSJ - Musk Looks to Take Tesla Private - Tweet on what would                                        Fischel/ Foundation,                                                                   F, K, H      Not offered for
                                        2633-35       be mammoth buyout surprises investors, drives stock up 11%                                          Materiality, Reliance,                                                                              truth/effect on
                                                                                                                                                             Expert Reliance                                                                                      listener
       725           8/8/2018



                                 TESLA_LITTLETON_0002     Business Insider - It is now abundantly clear that Elon Musk                                     Littleton/ Reliance                                                                   F, K, H      Not offered for
                                        2682-84                         does not have 'funding secured'                                                                                                                                                       truth/effect on
                                                                                                                                                                                                                                                                  listener
       726           8/13/2018



                                 TESLA_LITTLETON_0002          Insitutional Investor - Elon Musk versus the Haters                                        Fischel/ Foundation,                                                                   F, K, H      Not offered for
                                        2690-95                                                                                                           Materiality, Reliance,                                                                              truth/effect on
                                                                                                                                                             Expert Reliance                                                                                      listener
       727           10/2/2017



                                 TESLA_LITTLETON_0002 A|B Bernstein - Tesla: Going private? Who knows…does Elon?                                          Fischel/ Foundation,
                                        3388-99                                                                                                           Materiality, Reliance,
                                                                                                                                                             Expert Reliance
       728           8/8/2018



                                 TESLA_LITTLETON_0002    PiperJaffray Company Note - Questions Remain; Overweight-                                        Fischel/ Foundation,
                                        3428-31                   rated TSLA Not Going Private Anytime Soon                                               Materiality, Reliance,
                                                                                                                                                             Expert Reliance
       729           8/8/2018



                                 TESLA_LITTLETON_0002    Bloomberg News - Tesla Said to Draw Saudi Interest as Board                                      Fischel/ Foundation,                                                                   F, K, H      Not offered for
                                        2687-89                             Prepares to Meet                                                              Materiality, Reliance,                                                                              truth/effect on
                                                                                                                                                             Expert Reliance                                                                                      listener
       730           8/12/2018



                                 TESLA_LITTLETON_0002 Cowen Equity Research - Thoughts on Elon's Tweet - Go Private                                       Fischel/ Foundation,
                                        3382-87                              Offer at $420                                                                Materiality, Reliance,
                                                                                                                                                             Expert Reliance
       731           8/7/2018



                                 TESLA_LITTLETON_0002        Oppenheimer Intraday Report - TSLA: Going Private?                                           Fischel/ Foundation,                                                                   F, K, H      Not offered for
                                        3400-03                                                                                                           Materiality, Reliance,                                                                              truth/effect on
                                                                                                                                                             Expert Reliance                                                                                      listener
       732           8/8/2018



                                 TESLA_LITTLETON_0002     Barclays - Tesla Inc - Musing about going private is the latest                                 Fischel/ Foundation,
                                        3413-18                                    strange twist                                                          Materiality, Reliance,
                                                                                                                                                             Expert Reliance
       733           8/7/2018



                                 TESLA_LITTLETON_0002       Berenberg - Private Tesla to send ripples across industry                                     Fischel/ Foundation,                                                                   F, K, H      Not offered for
                                        3455-61                                                                                                           Materiality, Reliance,                                                                              truth/effect on
                                                                                                                                                             Expert Reliance                                                                                      listener
       734           8/8/2018



                                 LITTLETON_00001901-     Email from Touch Support to Glen Littleton with attachments        LightSpeed # Daily Reports    Littleton/Foundation                                                                   F, K, H      Party opponent
                                          06                                                                                       8/14/2018                                                                                                                    statement
       735           8/15/2018




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                                  LITTLETON_00002112-   Email from Touch Support to Glen Littleton with attachments   LightSpeed # Daily Reports    Littleton/Foundation                                                                     F, K, H         Party opponent
                                           17                                                                                8/16/2018                                                                                                                         statement
       736           8/17/2018



                                  LITTLETON_00003496-   Email from Touch Support to Glen Littleton with attachments   LightSpeed # Daily Reports    Littleton/Foundation                                                                     F, K, H         Party opponent
                                          501                                                                                 8/7/2018                                                                                                                         statement
       737           8/8/2018



                                  LITTLETON_00005296-   Email from Touch Support to Glen Littleton with attachments   LightSpeed # Daily Reports    Littleton/Foundation                                                                     F, K, H         Party opponent
                                          301                                                                                 8/9/2018                                                                                                                         statement
       738           8/10/2018



                                  LITTLETON_00006555-                  LightSpeed Account Summary                                                    Littleton/ Damages                                                                 B (Duplicate of D-
                                           95                                                                                                                                                                                                0026)
                     8/1/2018 -
       739           8/31/2018


                                  LITTLETON_00006964-                  LightSpeed Account Summary                                                    Littleton/ Damages                                                                      F, K, H          No out of court
                                           68                                                                                                                                                                                                                  statement;
                                                                                                                                                                                                                                                             business records
       740           8/7/2018
                                                                                                                                                                                                                                                                exception


                                  LITTLETON_00006969-                  LightSpeed Account Summary                                                    Littleton/ Damages                                                                      F, K, H          No out of court
                                           81                                                                                                                                                                                                                  statement;
                                                                                                                                                                                                                                                             business records
       741           8/8/2018
                                                                                                                                                                                                                                                                exception


                                  LITTLETON_00006982-                  LightSpeed Account Summary                                                    Littleton/ Damages                                                                      F, K, H          No out of court
                                           86                                                                                                                                                                                                                  statement;
                                                                                                                                                                                                                                                             business records
       742           8/9/2018
                                                                                                                                                                                                                                                                exception


                                  LITTLETON_00006987-                  LightSpeed Account Summary                                                    Littleton/ Damages                                                                      F, K, H          No out of court
                                           93                                                                                                                                                                                                                  statement;
                                                                                                                                                                                                                                                             business records
       743           8/10/2018
                                                                                                                                                                                                                                                                exception


                                  LITTLETON_00006994-                  LightSpeed Account Summary                                                    Littleton/ Damages                                                                      F, K, H          No out of court
                                           96                                                                                                                                                                                                                  statement;
                                                                                                                                                                                                                                                             business records
       744           8/13/2018
                                                                                                                                                                                                                                                                exception


                                  LITTLETON_00006997-                  LightSpeed Account Summary                                                    Littleton/ Damages                                                                      F, K, H          No out of court
                                           99                                                                                                                                                                                                                  statement;
                                                                                                                                                                                                                                                             business records
       745           8/14/2018
                                                                                                                                                                                                                                                                exception


                                  LITTLETON_00007000-                  LightSpeed Account Summary                                                    Littleton/ Damages                                                                      F, K, H          No out of court
                                           06                                                                                                                                                                                                                  statement;
                                                                                                                                                                                                                                                             business records
       746           8/15/2018
                                                                                                                                                                                                                                                                exception




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                                 LITTLETON_00007007-                  LightSpeed Account Summary                                                             Littleton/ Damages                                                                    F, K, H       No out of court
                                          09                                                                                                                                                                                                                      statement;
                                                                                                                                                                                                                                                                business records
       747           8/16/2018
                                                                                                                                                                                                                                                                   exception


                                 LITTLETON_00007010-                  LightSpeed Account Summary                                                             Littleton/ Damages                                                                    F, K, H       No out of court
                                          15                                                                                                                                                                                                                      statement;
                                                                                                                                                                                                                                                                business records
       748           8/17/2018
                                                                                                                                                                                                                                                                   exception


                                 LITTLETON_00003631-            Email from Robert Morse to Glen Littleton                    RE: Your account              Littleton/ Foundation,                                                                 F, K, H, R    Party opponent
                                          35                                                                                                                       Reliance                                                                                       statement
       749           7/6/2017



                                 LITTLETON_00004055-            Email from Robert Morse to Glen Littleton            RE: Margin Call Due: Jul 11 2017      Littleton/ Foundation,                                                                 F, K, H, R    Party opponent
                                          56                                                                                                                       Reliance                                                                                       statement
       750           7/10/2017



                                 LITTLETON_00004967            Email from Glen Littleton to Christopher Grap                    Re: Big Day                Littleton/ Foundation,                                                                 F, K, H, R    Party opponent
                                                                                                                                                                   Reliance                                                                                       statement
       751           7/28/2017



                                 LITTLETON_00002475-            Email from Robert Morse to Glen Littleton               RE: FW: Option Assignment          Littleton/ Foundation,                                                                 F, K, H, R    Party opponent
                                          79                                                                                                                       Reliance                                                                                       statement
       752           3/28/2018



                                 LITTLETON_00005175            Email from Glen Littleton to Christopher Grap         Please sell our stock': Elon Musk     Littleton/ Foundation,                                                                 F, K, H, R    Party opponent
                                                                                                                     clashes with Wall Street during        Reliance, Causation                                                                                   statement
                                                                                                                          epic earnings call - The
       753           5/3/2018
                                                                                                                             Washington Post


                                        N/A                            Falsity, Scienter, Materiality                                                       Littleton/Foundation                                                                  F, K, H, R    Not offered for
                                                                                                                                                                                                                                                                truth/effect on
                                                                                                                                                                                                                                                                    listener
       754           5/4/2018



                                 LITTLETON_00004729             Email from Robert Morse to Glen Littleton            RE: Musk Says 'Rude Awakening'        Littleton/ Foundation,                                                                 F, K, H, R    Party opponent
                                                                                                                      Awaits Bearish Goldman Sachs                 Reliance                                                                                       statement
                                                                                                                          Analyst - Bloomberg
       755           6/27/2018



                                        N/A            Bloomberg article, "'Rude Awakening' Awaits Bearish Goldman                                          Littleton/Foundation                                                                  F, K, H, R    Not offered for
                                                                               Sachs Analyst"                                                                                                                                                                   truth/effect on
                                                                                                                                                                                                                                                                    listener
       756           6/27/2018



                                 LITTLETON_00004871-              Email from Glen Littleton to Bob Morse             Re: Tesla Inc. (TSLA): Where is the     Littleton/Reliance,                                                                  F, K, H, R    Party opponent
                                          74                                                                          debate to 2Q's print? Margins,        Causation, Damages                                                                                    statement
                                                                                                                        cash, and order conversion
       757           7/30/2018




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                                    LITTLETON_00004655-                Email from Glen Littleton to Bob Morse                           Re: Your Account               Littleton/Reliance,                                                                  F, K, H, R    Party opponent
                                             57                                                                                                                       Causation, Damages                                                                                    statement
       758            8/9/2018



                                    LITTLETON_00004627-                Email from Glen Littleton to Bob Morse                   Re: What Tesla Shareholders Could      Littleton/Reliance,                                                                  F, K, H, R    Party opponent
                                             33                                                                                      Learn from SpaceX - The                Causation                                                                                       statement
                                                                                                                                           Information
       759            8/9/2018



                                    LITTLETON_00004555-          Email from Glen Littleton to Christopher Grap with              Re: Glen Littleton shares 1 photo     Littleton/Reliance,                                                                  F, K, H, R    Party opponent
                                             59                                     attachments                                               with you                      Causation                                                                                       statement
       760           8/17/2018



                                    LITTLETON_00004625                Email from Robert Morse to Glen Littleton                              RE: TSLA                  Littleton/Reliance,                                                                  F, K, H, R    Party opponent
                                                                                                                                                                            Causation                                                                                       statement
       761           8/10/2018



                                            N/A             Bloomberg article, "Tesla Said to Seek Wide Investor Pool for                                               E. Musk/ Falsity,                                                                    F, K, H      Not offered for
                                                                                Take-Private Plan (1)"                                                                      Scienter                                                                                      truth/effect on
                                                                                                                                                                                                                                                                              listener
       762           8/10/2018



                                            N/A              Business Insider article, "Report: Saudi Arabia is looking to                                            Defendants/ Falsity,
                                                              invest big in Tesla as the company teases going private"                                                     Scienter
       763           8/12/2018



                                    TESLA_LITTLETON_0000    Email from Elon Musk to Todd Maron transmitting iMessage                      Re: Privileged             E. Musk, Teller/ Falsity,                                                               F, K, H        FRE 803(3)
                                             5286                                                                                                                           Scienter
       764           8/12/2018



                                            N/A                Littleton Transactions Number of Contracts Traded by                                                  Seru/Damages, Expert                                                                   F, K, H, R    No out of court
                                                                                     Moneyness                                                                             Reliance                                                                                         statement
                     3/27/2017-
       765           09/12/2018


                                            N/A                              Heston Figure 12 Alternative                                                            Seru/Damages, Expert                                                                   A, F, K, H    No out of court
                                                                                                                                                                           Reliance                                                                                         statement
                     08/07/2018 -
       766           08/17/2018


                                            N/A                            Recreation of Heston Table 7 etc                                                          Seru/Damages, Expert                                                                     K, H        No out of court
                                                                                                                                                                           Reliance                                                                                         statement
       767             Nov-21



                                            N/A            Exhibit 1 to Expert Rebuttal Report of Seru -Implied Volatility of                                        Seru/Damages, Expert
                                                             TSLA Call and Put Options Compared to Heston Straddle on                                                      Reliance
                                                                August 6, 2018 for Options Expiring January 17, 2020
       768           12/8/2021




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                                         N/A            Exhibit 2 to Expert Rebuttal Report of Seru -Implied Volatility of                                        Seru/Damages, Expert
                                                          TSLA Call and Put Options Compared to Heston Straddle on                                                      Reliance
                                                             August 8, 2018 for Options Expiring January 17, 2020
       769           12/8/2021



                                         N/A                Exhibit 3 to Expert Rebuttal Report of Seru -Percentage                                               Seru/Damages, Expert
                                                           Difference Between Model-Based and Actual TSLA Option                                                        Reliance
                                                        Prices on August 6, 2018 for Options Expiring January 17, 2020
       770           12/8/2021



                                         N/A               Exhibit 4 to Expert Rebuttal Report of Seru -Percentage                                                Seru/Damages, Expert
                                                          Difference Between Model-Based and Actual TSLA Option                                                         Reliance
                                                                                    Prices
       771           12/8/2021
                                                           on August 8, 2018 for Options Expiring January 17, 2020


                                         N/A            Exhibit 5A to Expert Rebuttal Report of Seru -Difference in TSLA                                          Seru/Damages, Expert
                                                        Call Option Prices Between August 6 and August 8, 2018 Model-                                                   Reliance
                                                         Based vs. Actual Prices for Options Expiring January 17, 2020
       772           12/8/2021



                                         N/A            Exhibit 5B to Expert Rebuttal Report of Seru -Difference in TSLA                                          Seru/Damages, Expert
                                                        Put Option Prices Between August 6 and August 8, 2018 Model-                                                    Reliance
                                                         Based vs. Actual Prices for Options Expiring January 17, 2020
       773           12/8/2021



                                         N/A             Exhibit 6 to Expert Rebuttal Report of Seru -Replication of Dr.                                          Seru/Damages, Expert
                                                         Hartzmark's Table 8 Using Heston Implied Volatilities and Put                                                  Reliance
                                                                           and Call Implied Volatilities
       774           12/8/2021
                                                          for Options with Expiries of January 17, 2020, June 21, 2019
                                                                              and August 16, 2019

                                         N/A               Exhibit 1 to Expert Report of Fischel - Probability of Deal                                            Fischel/Falsity, Expert
                                                             Completion in Precedent Going Private Transaction                                                           Reliance
       775           11/8/2021



                                         N/A            Exhibit 2 to Expert Report of Fischel -Percentage Difference of                                          Fischel/Damages, Expert
                                                                         Cumulative Residual Returns                                                                     Reliance
       776           11/8/2021



                                 TESLA_LITTLETON_0001                Email from Elson Musk to Tim Higgins                    Re: Detailed PIF meeting in March      E. Musk/ Falsity,                                                                    F, K, H      Only offering if
                                          9241                                                                                              2017                        Scienter                                                                                      Defs' MIL No. 4
                                                                                                                                                                                                                                                                          denied
       777           9/28/2018



                                 TESLA_LITTLETON_0000                        iMessage to Elon Musk                                                                     E. Musk,                                                                           F, H        Not offered for
                                          3229                                                                                                                      Murdoch/Falsity,                                                                                  truth/effect on
                                                                                                                                                                       Scienter                                                                                           listener
       778           8/3/2018



                                 TESLA_LITTLETON_0000             Email from Jonathan Chang to to Linda Rice.                           Scheduling                Rice, Denholm/ Falsity                                                                  F, H          FRE 803(3);
                                          3262                                                                                                                                                                                                                        business records
                                                                                                                                                                                                                                                                         exception
       779           8/7/2018




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                       Date                                                                                                                                                              Defendants         Objections            Plaintiffs                         Comments
                                                                                                                                              Purpose at Trial           at Trial                                                                  Objections
                                 TESLA_LITTLETON_0000   Email from Deborah Messemer to Robyn Denholm             Re :Hi Robyn                 Denholm/Falsity                                                                       F, H         Not offered for
                                        3290-91                                                                                                                                                                                                  truth/effect on
                                                                                                                                                                                                                                                     listener
       780           8/15/2018



                                 TESLA_LITTLETON_0000      Email from David Wallerstein to Sam Teller    Re: Call w/Elon (Internet mail)   Teller/Falsity, Scienter                                                                 F, H          FRE 803(3);
                                        4904-05                                                                                                                                                                                                 business records
                                                                                                                                                                                                                                                   exception
       781           8/9/2018



                                 TESLA_LITTLETON_0000          Email from Elon Musk to Dan Dees                       Re:                   E. Musk, Dees/Falsity                                                                   F, H         Not offered for
                                        4961-62                                                                                                                                                                                                   truth; business
                                                                                                                                                                                                                                                records exception
       782           8/14/2018



                                 TESLA_LITTLETON_0000       Email from Saad Aljarboa to Reyna Ortiz       Re: Yasir Meeting with Elon        Teller/Foundation,                                                                     F, H          Not offered for
                                        5289-92                                                                                               Falsity, Scienter                                                                                   truth/effect on
                                                                                                                                                                                                                                                listener; business
       783           7/31/2018
                                                                                                                                                                                                                                                records exception



                                 TESLA_LITTLETON_0000       Email from Antonio Gracias to Elon Musk     Re: BMW recalls 324,000 cars in E. Musk, K. Musk, Ahuja/                                                                   F, H, R       FRE 803(3); not
                                        5375-76                                                         Europe after Korean engine fires:   Falsity, Scienter                                                                                      offered for
                                                                                                                      FAZ                                                                                                                        truth/effect on
       784           8/7/2018
                                                                                                                                                                                                                                                     listener


                                 TSLA_SECSF0059415-16         Email from Elon Musk to Sam Teller          Re: Yasir Meeting with Elon         E. Musk, Teller/                                                                      F, H         Not offered for
                                                                                                                                            Foundation, Falsity,                                                                                 truth/effect on
                                                                                                                                                  Scienter                                                                                         listener; FRE
       785           7/28/2018
                                                                                                                                                                                                                                                       803(3)


                                  TSLA_SECSF0059422         Email from Elon Musk to Robyn Denholm                Re: Your email             Defendants/Falsity,                                                                     F, H         Not offered for
                                                                                                                                                 Scienter                                                                                        truth/effect on
                                                                                                                                                                                                                                                   listener; FRE
       786           8/2/2018
                                                                                                                                                                                                                                                       803(3)


                                  TSLA_SECSF0060199-      Email from Todd Maron to Elissa Butterfield         Re: Tesla Discussion           Teller/ Foundation,                                                                   F, H, R       Not offered for
                                         200                                                                                                  Falsity, Scienter                                                                                   truth/effect on
                                                                                                                                                                                                                                                    listener; FRE
       787           2/17/2017                                                                                                                                                                                                                   803(3); business
                                                                                                                                                                                                                                                records exception



                                  TSLA_SECSF0060204          Email from Sam Teller to Saad Aljarboa               Re: OpenAl                 Teller/ Foundation,                                                                   F, H, R       Not offered for
                                                                                                                                              Falsity, Scienter                                                                                  truth/effect on
                                                                                                                                                                                                                                                   listener; FRE
       788           2/22/2017
                                                                                                                                                                                                                                                       803(3)


                                  TSLA_SECSF0060208           Email from Sam Teller to Elon Musk            Fwd: Meeting with Elon            E. Musk, Teller/                                                                     F, H, R       No out of court
                                                                                                                                            Foundation, Falsity,                                                                                 statement; not
                                                                                                                                                  Scienter                                                                                          offered for
       789           4/26/2017
                                                                                                                                                                                                                                                 truth/effect on
                                                                                                                                                                                                                                                   listener; FRE
                                                                                                                                                                                                                                                       803(3)
                                 TSLA_SECSF0060209-11        Email from Saad Aljarboa to Sam Teller          Re: Meeting with Elon           Teller/ Foundation,                                                                   F, H, R       Not offered for
                                                                                                                                              Falsity, Scienter                                                                                  truth/effect on
                                                                                                                                                                                                                                                   listener; FRE
       790           4/28/2017
                                                                                                                                                                                                                                                       803(3)




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                                  TSLA_SECSF0060216      Email from Elissa Butterfield to Sam Teller          Draft | Monday 5/1             Teller/ Foundation,                                                                   F, H, R       Not offered for
                                                                                                                                              Falsity, Scienter                                                                                   truth/effect on
                                                                                                                                                                                                                                                    listener; FRE
       791           4/30/2017                                                                                                                                                                                                                   803(3); business
                                                                                                                                                                                                                                                records exception



                                  TSLA_SECSF0060219       Email from Emma Gallagher to Elon Musk                  Tuesday 5/2                 E. Musk, Teller/                                                                     F, H, R       Not offered for
                                                                                                                                            Foundation, Falsity,                                                                                  truth/effect on
                                                                                                                                                  Scienter                                                                                          listener; FRE
       792           5/1/2017                                                                                                                                                                                                                    803(3); business
                                                                                                                                                                                                                                                records exception



                                  TSLA_SECSF0060220         Email from Elon Musk to Sam Teller                Re: Saudi follow up             E. Musk, Teller/                                                                     F, H, R       No out of court
                                                                                                                                            Foundation, Falsity,                                                                                 statement; not
                                                                                                                                                  Scienter                                                                                         offered for
       793           5/2/2017
                                                                                                                                                                                                                                                 truth/effect on
                                                                                                                                                                                                                                                     listener

                                 TSLA_SECSF0060222-26      Email from Sam Teller to Saad Aljarboa            Re: Meeting with Elon           Teller/ Foundation,                                                                   F, H, R       Not offered for
                                                                                                                                              Falsity, Scienter                                                                                  truth/effect on
                                                                                                                                                                                                                                                   listener; FRE
       794           5/10/2017
                                                                                                                                                                                                                                                       803(3)


                                  TSLA_SECSF0060229      Email from Elissa Butterfield to Sam Teller           Re: Saad Al-Jarboa            Teller/ Foundation,                                                                   F, H, R       Not offered for
                                                                                                                                              Falsity, Scienter                                                                                   truth/effect on
                                                                                                                                                                                                                                                    listener; FRE
       795           8/11/2017                                                                                                                                                                                                                   803(3); business
                                                                                                                                                                                                                                                records exception



                                 TESLA_LITTLETON_0000   Email from Ira Ehrenpreis to Stephanie Castro   RE: Special Board Meeting - 8/17     Defendants/Falsity                                                                    F, H, R         FRE 803(3)
                                          2081                                                                       or 8/18
       796           8/17/2018



                                 SEC-EPROD-000005401      Email from Deepak Ahuja to Brian Dong                   Re: Project                Ahuja, Dees/Falsity                                                                   F, H, R         FRE 803(3)


       797           8/10/2018



                                                        Email from Antonio Gracias to Deepak Ahuja      Re: A few things…Aspen Institute   Gracias, Ahuja/ Falsity                                                                 F, H, R       Not offered for
                                 TESLA_LITTLETON_0000                                                             and business                                                                                                                   truth/effect on
                                          1050                                                                                                                                                                                                     listener; FRE
       798           8/8/2018
                                                                                                                                                                                                                                                       803(3)


                                                           Email from Deepak Ahuja to Brad Buss         FW: Tesla Capital Considerations     Ahuja, Buss/Falsity                                                                   F, H, R       Not offered for
                               TESLA_LITTLETON_0000                                                                   [C]                                                                                                                        truth; business
                                     1423 -25                                                                                                                                                                                                        records
       799           8/13/2018
                                                                                                                                                                                                                                                 exception; FRE
                                                                                                                                                                                                                                                      803(3)

                                                          Email from Ira Ehrenpreis to Stu Francis         RE: Tesla - current events        Ehrenpreis/Falsity                                                                    F, H, R         FRE 803(3)
                                 TESLA_LITTLETON_0000
                                          2102
       800           8/8/2018




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                                                               Email from Linda Rice to Antonio Gracias          Re: Blog Link: Taking Tesla private     Defendants/Falsity                                                                    F, H, R         FRE 803(3)
                                 TESLA_LITTLETON_0000
                                          3328
       801           8/7/2018



                                                               Email from Antonio Gracias to Elon Musk           Re: Offer to Take Tesla Private at     Defendants/ Falsity                                                                    F, H, R         FRE 803(3)
                                 TESLA_LITTLETON_0000                                                                          $420
                                          3395
       802           8/2/2018



                                                                Email from Walter Price to Sam Teller                  Tesla Private Holdings               Teller /Falsity                                                                    F, H, R       Not offered for
                               TESLA_LITTLETON_0000                                                                                                                                                                                                          truth/effect on
                                        4776                                                                                                                                                                                                                     listener
       803           8/13/2018



                                                          Calendar Appointment froM Elon Musk to EMDesk           6 PM: Yasir Al-Ramayvan (PIF)         E. Musk/Foundation,                                                                    F, H, R       No out of court
                                 TESLA_LITTLETON_0000                                                                                                      Falsity, Scienter                                                                                 statement; FRE
                                          5332                                                                                                                                                                                                               803(3); business
       804           7/31/2018                                                                                                                                                                                                                              records exception



                                                             Email from Elon Musk to Board of Directors                  Fwd: Tesla + $11               Defendants, Falsity,                                                                   F, H, R       Not offered for
                                 TESLA_LITTLETON_0000                                                                                                        Scienter                                                                                       truth; FRE 803(3)
                                          6291
       805           8/7/2018



                                                             Email from Brad Buss to Madhukar Namburi                        Re: Tesla                      Buss, Falsity                                                                      F, H, R         FRE 803(3)
                               TESLA_LITTLETON_0001
                                      7315-16
       806           8/15/2018



                                                               Email from Elon Musk to Martin Viecha                     Re: T Rowe Price              E. Musk, Ahuja/ Falsity,                                                                F, H, R        Not offered for
                                 TESLA_LITTLETON_0001                                                                                                         Scienter                                                                                        truth/effect on
                                        8638-39                                                                                                                                                                                                             listener; business
       807           8/13/2018                                                                                                                                                                                                                              records exception



                                                        Minutes of Special Committee of the Board of Directors                                            Buss, Rice/Falsity                                                                   F, H, R      Business records
                               TESLA_LITTLETON_0002                                                                                                                                                                                                            exception
                                        0180
       808           8/24/2018



                                  TSLA_SECSF0060227           Email from Elissa Butterfield to Sam Teller         Re: Invitation from HRH Prince         Teller/ Foundation,                                                                   F, H, R       Not offered for
                                                                                                                 Mohammad bin Salman Al-Saud -             Falsity, Scienter                                                                                 truth/efect on
                                                                                                                 Future Investment Initiative - Mr.                                                                                                           listener; FRE
       809           7/25/2017
                                                                                                                             Elon Musk                                                                                                                            803(3)


                                  TSLA_SECSF0060229           Email from Elissa Butterfield to Sam Teller         Re: Invitation from HRH Prince         Teller/ Foundation,                                                                   F, H, R       Not offered for
                                                                                                                 Mohammad bin Salman Al-Saud -             Falsity, Scienter                                                                                 truth/effect on
                                                                                                                 Future Investment Initiative - Mr.                                                                                                            listener; FRE
       810           8/11/2017
                                                                                                                             Elon Musk                                                                                                                             803(3)


                                  TSLA_SECSF0060230           Email from Elissa Butterfield to Sam Teller              Fwd: Saudi Progress?              Teller/ Foundation,                                                                   F, H, R       Not offered for
                                                                                                                                                          Falsity, Scienter                                                                                  truth/effect on
                                                                                                                                                                                                                                                               listener; FRE
       811           8/24/2017
                                                                                                                                                                                                                                                                   803(3)




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                                 ERM_SECAUG7_000000                   E. Musk phone log spreadsheet                                                      E. Musk/ Foundation,                                                                   F, H, R      No out of court
                                         01                                                                                                                 Falsity, Scienter                                                                                  statement
       812            Jul-18



                                   MS_TESLA0001348              Email from Rick Polhemus to Deepak Ahuja              Re: MS is ready to support you    Ahuja, Polhemus/Falsity                                                                 F, H, R       Not offered for
                                                                                                                                                                                                                                                                   truth
       813           8/10/2018



                                          N/A                      PayPal notice re: Disclosure Channels                                                 Subramanian/Expert                                                                     F, H, R       Not offered for
                                                                                                                                                              Reliance                                                                                        truth/effect on
                                                                                                                                                                                                                                                                  listener
       814             N/A



                                          N/A            WSJ Article - "Saudi Arabia Goes High-Tech in Approach to                                       Fischel/Foundation,                                                                    F, H, R       Not offered for
                                                                                 Investing"                                                                 Expert Reliance                                                                                   truth/effect on
                                                                                                                                                                                                                                                                  listener
       815           8/15/2018



                                 SEC-EPROD-000000397-             Email from Sam Teller to Elliot Mattingly                Re: Fidelity Contacts             Teller/Falsity                                                                     F, H, R         FRE 803(3)
                                          98
       816           8/10/2018



                                 SEC-EPROD-000005377       Email from Sam Teller to Brian Dong and Egon Durban       Re: Kick-Off Call (EM Team, MTO,    Teller, Durban/Falsity                                                                 F, H, R        FRE 803(3);
                                                                                                                        Wachtell, Goldman Sachs)                                                                                                             business records
                                                                                                                                                                                                                                                                exception
       817           8/13/2018



                                 SEC-EPROD-000005518- Brian Dong letter to Elon Musk re: Godman Sachs engagement                                            E. Musk/Falsity                                                                     F, H, R       Not offered for
                                          25                                                                                                                                                                                                                  truth; business
                                                                                                                                                                                                                                                                  records
       818           8/17/2018
                                                                                                                                                                                                                                                              exception; FRE
                                                                                                                                                                                                                                                                   803(3)

                                 SEC-EPROD-000007442-              Email from Brian Dong to Sam Britton                  Re: Meeting tomorrow                Dees/Falsity                                                                       F, H, R         FRE 803(3)
                                          43
       819           8/9/2018



                                 SEC-EPROD-000008081                Email from Dan Dees to Elon Musk                         Re: 2 questions             Dees, E. Musk/Falsity                                                                  F, H, R       No out of court
                                                                                                                                                                                                                                                              statement; not
                                                                                                                                                                                                                                                             offered for truth;
       820           8/9/2018
                                                                                                                                                                                                                                                                FRE 803(3)


                                 SEC-EPROD-000009826-              Email from Elon Musk to Egon Durban                     Re: Communications              Durban, Dees, E.                                                                     F, H, R         FRE 803(3)
                                          29                                                                                                                Musk/Falsity
       821           8/15/2018



                                 SEC-EPROD-000009954               Email from Egon Durban to Sam Teller                        Warm intros               Durban, Teller/Falsity                                                                 F, H, R       No out of court
                                                                                                                                                                                                                                                              statement; FRE
                                                                                                                                                                                                                                                                  803(3)
       822           8/17/2018




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                                 SEC-EPROD-000010904-   Email from Gordon Goldstein to Richard Siewert with       Draft Joint Statement              Durban/Falsity                                                                     F, H, R        FRE 803(3);
                                          05                               attachment                                                                                                                                                                Business records
                                                                                                                                                                                                                                                        exception
       823           8/15/2018



                                 TESLA_LITTLETON_0000             Handwritten notes of Brad Buss                                                   Buss/ Foundation,                                                                    F, H, R       Present sense
                                          1285                                                                                                      Falsity, Scienter                                                                                  impression
       824           8/3/2018



                                 TESLA_LITTLETON_0001          Email from Elon Musk to Todd Maron                       Privileged               E.Musk, Teller/ Falsity,                                                               F, H, R        FRE 803(3);
                                          8615                                                                                                         Scienter                                                                                      business records
                                                                                                                                                                                                                                                      exception; FRE
       825           8/12/2018
                                                                                                                                                                                                                                                       801(d)(1)(b)


                                 TESLA_LITTLETON_0002        Email from Elon Musk to Antonio Gracias              Re: Elon - NYT update         E. Musk, Gracias/ Falsity,                                                              F, H, R        FRE 803(3);
                                        0029-34                                                                                                         Scienter                                                                                     business records
                                                                                                                                                                                                                                                      exception; FRE
       826           8/25/2018
                                                                                                                                                                                                                                                       801(d)(1)(b)


                                 TSLA_PROD0024112-13              Calendar invite from Elon Musk                                                    E. Musk, Ahuja,                                                                     F, H, R      No out of court
                                                                                                                                                 Straubel/ Foundation,                                                                               statement; FRE
                                                                                                                                                    Falsity, Scienter                                                                                    803(3)
       827           3/8/2017



                                 TSLA_PROD0225324-27      Email fro Elissa Butterfield to Ibrahim AlMotawa        Re: Meeting with Elon           Teller/ Foundation,                                                                   F, H, R       Not offered for
                                                                                                                                                   Falsity, Scienter                                                                                 truth; FRE 803(3)
       828           5/1/2017



                                  TSLA_PROD0225328            Email from Sam Teller to Saad Aljarboa                    Yasir / Elon              Teller/ Foundation,                                                                   F, H, R       Not offered for
                                                                                                                                                   Falsity, Scienter                                                                                 truth; FRE 803(3)
       829           7/10/2017



                                 TSLA_PROD0395604-07           Email from Elon Musk to Dave Arnold            Re: Telsa-Musk: Lucky Investors   E.Musk, K. Musk/ Falsity,                                                               F, H, R      Business records
                                                                                                               Can Still Stand By Their Man -           Scienter                                                                                      exception; FRE
                                                                                                                          Bloomberg                                                                                                                    801(d)(1)(b)
       830           8/25/2018



                                 TESLA_LITTLETON_0000        Email from Sam Teller to Emma Gallagher             Re: DRAFT - Tuesday 5/2          Teller/ Foundation,                                                                   F, H, R      Not offered for
                                        6147-48                                                                                                    Falsity, Scienter                                                                                 truth/effect on
                                                                                                                                                                                                                                                       listener; FRE
       831           5/1/2017
                                                                                                                                                                                                                                                           803(3)


                                 TSLA_SECSF0059268-69             Calendar invite from Elon Musk                                                 E. Musk/ Foundation,                                                                   F, H, R      No out of court
                                                                                                                                                    Falsity, Scienter                                                                                  statement
       832           3/7/2017



                                 LITTLETON_00004800         Email from Michaella Woo to Glen Littleton                 RE: Model 3               Littleton/ Foundation                                                                 F, H, K, R    Party opponent
                                                                                                                                                                                                                                                       statement
       833           2/20/2018




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                                  LITTLETON_00005147-            Email from Christopher Grap to Glen Littleton             Re: Christopher Grap's Separate      Littleton/ Foundation                                                                 F, H, K, R      Party opponent
                                           48                                                                                      App Enablement                                                                                                                       statement
       834           2/20/2018



                                  LITTLETON_00004848-             Email from Glen Littleton to Robert Morse                Re: Fast-growing mutual fund is      Littleton/ Foundation                                                                  F, H, R        Party opponent
                                           49                                                                               victim of market turbulence                                                                                                                 statement
       835            2/8/2018



                                  TESLA_LITTLETON_0002                           10-K Report                                                                    Fischel/Foundation,                                                                  B, F, H, K, R     Not offered for
                                         1963-18                                                                                                                   Expert Reliance                                                                                     truth/effect on
                                                                                                                                                                                                                                                                     listener; business
       836           12/31/2017
                                                                                                                                                                                                                                                                     records exception



                                          N/A                               Tesla Complaint - Isaacs                                                            Littleton/ Foundation                                                                 F, H, K, R      Party opponent
                                                                                                                                                                                                                                                                        statement
       837           8/10/2018



                                  LITTLETON_00005271             Email from Glen Littleton to Christopher Grap            Re: Your Model 3 is Ready to Order    Littleton/ Foundation                                                                 F, H, K, R      Party opponent
                                                                                                                                                                                                                                                                        statement
       838            7/3/2018



                                  LITTLETON_00005268              Email from Robert Morse to Glen Littleton                     RE: TSLA Trade Breaks           Littleton/ Foundation                                                                 F, H, K, R      Party opponent
                                                                                                                                                                                                                                                                        statement
       839           4/12/2017



                                          N/A            Fischel Opening Exhibit 1 Tesla and International Stocks Short                                         Fischel/Foundation,
                                                                          Interest Summary Statistics                                                             Falsity, Scienter,
                                                                                                                                                                  Damages, Expert
       840           11/8/2021
                                                                                                                                                                       Reliance


                                          N/A                 Fischel Opening Exhibit 2 Examples of International                                               Fischel/Foundation,
                                                                  Investments of the Public Investment Fund                                                       Falsity, Scienter,
                                                                                                                                                                  Damages, Expert
       841           11/8/2021
                                                                                                                                                                       Reliance


                                          N/A               Fischel Opening Exhibit 3 Merger Premiums Offered in                                                Fischel/Foundation,
                                                                     Precedent Going Private Transactions                                                         Falsity, Scienter,
                                                                                                                                                                  Damages, Expert
       842           11/8/2021
                                                                                                                                                                       Reliance


                                          N/A             Fischel Opening Exhibit 4 Change in Value of Tesla Saleable                                           Fischel/Foundation,
                                                                                   Holdings                                                                       Falsity, Scienter,
                                                                                                                                                                  Damages, Expert
       843           11/8/2021
                                                                                                                                                                       Reliance


                                  LITTLETON_00004669-             Email from Robert Morse to Glen Littleton                       Re: Your account             Littleton/ Foundation,                                                                 F, H, K, R      Party opponent
                                           50                                                                                                                   Reliance, Causation,                                                                                    statement
                                                                                                                                                                       Damages
       844            8/9/2018




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                                 TESLA_LITTLETON_0002          LA Times Article - "No gain in Tesla going private "                                       Fischel/Foundation,                                                                  F, H, K, R    Not offered for
                                        2660-62                                                                                                         Falsity, Expert Reliance                                                                             truth/effect on
                                                                                                                                                                                                                                                                 listener
       845           8/9/2018



                                          None            Reuters Article - "Musk says Silver Lake, Goldman advising on                                   Fischel/Foundation,
                                                                               taking Tesla private"                                                    Falsity, Expert Reliance
       846           8/13/2018



                               TESLA_LITTLETON_0002 MarketWatch Article - "Wall Street has spoken: Tesla funding is                                       Fischel/Foundation,
                                      2636-37        not ‘secured’; Price stays well belowElon Musk’s stated go-                                        Falsity, Expert Reliance
                                                    private level after explanation, showing investors’ valid doubts
       847           8/13/2018
                                                                                    "


                                 TESLA_LITTLETON_0002     The Canadian Press Article - "Questions loom over Tesla deal                                    Fischel/Foundation,                                                                  F, H, K, R    Not offered for
                                        2672-74                          after CEO reveals Saudi link"                                                  Falsity, Expert Reliance                                                                             truth/effect on
                                                                                                                                                                                                                                                                 listener
       848           8/13/2018



                                          N/A                            Dkt No. 001 - Complaint (Maia)                                                 Littleton/ Foundation,                                                                 F, H, K, R    Party opponent
                                                                                                                                                         Reliance, Causation                                                                                   statement
       849           8/14/2018



                                  LITTLETON_00004604             Email from Christopher Grap to Glen Littleton              Re: Tesla Firmware           Littleton/Foundation                                                                  F, H, K, R    Party opponent
                                                                                                                                                                                                                                                               statement
       850           8/17/2018



                                 LITTLETON_00004750-             Email from Glen Littleton to Christopher Grap            Re: Order Confirmation         Littleton/Foundation                                                                  F, H, K, R    Party opponent
                                          57                                                                                                                                                                                                                   statement
       851           8/21/2018



                                 LITTLETON_00004530-                Email from Glen Littleton to Bob Morse                      Re: TSLA                Littleton/ Foundation,                                                                 F, H, K, R    Party opponent
                                          31                                                                                                             Reliance, Causation,                                                                                  statement
                                                                                                                                                                Damages
       852           9/7/2018



                                          None             Bloomberg Article - "Tesla Chief Accounting Officer Leaves,                                  Littleton/ Foundation,                                                                 F, H, K, R    Not offered for
                                                                            Citing Level of Scrutiny"                                                    Reliance, Causation,                                                                                truth/effect on
                                                                                                                                                                Damages                                                                                          listener
       853           9/7/2018



                                          None             Bloomberg Article - "Musk Smokes Weed, Sips Whiskey on                                       Littleton/ Foundation,                                                                 F, H, K, R    Not offered for
                                                                        California Comedian's Show"                                                      Reliance, Causation,                                                                                truth/effect on
                                                                                                                                                                Damages                                                                                          listener
       854           9/7/2018



                               TESLA_LITTLETON_0002 Institutional Investor Article - "How Jim Chanos Uses Cynicism,                                      Fischel/Foundation,                                                                   F, H, K, R    Not offered for
                                      2642-57        Chutzpah - and a Secret Twitter Account - to Take on Markets                                          Falsity, Scienter,                                                                                truth/effect on
                                                                            (and Elon Musk)"                                                               Damages, Expert                                                                                       listener
       855           9/17/2018
                                                                                                                                                                Reliance




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                                  LITTLETON_00003956-               Email from Glen Littleton to Robert Morse                     Re: New Account               Littleton/ Foundation                                                                 F, H, K, R    Party opponent
                                           60                                                                                                                                                                                                                         statement
       856           3/16/2017



                                  LITTLETON_00005240-              Email from Glen Littleton to Yanira Sanchez            Re: Lightspeed Trading Application    Littleton/ Foundation                                                                 F, H, K, R    Party opponent
                                           52                                                                                      for Glen Littleton                                                                                                                 statement
       857           3/18/2017



                                  LITTLETON_00005042-               Email from Robert Morse to Glen Littleton                      PM Calculation               Littleton/ Foundation                                                                 F, H, K, R    Party opponent
                                           45                                                                                                                                                                                                                         statement
       858           3/21/2017



                                  LITTLETON_00005046-               Email from Robert Morse to Glen Littleton                          RE: PM                   Littleton/ Foundation                                                                 F, H, K, R    Party opponent
                                           48                                                                                                                                                                                                                         statement
       859           3/28/2017



                                   LITTLETON_00005029                 Email from Glen Littleton to NASales                Re: Upgrading Model X to P100D        Littleton/ Foundation                                                                 F, H, K, R    Party opponent
                                                                                                                                    from P90D                                                                                                                         statement
       860            5/6/2017



                                    TESLA_LITTLETON-      S&P Global Market Intelligence - TSLA FQ2 2018 Earnings Calls                                          Fischel/Foundation,                                                                  F, H, K, R    Not offered for
                                      00022353-83                                  Transcripts                                                                      Expert Reliance                                                                                 truth/effect on
                                                                                                                                                                                                                                                                        listener
       861            8/1/2018



                                  TESLA_LITTLETON_0002 LA Times Article - "On Tesla going private, Elon Musk admits he                                           Fischel/Foundation,                                                                  F, H, K, R    Not offered for
                                         2669-71                       doesn't have 'funding secured' "                                                        Falsity, Damages, Expert                                                                             truth/effect on
                                                                                                                                                                        Reliance                                                                                        listener
       862           8/13/2018



                                   LITTLETON_00004441             Email from Christopher Grap to Glen Littleton               Re: Tesla Punts Solar-Roof        Littleton/Foundation                                                                  F, H, K, R    Party opponent
                                                                                                                               Production Ramp, Citing                                                                                                                statement
                                                                                                                              `Complexity' - Bloomberg
       863           10/25/2018



                                  LITTLETON_00004462-              Email from Alexzandra Asp to Glen Littleton            RE: Scheduling Your Tesla Delivery    Littleton/Foundation                                                                  F, H, K, R    Party opponent
                                           64                                                                                 Date - Response Required                                                                                                                statement
       864            9/7/2018



                                  LITTLETON_00004465-             Email from Christopher Grap to Glen Littleton           Re: Scheduling Your Tesla Delivery    Littleton/Foundation                                                                  F, H, K, R    Party opponent
                                           66                                                                                 Date - Response Required                                                                                                                statement
       865            9/6/2018



                                   LITTLETON_00004471             Email from Glen Littleton to Christopher Grap             Elon Musk Says Tesla Slow to        Littleton/Foundation                                                                  F, H, K, R    Party opponent
                                                                                                                               Respond - Bloomberg                                                                                                                    statement
       866           9/12/2018




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                                 LITTLETON_00004476-   Email from Christopher Grap to Glen Littleton      Re: Tesla-Upcoming Delivery          Littleton/Foundation                                                                  F, H, K, R    Party opponent
                                          84                                                                                                                                                                                                         statement
       867           9/20/2018



                                 LITTLETON_00004508-   Email from Glen Littleton to Christopher Grap      Re: Tesla-Upcoming Delivery          Littleton/Foundation                                                                  F, H, K, R    Party opponent
                                          13                                                                                                                                                                                                         statement
       868           9/19/2018



                                 LITTLETON_00004525       Email from Glen Littleton to Bob Morse          U.S. Proposing New Round of          Littleton/Foundation                                                                  F, H, K, R    Party opponent
                                                                                                       Trade Talks With China in the Near                                                                                                            statement
                                                                                                                  Future - WSJ
       869           9/12/2018



                                 LITTLETON_00004541      Email from Glen Littleton to Sam Scheller              Model 3 Delivery               Littleton/Foundation                                                                  F, H, K, R    Party opponent
                                                                                                                                                                                                                                                     statement
       870           9/19/2018



                                 LITTLETON_00004544    Email from Christopher Grap to Glen Littleton                Re: Tesla                  Littleton/Foundation                                                                  F, H, K, R    Party opponent
                                                                                                                                                                                                                                                     statement
       871           9/8/2018



                                 LITTLETON_00004545      Email from Glen Littleton to Pete Schulte              Model 3 Delivery               Littleton/Foundation                                                                  F, H, K, R    Party opponent
                                                                                                                                                                                                                                                     statement
       872           9/11/2018



                                 LITTLETON_00004564-    Email from Logan Beaton to Glen Littleton      RE: Scheduling Your Tesla Delivery      Littleton/Foundation                                                                  F, H, K, R    Party opponent
                                          65                                                               Date - Response Required                                                                                                                  statement
       873           9/11/2018



                                 LITTLETON_00004599    Email from Christopher Grap to Glen Littleton                Re: Tesla                  Littleton/Foundation                                                                  F, H, K, R    Party opponent
                                                                                                                                                                                                                                                     statement
       874           8/1/2018



                                 LITTLETON_00004601    Email from Christopher Grap to Glen Littleton   Re: Tesla tests new direct factory-     Littleton/Foundation                                                                  F, H, K, R    Party opponent
                                                                                                       to-customer delivery, Elon Musk                                                                                                               statement
                                                                                                        personally delivers a Model 3 |
       875           7/30/2018
                                                                                                                    Electrek


                                 LITTLETON_00004652    Email from Christopher Grap to Glen Littleton           Re: Model 3 pickup              Littleton/Foundation                                                                  F, H, K, R    Party opponent
                                                                                                                                                                                                                                                     statement
       876           9/28/2018



                                 LITTLETON_00004672    Email from Christopher Grap to Glen Littleton   Re: Tesla starts deliveries of Model    Littleton/Foundation                                                                  F, H, K, R    Party opponent
                                                                                                        3 Performance and Dual Motor |                                                                                                               statement
                                                                                                                     Electrek
       877           7/27/2018




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                                  LITTLETON_00004674    Email from Glen Littleton to Christopher Grap                  Tesla                     Littleton/Foundation                                                                  F, H, K, R    Party opponent
                                                                                                                                                                                                                                                       statement
       878            8/1/2018



                                  LITTLETON_00004675    Email from Glen Littleton to Christopher Grap    Tesla confirmed hitting federal tax     Littleton/Foundation                                                                  F, H, K, R    Party opponent
                                                                                                         credit threshold, $7,500 credit cut                                                                                                           statement
                                                                                                        in half by end of the year | Electrek
       879           7/12/2018



                                  LITTLETON_00004676    Email from Glen Littleton to Christopher Grap                  Tesla                     Littleton/Foundation                                                                   F, H, R      Party opponent
                                                                                                                                                                                                                                                       statement
       880            8/4/2018



                                  LITTLETON_00004677-   Email from Christopher Grap to Glen Littleton          Re: Rest of the Article           Littleton/Foundation                                                                  F, H, K, R    Party opponent
                                           82                                                                                                                                                                                                          statement
       881           7/19/2018



                                  LITTLETON_00004689-   Email from Michael Stanton to Glen Littleton         RE: negative total equity           Littleton/Foundation                                                                  F, H, K, R    Party opponent
                                           91                                                                                                                                                                                                          statement
       882           10/17/2018



                                  LITTLETON_00004726    Email from Christopher Grap to Glen Littleton       Re: Model 3 Configuration            Littleton/Foundation                                                                  F, H, K, R    Party opponent
                                                                                                                                                                                                                                                       statement
       883           6/29/2018



                                  LITTLETON_00004736    Email from Christopher Grap to Glen Littleton     Re: Model 3 AWD - Dual Motor           Littleton/Foundation                                                                  F, H, K, R    Party opponent
                                                                                                                                                                                                                                                       statement
       884           6/27/2018



                                  LITTLETON_00004748-    Email from Robert Morse to Glen Littleton         Fwd: Tesla Inc. (TSLA): Solid         Littleton/Foundation                                                                  F, H, K, R    Party opponent
                                           49                                                             quarter with improvements in                                                                                                                 statement
                                                                                                        Auto gross margins and FCF burn,
       885            8/2/2018                                                                           but still see some uncertainty to
                                                                                                         higher priced Model 3 demand


                                  LITTLETON_00004764-   Email from Glen Littleton to Christopher Grap      Re: Model 3 Ready for Design          Littleton/Foundation                                                                   F, H, R      Party opponent
                                           65                                                                                                                                                                                                          statement
       886           6/28/2018



                                  LITTLETON_00004769    Email from Christopher Grap to Glen Littleton     Re: Tesla is opening Model 3           Littleton/Foundation                                                                  F, H, K, R    Party opponent
                                                                                                        online configurator to everyone |                                                                                                              statement
                                                                                                                     Electrek
       887            7/9/2018



                                  LITTLETON_00004770    Email from Christopher Grap to Glen Littleton               Re: Dr Who                   Littleton/Foundation                                                                  F, H, K, R    Party opponent
                                                                                                                                                                                                                                                       statement
       888           5/16/2018




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                                 LITTLETON_00004772    Email from Glen Littleton to Christopher Grap    Tesla claims Model 3 outsold all     Littleton/Foundation                                                                   F, H, R      Party opponent
                                                                                                       other premium sedans combined                                                                                                               statement
                                                                                                             in US in July | Electrek
       889           8/1/2018



                                 LITTLETON_00004773      Email from Glen Littleton to Sean Fessler     Model X Trade In for 2 Model 3's      Littleton/Foundation                                                                   F, H, R      Party opponent
                                                                                                                  on Order                                                                                                                         statement
       890           6/10/2018



                                 LITTLETON_00004779     Email from Glen Littleton to Robert Morse                  Excercise                 Littleton/Foundation                                                                   F, H, R      Party opponent
                                                                                                                                                                                                                                                   statement
       891           4/5/2018



                                 LITTLETON_00004780    Email from Christopher Grap to Glen Littleton           Re: Tesla - Future            Littleton/Foundation                                                                  F, H, K, R    Party opponent
                                                                                                                                                                                                                                                   statement
       892           3/12/2018



                                 LITTLETON_00004785    Email from Christopher Grap to Glen Littleton    Re: Post journey Black Panther       Littleton/Foundation                                                                  F, H, K, R    Party opponent
                                                                                                                                                                                                                                                   statement
       893           3/5/2018



                                 LITTLETON_00004786-   Email from Glen Littleton to Christopher Grap               Re: Tesla                 Littleton/Foundation                                                                   F, H, R      Party opponent
                                          87                                                                                                                                                                                                       statement
       894           5/17/2018



                                 LITTLETON_00004791    Email from Glen Littleton to Christopher Grap                 Re: 3                   Littleton/Foundation                                                                   F, H, R      Party opponent
                                                                                                                                                                                                                                                   statement
       895           5/9/2018



                                 LITTLETON_00004794     Email from Robert Morse to Glen Littleton                 Re: Thanks                 Littleton/Foundation                                                                  F, H, K, R    Party opponent
                                                                                                                                                                                                                                                   statement
       896           3/30/2018



                                 LITTLETON_00004797    Email from Christopher Grap to Glen Littleton    Re: Tesla claims to have ‘world’s    Littleton/Foundation                                                                  F, H, K, R    Party opponent
                                                                                                         most advanced computer for                                                                                                                statement
                                                                                                           autonomous driving’ with
       897           8/1/2018                                                                          Autopilot 3.0 update coming next
                                                                                                                 year | Electrek

                                 LITTLETON_00004802-   Email from Christopher Grap to Glen Littleton                  Re:                    Littleton/Foundation                                                                  F, H, K, R    Party opponent
                                          03                                                                                                                                                                                                       statement
       898           2/19/2018



                                 LITTLETON_00004806    Email from Christopher Grap to Glen Littleton                  Re:                    Littleton/Foundation                                                                  F, H, K, R    Party opponent
                                                                                                                                                                                                                                                   statement
       899           2/19/2018




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                                  LITTLETON_00004807     Email from Robert Morse to Glen Littleton              RE: Trump - China              Littleton/Foundation                                                                  F, H, K, R    Party opponent
                                                                                                                                                                                                                                                     statement
       900           8/28/2018



                                  LITTLETON_00004813    Email from Glen Littleton to Christopher Grap    Re: Elon is going to be at SXSW...    Littleton/Foundation                                                                   F, H, R      Party opponent
                                                                                                                                                                                                                                                     statement
       901            3/9/2018



                                  LITTLETON_00004844    Email from Glen Littleton to Christopher Grap     Watch "Here's Why the Tesla          Littleton/Foundation                                                                   F, H, R      Party opponent
                                                                                                          Model 3 Is the Coolest Car of                                                                                                              statement
                                                                                                              2017" on YouTube
       902           1/21/2018



                                  LITTLETON_00004846    Email from Glen Littleton to Christopher Grap   Elon Musk on Instagram: “My new        Littleton/Foundation                                                                   F, H, R      Party opponent
                                                                                                                    toaster”                                                                                                                         statement
       903           2/17/2018



                                  LITTLETON_00004847    Email from Glen Littleton to Christopher Grap   Re: Watch "Elon Musk 'I Don't Give     Littleton/Foundation                                                                   F, H, R      Party opponent
                                                                                                         A Damn About Your Degree'" on                                                                                                               statement
                                                                                                                    YouTube
       904           2/10/2018



                                  LITTLETON_00004851-   Email from Christopher Grap to Glen Littleton    Re: Photos document the Falcon        Littleton/Foundation                                                                   F, H, R      Party opponent
                                           52                                                           Heavy rocket launch from high up,                                                                                                            statement
                                                                                                             and up close – GeekWire
       905            2/8/2018



                                  LITTLETON_00004860    Email from Glen Littleton to Christopher Grap           Chill Mode in Tesla            Littleton/Foundation                                                                   F, H, R      Party opponent
                                                                                                                                                                                                                                                     statement
       906           12/12/2017



                                  LITTLETON_00004950-    Email from Robert Morse to Glen Littleton                   Re: Wire                  Littleton/Foundation                                                                   F, H, R      Party opponent
                                           51                                                                                                                                                                                                        statement
       907           9/26/2017



                                  LITTLETON_00004964    Email from Glen Littleton to Christopher Grap            Re: Tesla models              Littleton/Foundation                                                                   F, H, R      Party opponent
                                                                                                                                                                                                                                                     statement
       908           8/10/2017



                                  LITTLETON_00004978-   Email from Christopher Grap to Glen Littleton                Re: Tesla                 Littleton/Foundation                                                                   F, H, R      Party opponent
                                           79                                                                                                                                                                                                        statement
       909           7/30/2017



                                  LITTLETON_00004982-   Email from Glen Littleton to Michael Stanton        RE: Wheat Open Contracts           Littleton/Foundation                                                                   F, H, R      Party opponent
                                           85                                                                                                                                                                                                        statement
       910           6/30/2017




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                                  LITTLETON_00005005         Email from Glen Littleton to Christopher Grap                       Tesla                   Littleton/Foundation                                                                   F, H, R      Party opponent
                                                                                                                                                                                                                                                               statement
       911           7/20/2017



                                         None           CleanTechnica Article - Saudi Arabia Buys Large Stake...    Re: Upgrading Model X to P100D       Littleton/Foundation                                                                   F, H, R      Not offered for
                                                                                                                              from P90D                                                                                                                      truth/effect on
                                                                                                                                                                                                                                                                 listener
       912            8/7/2018



                                  LITTLETON_00005067           Email from Glen Littleton to Sean Fessler                      Re: Model X                Littleton/Foundation                                                                   F, H, R      Party opponent
                                                                                                                                                                                                                                                               statement
       913            5/8/2017



                                  LITTLETON_00005068-        Email from Glen Littleton to Christopher Grap         Re: Your Model 3 is Ready to Order    Littleton/Foundation                                                                   F, H, R      Party opponent
                                           70                                                                                                                                                                                                                  statement
       914            7/3/2018



                                  LITTLETON_00005109           Email from Sean Fessler to Glen Littleton             Re: Tesla VP of retail hints at     Littleton/Foundation                                                                   F, H, R      Party opponent
                                                                                                                      ‘drastic redesign of its retail                                                                                                          statement
                                                                                                                   concept’ ahead of Model 3 launch
       915           8/16/2016
                                                                                                                                | Electrek


                                  LITTLETON_00005110         Email from Michael Stanton to Glen Littleton                 RE: Contract Limits            Littleton/Foundation                                                                   F, H, R      Party opponent
                                                                                                                                                                                                                                                               statement
       916           3/29/2017



                                  LITTLETON_00005139         Email from Michael Stanton to Glen Littleton             Re: Soybean Contract Limit         Littleton/Foundation                                                                   F, H, R      Party opponent
                                                                                                                                                                                                                                                               statement
       917           10/28/2018



                                  LITTLETON_00005154-         Email from Robert Morse to Glen Littleton                         RE: call                 Littleton/Foundation                                                                   F, H, R      Party opponent
                                           55                                                                                                                                                                                                                  statement
       918            7/9/2017



                                  LITTLETON_00005171-        Email from Michael Stanton to Glen Littleton                   RE: Margin Call              Littleton/Foundation                                                                  F, H, K, R    Party opponent
                                           72                                                                                                                                                                                                                  statement
       919           9/12/2018



                                  LITTLETON_00005228-        Email from Christopher Grap to Glen Littleton                     Re: Check                 Littleton/Foundation                                                                  F, H, K, R    Party opponent
                                           29                                                                                                                                                                                                                  statement
       920           11/10/2017



                                  LITTLETON_00005321-        Email from Michael Stanton to Glen Littleton           RE: Assignment for Wednesday         Littleton/Foundation                                                                  F, H, K, R    Party opponent
                                           25                                                                                 06/07/16                                                                                                                         statement
       921            6/7/2017




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                                  LITTLETON_00001594-   Email from Glen Littleton to Michael Stanton     Re: Assignments for Tuesday     Littleton/Foundation                                                                   F, H, R      Party opponent
                                           95                                                                      10/23/18                                                                                                                    statement
       922           10/23/2018



                                  LITTLETON_00001609-   Email from Glen Littleton to Michael Stanton     Re: Assignments for Monday      Littleton/Foundation                                                                   F, H, R      Party opponent
                                           10                                                                      10/01/18                                                                                                                    statement
       923           10/1/2018



                                  LITTLETON_00001618-   Email from Glen Littleton to Michael Stanton      Re: Assignments for Friday     Littleton/Foundation                                                                   F, H, R      Party opponent
                                           19                                                                      10/12/18                                                                                                                    statement
       924           10/12/2018



                                  LITTLETON_00001632-   Email from Glen Littleton to Michael Stanton           Re: assignments           Littleton/Foundation                                                                   F, H, R      Party opponent
                                           33                                                                                                                                                                                                  statement
       925           9/14/2018



                                  LITTLETON_00001638    Email from Michael Stanton to Glen Littleton   Fwd: Assignment for Wednesday     Littleton/Foundation                                                                  F, H, K, R    Party opponent
                                                                                                                  09/19/18                                                                                                                     statement
       926           9/19/2018



                                  LITTLETON_00001708-   Email from Glen Littleton to Michael Stanton     Re: Assignments for Monday      Littleton/Foundation                                                                   F, H, R      Party opponent
                                           09                                                                      09/17/18                                                                                                                    statement
       927           9/17/2018



                                  LITTLETON_00001710-   Email from Michael Stanton to Glen Littleton    Fwd: Assignments for Monday      Littleton/Foundation                                                                  F, H, K, R    Party opponent
                                           11                                                                     09/17/18                                                                                                                     statement
       928           9/17/2018



                                  LITTLETON_00001742    Email from Michael Stanton to Glen Littleton   Fwd: Assignments for Wednesday    Littleton/Foundation                                                                  F, H, K, R    Party opponent
                                                                                                                  08/15/18                                                                                                                     statement
       929           8/15/2018



                                  LITTLETON_00001841-   Email from Glen Littleton to Michael Stanton    Re: Assignments for Thursday     Littleton/Foundation                                                                   F, H, R      Party opponent
                                           42                                                                     09/20/18                                                                                                                     statement
       930           9/20/2018



                                  LITTLETON_00001890    Email from Michael Stanton to Glen Littleton    FW: Assignments for Thursday     Littleton/Foundation                                                                  F, H, K, R    Party opponent
                                                                                                                  06/14/18                                                                                                                     statement
       931           6/14/2018



                                  LITTLETON_00001912-   Email from Glen Littleton to Michael Stanton    Re: Assignment for Wednesday     Littleton/Foundation                                                                   F, H, R      Party opponent
                                           13                                                                     05/30/18                                                                                                                     statement
       932           5/30/2018




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                                  LITTLETON_00001914    Email from Michael Stanton to Glen Littleton   Fwd: Assignment for Wednesday        Littleton/Foundation                                                                  F, H, K, R    Party opponent
                                                                                                                  05/30/18                                                                                                                        statement
       933           5/30/2018



                                  LITTLETON_00001921-   Email from Michael Stanton to Glen Littleton   RE: FW: Assignments for Thursday     Littleton/Foundation                                                                  F, H, K, R    Party opponent
                                           22                                                                      06/21/18                                                                                                                       statement
       934           6/21/2018



                                  LITTLETON_00002002-   Email from Glen Littleton to Michael Stanton     Re: Assignments for Monday         Littleton/Foundation                                                                   F, H, R      Party opponent
                                           03                                                                      06/11/18                                                                                                                       statement
       935           6/11/2018



                                  LITTLETON_00002169-   Email from Glen Littleton to Michael Stanton   Re: Assignments for Wednesday        Littleton/Foundation                                                                   F, H, R      Party opponent
                                           70                                                                     06/20/18                                                                                                                        statement
       936           6/20/2018



                                  LITTLETON_00002251     Email from Pete Schulte to Glen Littleton     Congratulations on your Model 3!     Littleton/Foundation                                                                  F, H, K, R    Party opponent
                                                                                                                                                                                                                                                  statement
       937           2/20/2018



                                  LITTLETON_00002448-   Email from Michael Stanton to Glen Littleton   RE: FW: 879 Margin Calls & Debits    Littleton/Foundation                                                                  F, H, K, R    Party opponent
                                           49                                                                                                                                                                                                     statement
       938           12/17/2018



                                  LITTLETON_00002456-   Email from Glen Littleton to Michael Stanton     Re: Assignments for Tuesday        Littleton/Foundation                                                                   F, H, R      Party opponent
                                           58                                                                      06/19/18                                                                                                                       statement
       939           6/19/2018



                                  LITTLETON_00002968-   Email from Michael Stanton to Glen Littleton         RE: FW: assignment             Littleton/Foundation                                                                  F, H, K, R    Party opponent
                                           69                                                                                                                                                                                                     statement
       940            3/2/2018



                                  LITTLETON_00002983-   Email from Glen Littleton to Michael Stanton            Re: assignment              Littleton/Foundation                                                                   F, H, R      Party opponent
                                           84                                                                                                                                                                                                     statement
       941           11/5/2017



                                  LITTLETON_00003022-   Email from Michaella Woo to Glen Littleton        RE: Your Model 3 Delivery         Littleton/Foundation                                                                  F, H, K, R    Party opponent
                                           26                                                                   RN107927714                                                                                                                       statement
       942           2/13/2018



                                  LITTLETON_00003043-   Email from Michael Stanton to Glen Littleton           RE: assignments              Littleton/Foundation                                                                  F, H, K, R    Party opponent
                                           45                                                                                                                                                                                                     statement
       943           10/25/2017




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                                  LITTLETON_00003085-        Email from Glen Littleton to Michael Stanton            Re: Assignment for Thursday        Littleton/Foundation                                                                   F, H, R      Party opponent
                                           86                                                                                  09/13/18                                                                                                                       statement
       944           9/13/2018



                                  LITTLETON_00003090         Email from Michael Stanton to Glen Littleton           Fwd: Assignment for Thursday        Littleton/Foundation                                                                  F, H, K, R    Party opponent
                                                                                                                              10/12/17                                                                                                                        statement
       945           10/12/2017



                                  LITTLETON_00003128-        Email from Michael Stanton to Glen Littleton            FW: Assignments for Monday         Littleton/Foundation                                                                  F, H, K, R    Party opponent
                                           29                                                                                 10/16/17                                                                                                                        statement
       946           10/16/2017



                                  LITTLETON_00003243-        Email from Glen Littleton to Michael Stanton          Re: FW: 879 Margin Calls & Debits    Littleton/Foundation                                                                   F, H, R      Party opponent
                                           45                                                                                                                                                                                                                 statement
       947           10/12/2018



                                  LITTLETON_00003312-        Email from Michael Stanton to Glen Littleton                RE: FW: assignment             Littleton/Foundation                                                                  F, H, K, R    Party opponent
                                           14                                                                                                                                                                                                                 statement
       948            9/8/2017



                                  LITTLETON_00003400-        Email from Michael Stanton to Glen Littleton              RE: FW: Assignments for          Littleton/Foundation                                                                  F, H, K, R    Party opponent
                                           03                                                                           Wednesday 09/20/17                                                                                                                    statement
       949           9/20/2017



                                  LITTLETON_00003595-        Email from Michael Stanton to Glen Littleton            RE: FW: morning assignment         Littleton/Foundation                                                                  F, H, K, R    Party opponent
                                           97                                                                                                                                                                                                                 statement
       950           6/13/2017



                                  LITTLETON_00003982-        Email from Michael Stanton to Glen Littleton                Fwd: Contract Limits           Littleton/Foundation                                                                  F, H, K, R    Party opponent
                                           83                                                                                                                                                                                                                 statement
       951           3/22/2017



                                  LITTLETON_00003991-        Email from Glen Littleton to Michael Stanton                Re: Position Transfer          Littleton/Foundation                                                                   F, H, R      Party opponent
                                           96                                                                                                                                                                                                                 statement
       952           3/15/2017



                                  LITTLETON_00004075-        Email from Glen Littleton to Michael Stanton                    Re: Products               Littleton/Foundation                                                                   F, H, R      Party opponent
                                           78                                                                                                                                                                                                                 statement
       953            3/8/2017



                                         None           Business Insider Article - Elon Musk Could Take Tesla...                                       Fischel/ Falsity, Expert                                                               F, H, K, R    Not offered for
                                                                                                                                                              Reliance                                                                                      truth/effect on
                                                                                                                                                                                                                                                                listener
       954           8/15/2018




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                                     N/A                   TSLA Response to Defendants' First RFP                                       Littleton/ Foundation                                                                 F, H, K, R    Party opponent
                                                                                                                                                                                                                                              statement
       955           8/7/2020



                                    None          Bloomberg Article - How Saudi s Stake in Tesla Could Help                              Littleton/ Reliance                                                                  F, H, K, R    Not offered for
                                                            Musk Go Private QuickTake 31.pdf                                                                                                                                                truth/effect on
                                                                                                                                                                                                                                                listener
       956           8/4/2018



                                    None        Bloomberg Article - How Fidelity s Ownership in SpaceX Could                             Littleton/ Reliance                                                                  F, H, K, R    Not offered for
                                                                Be a Model for Tesla 10.pdf                                                                                                                                                 truth/effect on
                                                                                                                                                                                                                                                listener
       957           8/7/2018



                                    None         Bloomberg Article - Tesla Jumps on Report of Saudis Building                            Littleton/ Reliance                                                                  F, H, K, R    Not offered for
                                                                 About 2 Billion Stake 9.pdf                                                                                                                                                truth/effect on
                                                                                                                                                                                                                                                listener
       958           8/7/2018



                                    None        Bloomberg Article - Any Tesla Buyout Unlikely to Be Leveraged                            Littleton/ Reliance                                                                  F, H, K, R    Not offered for
                                                                   Says GSO s Scott 37.pdf                                                                                                                                                  truth/effect on
                                                                                                                                                                                                                                                listener
       959           8/8/2018



                                    None        Bloomberg Article - How Elon Musk s SpaceX May Be Model for                              Littleton/ Reliance                                                                  F, H, K, R    Not offered for
                                                                 Tesla Going Private 1 28.pdf                                                                                                                                               truth/effect on
                                                                                                                                                                                                                                                listener
       960           8/9/2018



                                    None        Bloomberg Article - Exiting Tesla Now May Beat Risking a Failed                          Littleton/ Reliance                                                                  F, H, K, R    Not offered for
                                                                   Deal Barclays Says 24.pdf                                                                                                                                                truth/effect on
                                                                                                                                                                                                                                                listener
       961           8/14/2018



                                    None        Bloomberg Article - Asian Hedge Fund Sticks Up for Musk s Plan                           Littleton/ Reliance                                                                  F, H, K, R    Not offered for
                                                                  to Take Tesla Private 9.pdf                                                                                                                                               truth/effect on
                                                                                                                                                                                                                                                listener
       962           8/15/2018



                                    None        Bloomberg Article - Backing Elon Musk s Dream Option Traders                             Littleton/ Reliance                                                                  F, H, K, R    Not offered for
                                                                  Bet on Tesla at 430 20.pdf                                                                                                                                                truth/effect on
                                                                                                                                                                                                                                                listener
       963           8/23/2018



                                    None            Tweet - Gali on Twitter: "@elonmusk Noooooo!!!! Still                              Musk, Littleton/ Falsity,                                                              F, H, K, R    Not offered for
                                                            processing what this means, but would                                        Scienter, Reliance                                                                                 truth/effect on
                                                be sad to see all the investors who've been w/ $TSLA miss out                                                                                                                                   listener
                                                                       on the upside over
       964           8/7/2018
                                                 the next few years. Although if this helps the mission & Elon
                                                                        thinks it's smart, I
                                                            understand and fully support" / Twitter

                                    None               Tweet - DMetaverse on Twitter: "@elonmusk                                       Musk, Littleton/ Falsity,                                                              F, H, K, R    Not offered for
                                                          @MindFieldMusic How is it possible for                                         Scienter, Reliance                                                                                 truth/effect on
                                                 everyone to NOT offer their shares for sale and you still take                                                                                                                                 listener
       965           8/7/2018                                         company private?
                                                 Contradiction here. I mean how do you still hold shares and
                                                                   take company private
                                                                both same time ?!" / Twitter

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                                       None            Tweet - Pablo I. on Twitter: "@elonmusk @MindFieldMusic I’m                            Musk, Littleton/ Falsity,                                                              F, H, K, R    Not offered for
                                                                         investor from Spain. How is                                            Scienter, Reliance                                                                                 truth/effect on
                                                         possible to keep my position after going private (if finally                                                                                                                                  listener
       966           8/8/2018
                                                                            happens)?" / Twitter


                                       None            Greeksooner on Twitter: "@elonmusk @MindFieldMusic How                                 Musk, Littleton/ Falsity,                                                              F, H, K, R    Question not a
                                                                              does company losing                                               Scienter, Reliance                                                                                 statement; not
                                                        billions, find investors to go private. When was last time you                                                                                                                               offered for
       967           8/8/2018
                                                                            made a profit." / Twitter                                                                                                                                              truth/effect on
                                                                                                                                                                                                                                                       listener

                                TESLA_LITTLETON_0000             Spreadsheet of Text Messages - Elon Musk                                        E. Musk/ Falsity,                                                                    F, H, R        FRE 803(3)
                                         0323                                                                                                        Scienter
       968            Aug-18



                                TESLA_LITTLETON_0000             Spreadsheet of Voice Calls - Deepak Ahuja                                    Ahuja/ Falsity, Scienter                                                                F, H, R       No out of court
                                         3841                                                                                                                                                                                                        statement;
                                                                                                                                                                                                                                                   business records
       969            Aug-18
                                                                                                                                                                                                                                                      exception


                                TESLA_LITTLETON_0000      Spreadsheet of Text Messages - Deepak Ahuja - Phone 2                               Ahuja/ Falsity, Scienter                                                                F, H, R        FRE 803(3)
                                         3843
       970            Aug-18



                                TESLA_LITTLETON_0002            Spreadsheet of Text Messages - Dave Arnold                                    Arnold/ Falsity, Scienter                                                               F, H, R        FRE 803(3)
                                         0194
       971            Aug-18



                                TESLA_LITTLETON_0002          Spreadsheet of Text Messages - Robyn Denholm                                       Denholm/ Falsity,                                                                    F, H, R        FRE 803(3)
                                         0195                                                                                                        Scienter
       972            Aug-18



                                TESLA_LITTLETON_0002             Spreadsheet of Text Messages - Sam Teller                                    Teller/ Falsity, Scienter                                                               F, H, R        FRE 803(3)
                                         0196
       973            Aug-18



                                TESLA_LITTLETON_0002             Spreadsheet of Text Messages - Elon Musk                                        E. Musk/ Falsity,                                                                    F, H, R        FRE 803(3)
                                         0198                                                                                                        Scienter
       974            Aug-18



                                TESLA_LITTLETON_0002           Spreadsheet of Text Messages - Martin Viecha                                   Viecha/ Falsity, Scienter                                                               F, H, R        FRE 803(3)
                                         0199
       975            Aug-18



                                       None                      Photo Identification - Yasir Al Rumayyan 1                                        Musk, Teller/                                                                     F, H, K, R     Not an out-of-
                                                                                                                                                   Foundation                                                                                      court statement
       976             N/A




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                       Date                                                                                                                                                   Defendants         Objections            Plaintiffs                      Comments
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                                    None                Photo Identification - Yasir Al Rumayyan 2                                  Musk, Teller/                                                                      F, H, K, R     Not an out-of-
                                                                                                                                    Foundation                                                                                       court statement
       977             N/A



                                    None        Photo Identification - Crown Prince Mohammed Bin Salman                             Musk, Teller/                                                                      F, H, K, R     Not an out-of-
                                                                                                                                    Foundation                                                                                       court statement
       978             N/A



                                    None         Tweet from Elon Musk dated August 8, 2018 at 6:12 p.m.                             All witnesses/                                                                      F, H, R        FRE 803(3)
                                                                                                                                 Foundation, Falsity,
                                                                                                                                 Scienter, Materiality
       979           8/8/2018



                                    None         Tweet from Elon Musk dated August 8, 2018 at 6:09 p.m                              All witnesses/                                                                      F, H, R        FRE 803(3)
                                                                                                                                 Foundation, Falsity,
                                                                                                                                 Scienter, Materiality
       980           8/8/2018



                                    None        Tweet from Elon Musk dated August 10, 2018 at 1:09 a.m.                             All witnesses/                                                                      F, H, R        FRE 803(3)
                                                                                                                                 Foundation, Falsity,
                                                                                                                                 Scienter, Materiality
       981           8/10/2018



                                    None        Tweet from Elon Musk dated August 10, 2018 at 2:08 a.m.                             All witnesses/                                                                      F, H, R        FRE 803(3)
                                                                                                                                 Foundation, Falsity,
                                                                                                                                 Scienter, Materiality
       982           8/10/2018



                                    None        Tweet from Elon Musk dated August 10, 2018 at 4:34 p.m.                             All witnesses/                                                                      F, H, R        FRE 803(3)
                                                                                                                                 Foundation, Falsity,
                                                                                                                                 Scienter, Materiality
       983           8/10/2018



                                    None             Tweets from Elon Musk dated August 11, 2018                                    All witnesses/                                                                      F, H, R        FRE 803(3)
                                                                                                                                 Foundation, Falsity,
                                                                                                                                 Scienter, Materiality
       984           8/11/2018



                                    None             Tweets from Elon Musk dated August 11, 2018                                    All witnesses/                                                                      F, H, R        FRE 803(3)
                                                                                                                                 Foundation, Falsity,
                                                                                                                                 Scienter, Materiality
       985           8/11/2018



                                    None        Tweet from Elon Musk dated August 11, 2018 at 12:43 a.m.                            All witnesses/                                                                      F, H, R        FRE 803(3)
                                                                                                                                 Foundation, Falsity,
                                                                                                                                 Scienter, Materiality
       986           8/11/2018



                                    None        Tweet from Elon Musk dated August 11, 2018 at 12:14 a.m.                            All witnesses/                                                                      F, H, R        FRE 803(3)
                                                                                                                                 Foundation, Falsity,
                                                                                                                                 Scienter, Materiality
       987           8/11/2018




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                       Date                                                                                                                                                   Defendants         Objections            Plaintiffs                  Comments
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                                    None        Tweet from Elon Musk dated August 11, 2018 at 12:51 a.m.                            All witnesses/                                                                      F, H, R      FRE 803(3)
                                                                                                                                 Foundation, Falsity,
                                                                                                                                 Scienter, Materiality
       988           8/11/2018



                                    None        Tweet from Elon Musk dated August 10, 2018 at 11:21 p.m.                            All witnesses/                                                                      F, H, R      FRE 803(3)
                                                                                                                                 Foundation, Falsity,
                                                                                                                                 Scienter, Materiality
       989           8/10/2018



                                    None        Tweet from Elon Musk dated August 11, 2018 at 1:42 p.m.                             All witnesses/                                                                      F, H, R      FRE 803(3)
                                                                                                                                 Foundation, Falsity,
                                                                                                                                 Scienter, Materiality
       990           8/11/2018



                                    None              Tweets from Elon Musk dated August 11, 2018                                   All witnesses/                                                                      F, H, R      FRE 803(3)
                                                                                                                                 Foundation, Falsity,
                                                                                                                                 Scienter, Materiality
       991           8/11/2018



                                    None              Tweet from Elon Musk dated August 12. 2018                                    All witnesses/                                                                      F, H, R      FRE 803(3)
                                                                                                                                 Foundation, Falsity,
                                                                                                                                 Scienter, Materiality
       992           8/12/2018



                                    None        Tweet from Elon Musk dated August 13, 2018 at 8:36 a.m.                             All witnesses/                                                                      F, H, R      FRE 803(3)
                                                                                                                                 Foundation, Falsity,
                                                                                                                                 Scienter, Materiality
       993           8/13/2018



                                    None        Tweet from Elon Musk dated August 13, 2018 at 10:47 a.m.                            All witnesses/                                                                      F, H, R      FRE 803(3)
                                                                                                                                 Foundation, Falsity,
                                                                                                                                 Scienter, Materiality
       994           8/13/2018



                                    None        Tweet from Elon Musk dated August 13, 2018 at 8:44 a.m.                             All witnesses/                                                                      F, H, R      FRE 803(3)
                                                                                                                                 Foundation, Falsity,
                                                                                                                                 Scienter, Materiality
       995           8/13/2018



                                    None        Tweet from Elon Musk dated August 14, 2018 at 1:17 a.m.                             All witnesses/                                                                      F, H, R      FRE 803(3)
                                                                                                                                 Foundation, Falsity,
                                                                                                                                 Scienter, Materiality
       996           8/14/2018



                                    None        Tweet from Elon Musk dated August 14, 2018 at 1:30 a.m.                             All witnesses/                                                                      F, H, R      FRE 803(3)
                                                                                                                                 Foundation, Falsity,
                                                                                                                                 Scienter, Materiality
       997           8/14/2018



                                    None        Tweet from Elon Musk dated August 15, 2018 at 11:54 p.m.                            All witnesses/                                                                      F, H, R      FRE 803(3)
                                                                                                                                 Foundation, Falsity,
                                                                                                                                 Scienter, Materiality
       998           8/15/2018




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                                        None                     Tweet from Elon Musk dated August 16, 2018                                      All witnesses/                                                                      F, H, R      FRE 803(3)
                                                                                                                                              Foundation, Falsity,
                                                                                                                                              Scienter, Materiality
       999           8/16/2018



                                        None                     Tweet from Elon Musk dated August 16, 2018                                      All witnesses/                                                                      F, H, R      FRE 803(3)
                                                                                                                                              Foundation, Falsity,
                                                                                                                                              Scienter, Materiality
      1,000          8/16/2018



                                 TESLA_LITTLETON_0000                 Email from Ron Baron to Elon Musk                  Tesla +$11            Elon Musk/Falsity,
                                          5368                                                                                                Scienter, Materiality
      1,001          8/7/2018



                                        None                  Article "Tesla: Is $420 a Share Too Low for a Deal?"                           Hartzmark/ Materiality,
                                                                                                                                                 Loss Causation,
                                                                                                                                                    Damages
      1,002          8/8/2018



                                        None            Article "Jim Cramer: Elon Musk should take medical leave from                        Hartzmark/ Materiality,
                                                                                    Tesla"                                                       Loss Causation,
                                                                                                                                                    Damages
      1,003          8/17/2018



                                        None              Article "Tesla shares slide after emotional Musk interview"                        Hartzmark/ Materiality,
                                                                                                                                                 Loss Causation,
                                                                                                                                                    Damages
      1,004          8/17/2018



                                        None                 Article "Tesla stock sinks after Musk gives tearful NYT                         Hartzmark/ Materiality,
                                                                                    interview"                                                   Loss Causation,
                                                                                                                                                    Damages
      1,005          8/17/2018



                                        None               Bloomberg News - Agency was said to be looking at Tesla                           Hartzmark/ Materiality,
                                                                         before takeover tweets                                                  Loss Causation,
                                                                                                                                                    Damages
      1,006          8/9/2018



                                 None                   Seeing Alpha Article - "Tesla 'Going Private' Story Does Not                           Hartzmark, Mitts/
                                                        Make Sense"                                                                             Materiality, Loss
                                                                                                                                              Causation, Damages
      1,007          8/8/2018




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